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 2 Acting Under Authority Conferred By 28 U.S.C. § 515

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   Chief, Criminal Division
 4
   JEFF SCHENK (CABN 234355)
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10
   Attorneys for United States of America
11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN JOSE DIVISION
14

15   UNITED STATES OF AMERICA,                         )   Case No. 18-CR-00258 EJD
                                                       )
16           Plaintiff,                                )   SEPTEMBER 18, 2020 DECLARATION OF
                                                       )   AUSA ROBERT S. LEACH IN SUPPORT OF
17      v.                                             )   UNITED STATES’ OPPOSITION TO
                                                       )   DEFENDANTS’ MOTION TO DISMISS
18   ELIZABETH HOLMES and RAMESH                       )   SECOND AND THIRD SUPERSEDING
     “SUNNY” BALWANI,                                  )   INDICTMENTS BASED ON PRE-
19                                                     )   INDICTMENT DELAY
             Defendants.                               )
20                                                     )   Date: October 6, 2020
                                                       )   Time: 10:00 a.m.
21                                                     )   Court: Hon. Edward J. Davila
                                                       )
22                                                     )   REDACTED VERSION
                                                       )
23                                                     )

24           I, Robert S. Leach, declare as follows:
25           1.      I am an Assistant United States Attorney with the United States Attorney’s Office for the
26 Northern District of California (“USAO”). I am one of the prosecutors assigned to this matter and have

27 been since 2016. I make this declaration in support of the United States’ Opposition to Defendants’

28 Motion to Dismiss Second and Third Superseding Indictments Based on Pre-Indictment Delay.

     LEACH DECL. RE SPEEDY TRIAL MOT.
     CASE NO. 18-258 EJD                               1
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 1          2.     Attached as Exhibit A is a true and correct copy of the transcript of a hearing in this

 2 matter on April 22, 2019.

 3          3.     Attached as Exhibit B is a true and correct copy of portions of the transcript of a hearing

 4 in this matter on June 28, 2019.

 5          4.     Attached as Exhibit C is a true and correct copy of

 6                              .

 7          5.     Attached as Exhibit D is a true and correct copy of

 8

 9                                                                    .

10          6.     Attached as Exhibit E is a true and correct copy of the transcript of a hearing in this

11 matter on April 15, 2020.

12          7.     Attached as Exhibit F is a true and correct copy of portions of the transcript of a hearing

13 in this matter on July 20, 2020.

14          8.     Attached as Exhibit G is a true and correct copy of a document Bates numbered SEC-

15 EPROD-000356416 produced in discovery in this case. The document appears to be an email from Don

16 Lucas’ son on or about September 22, 2013 stating: “my dad was Chairman of [Theranos] until his

17 Alzheimer’s.” Personal identifying information is redacted.

18          9.     The government produced evidence it had gathered from Walgreens, Safeway, and

19 Theranos board members in its initial productions in August 2018 and October 2018. To give just a few

20 examples, witness statements from at least two Walgreens witnesses (Jay Rosan and Nimesh Javeri);

21 Safeway’s CEO, and three Theranos board members and documents Bates numbered WAG-TH-DOJ

22 and SWYDOJ were included in the government’s initial productions.

23          I declare under penalty of perjury that the foregoing is true and correct. Executed this 18th day

24 of September 2020.

25                                                        __________________________
                                                          ROBERT S. LEACH
26                                                        Assistant United States Attorney
27

28

     LEACH DECL. RE SPEEDY TRIAL MOT.
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             EXHIBIT A
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                                                                          1


 1                         UNITED STATES DISTRICT COURT

 2                        NORTHERN DISTRICT OF CALIFORNIA

 3                               SAN JOSE DIVISION

 4
        UNITED STATES OF AMERICA,            )   CR-18-00258-EJD &
 5                                           )   CV-18-01603-EJD
                           PLAINTIFF,        )
 6                                           )
                    VS.                      )   SAN JOSE, CALIFORNIA
 7                                           )
        ELIZABETH A. HOLMES AND RAMESH       )   APRIL 22, 2019
 8      SUNNY BALWANI,                       )
                                             )   PAGES 1 - 27
 9                         DEFENDANTS.       )
                                             )
10                                           )
        SECURITIES AND EXCHANGE              )
11      COMMISSION,                          )
                                             )
12                         PLAINTIFF,        )
                                             )
13                  VS.                      )
                                             )
14      RAMESH SUNNY BALWANI,                )
                                             )
15                       DEFENDANTS.         )
        ______________________________       )
16
                            TRANSCRIPT OF PROCEEDINGS
17                    BEFORE THE HONORABLE EDWARD J. DAVILA
                           UNITED STATES DISTRICT JUDGE
18
        A P P E A R A N C E S:
19
        FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
20                                BY: JOHN BOSTIC
                                       ROBERT LEACH
21                                     JEFFREY SCHENK
                                  150 ALMADEN BOULEVARD, SUITE 900
22                                SAN JOSE, CALIFORNIA 95113

23      OFFICIAL COURT REPORTER:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
24                              CERTIFICATE NUMBER 8074

25           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                   TRANSCRIPT PRODUCED WITH COMPUTER


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                                                                          2


 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
                                 BY: KEVIN M. DOWNEY
 4                                    LANCE WADE
                                 725 TWELFTH STREET, N.W.
 5                               WASHINGTON, D.C. 20005

 6                               LAW OFFICE OF JOHN D. CLINE
                                 BY: JOHN D. CLINE
 7                               ONE EMBARCADERO CENTER, SUITE 500
                                 SAN FRANCISCO, CALIFORNIA 94111
 8
        FOR DEFENDANT BALWANI: DAVIS, WRIGHT & TREMAINE LLP
 9                             BY: JEFFREY COOPERSMITH
                                    STEPHEN CAZARES
10                                  KELLY M. GORTON
                               505 MONTGOMERY STREET, SUITE 800
11                             SAN FRANCISCO, CALIFORNIA 94111

12      FOR THE S.E.C.:          UNITED STATES SECURITIES AND EXCHANGE
                                 COMMISSION
13                               BY: SUSAN F. LAMARCA
                                      RAHUL KOLHATKAR
14                               44 MONTGOMERY STREET, SUITE 2600
                                 SAN FRANCISCO, CALIFORNIA 94104
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           1      SAN JOSE, CALIFORNIA                              APRIL 22, 2019

           2                                P R O C E E D I N G S

           3           (COURT CONVENED AT 1:36 P.M.)

01:36PM    4                   THE COURT:    WELL, LET'S NOW TURN TO 18-258, UNITED

01:36PM    5      STATES VERSUS ELIZABETH HOLMES, RAMESH SUNNY BALWANI, AND WE'LL

01:36PM    6      CALL COMPANION CASE 18-1603, S.E.C. VERSUS BALWANI.

01:36PM    7           IF THOSE PARTIES COULD COME FORWARD, PLEASE.

01:36PM    8                   MR. BOSTIC:    GOOD AFTERNOON, YOUR HONOR.

01:36PM    9      JOHN BOSTIC, JEFF SCHENK, AND BOB LEACH FOR THE UNITED STATES.

01:36PM   10                   THE COURT:    GOOD AFTERNOON.   LET ME CAPTURE YOUR

01:37PM   11      COLLEAGUES.

01:37PM   12                   MS. LAMARCA:    SUSAN LAMARCA AND RAHUL KOLHATKAR FOR

01:37PM   13      THE S.E.C.

01:37PM   14                   THE COURT:    THANK YOU.

01:37PM   15                   MR. DOWNEY:    GOOD AFTERNOON, YOUR HONOR.

01:37PM   16      KEVIN DOWNEY AND LANCE WADE FOR ELIZABETH HOLMES WHO'S PRESENT

01:37PM   17      IN COURT AS WELL.

01:37PM   18                   THE COURT:    THANK YOU.   GOOD AFTERNOON.

01:37PM   19                   MR. COOPERSMITH:    GOOD AFTERNOON, YOUR HONOR.

01:37PM   20      JEFF COOPERSMITH FOR RAMESH BALWANI WHO IS TO MY RIGHT AND ALSO

01:37PM   21      KELLY GORTON AND STEVE CAZARES FROM MY OFFICE.

01:37PM   22                   THE COURT:    GOOD AFTERNOON.   THIS IS ON FOR FURTHER

01:37PM   23      STATUS.   I HAVE READ AND REVIEWED YOUR DOCUMENT 66, AND WE'RE

01:37PM   24      CALLING THE CRIMINAL CASE FIRST, AND THEN WE'LL TURN TO THE

01:37PM   25      S.E.C. CASE IN JUST A MOMENT.



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01:37PM    1           I HAVE READ THE JOINT MEMORANDUM.     THANK YOU FOR THAT.

01:37PM    2           I SUPPOSE I SHOULD GET UPDATED FROM COUNSEL.     IT LOOKS

01:37PM    3      LIKE THERE'S PROBABLY TWO MOTIONS THAT WILL BE PENDING IF NOT

01:37PM    4      PENDING CURRENTLY, AND I'D LIKE TO DISCUSS THAT.     I HAD SOME

01:37PM    5      THOUGHTS ALSO ABOUT TRIAL DATES, AND WE SHOULD PROBABLY BE

01:37PM    6      THINKING ABOUT AND LOOKING AT TRIAL DATES ONGOING.

01:37PM    7           SO, COUNSEL, WHO WOULD LIKE TO GO FIRST?      MR. BOSTIC.

01:38PM    8                 MR. BOSTIC:   SO, YOUR HONOR, ON THE TWO PENDING

01:38PM    9      MOTIONS MY COLLEAGUE, MR. LEACH, WILL ADDRESS THE MOTION TO

01:38PM   10      STAY WHEN WE DISCUSS THAT.

01:38PM   11           ON DEFENDANTS' MOTION TO COMPEL DISCOVERY PRODUCTION FROM

01:38PM   12      THE GOVERNMENT, AS THE COURT KNOWS FROM THE JOINT STATUS

01:38PM   13      SUBMISSION, THE GOVERNMENT HAS PRODUCED APPROXIMATELY 20

01:38PM   14      MILLION PAGES ALREADY.    THE ADDITIONAL CATEGORIES OF DOCUMENTS

01:38PM   15      ADDRESSED IN THE PENDING MOTION ARE MOSTLY HELD IN THE HANDS OF

01:38PM   16      GOVERNMENT AGENCIES LIKE THE FDA AND THE CMS.

01:38PM   17           IN ORDER TO RESPOND TO THAT MOTION, THE GOVERNMENT

01:38PM   18      BELIEVES THAT IT NEEDS TO COLLECT SOME ADDITIONAL INFORMATION

01:38PM   19      FROM THOSE AGENCIES.

01:38PM   20           I INFORMED COUNSEL FOR MS. HOLMES JUST BEFORE THIS HEARING

01:38PM   21      THAT THE LAWYERS THAT I'VE BEEN DEALING WITH AT CMS AND FDA ARE

01:38PM   22      OUT OF TOWN OR RECENTLY OUT OF TOWN AND I BELIEVE OUT OF THE

01:38PM   23      COUNTRY.

01:38PM   24           ONE REPRESENTING CMS RETURNS FROM BEING ON LEAVE I BELIEVE

01:38PM   25      ON MAY 1ST OR 2ND.   I THINK IN ORDER TO PRESENT THE COURT WITH



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01:39PM    1      THE FACTS THAT IT NEEDS TO RULE ON THAT MOTION, I DO NEED TO

01:39PM    2      CONSULT WITH THOSE ATTORNEYS.       THE GOVERNMENT COUNSEL IN THIS

01:39PM    3      CASE DOES NOT REPRESENT THOSE AGENCIES AND WILL NOT REPRESENT

01:39PM    4      THOSE AGENCIES FOR PURPOSES OF THIS CASE.       SO IN ORDER TO GET

01:39PM    5      THAT INFORMATION FOR THE COURT, I WOULD LIKE A CHANCE TO

01:39PM    6      CONSULT WITH THOSE LAWYERS.        SO I WOULD JUST ASK THAT IN

01:39PM    7      SETTING A BRIEFING AND HEARING SCHEDULE FOR THAT MOTION WE

01:39PM    8      ACCOUNT FOR THAT.

01:39PM    9                   THE COURT:    OKAY.   HAVE YOU MET AND CONFERRED ABOUT

01:39PM   10      THAT?

01:39PM   11                   MR. DOWNEY:   YOUR HONOR, WE DISCUSSED IT.    OUR

01:39PM   12      REFLECTION ON MR. BOSTIC'S REQUEST WAS OF COURSE WE WANT TO

01:39PM   13      ACCOMMODATE HIM UNDERTAKING A REASONABLE PROCESS SO THE MOTION

01:39PM   14      CAN BE BRIEFED.

01:39PM   15           WE'RE CONCERNED ABOUT THE PACE OF THE PRODUCTION OF

01:39PM   16      DISCOVERY.    THERE'S NO --

01:39PM   17                   THE COURT:    IT'S ONLY MILLIONS OF PAGES.

01:39PM   18                   MR. DOWNEY:   YEAH, MILLIONS OF PAGES HAVE ALREADY

01:39PM   19      BEEN PRODUCED.    I GATHER MILLIONS MORE ARE TO BE PRODUCED.

01:39PM   20           SO WE DON'T OPPOSE THAT.       WE JUST -- IN THE CONTEXT OF A

01:39PM   21      BROADER DISCUSSION ABOUT WHEN IT'S REALISTIC TO SET A TRIAL

01:39PM   22      DATE.

01:39PM   23                   THE COURT:    SURE.

01:39PM   24                   MR. DOWNEY:   SO ASSUMING THAT WE HAVE, YOU KNOW, AN

01:40PM   25      OPPORTUNITY, IF WE PREVAIL ON THE MOTION, AN ADEQUATE



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01:40PM    1      OPPORTUNITY TO REVIEW WHATEVER IS PRODUCED, THAT'S FINE WITH

01:40PM    2      US.    WE'RE JUST CONCERNED BECAUSE THE AMOUNT OF TIME, LEAD TIME

01:40PM    3      THAT THE GOVERNMENT PROPOSED IN THE JOINT STATUS MEMORANDUM

01:40PM    4      SOUNDS LIKE A FAIR AMOUNT OF TIME, BUT GIVEN THE VOLUME OF

01:40PM    5      MATERIAL IT'S REALLY NOT.

01:40PM    6             SO OUR CONCERN ABOUT THAT IS NOT ACCOMMODATING MR. BOSTIC,

01:40PM    7      WHICH WE'RE HAPPY TO DO, IT'S JUST ABOUT THE BROADER SET OF

01:40PM    8      ISSUES.

01:40PM    9                  THE COURT:   SURE.   WELL, THANK YOU.

01:40PM   10             MY SENSE, AND IT'S PROBABLY YOUR EXPERIENCE ALSO, WITH

01:40PM   11      THESE TYPES OF MOTIONS TYPICALLY THERE'S ADDITIONAL MEET AND

01:40PM   12      CONFERS.    SOMETIMES THERE'S RESOLUTION REGARDING WHAT CAN BE

01:40PM   13      OBTAINED AND WHAT IS OBTAINED.     SOMETIMES THE INFORMATION, WHEN

01:40PM   14      THE GOVERNMENT IS IN THEIR SITUATION THAT THEY'RE IN NOW, WHEN

01:40PM   15      THEY MEET WITH THE OTHER INDIVIDUALS THEY'RE ABLE TO SECURE

01:40PM   16      ADDITIONAL INFORMATION THAT MIGHT NOT CURE THE ENTIRETY OF THE

01:40PM   17      DEFECTS AS YOU SEE IT NOW BUT AT LEAST GO A LONG WAY TOWARDS

01:41PM   18      THAT.

01:41PM   19             MR. BOSTIC AND MR. SCHENK, IF WHAT I'M HEARING IS THAT YOU

01:41PM   20      NEED TO DISCUSS OR AT LEAST TALK WITH OTHER AGENCIES REGARDING

01:41PM   21      OTHER DISCOVERY MATTERS THAT MIGHT BE USEFUL TO THAT

01:41PM   22      CONVERSATION, THAT'S WHAT I'M HEARING, THEN I THINK THAT MAYBE

01:41PM   23      WE CAN FIND SOME ACCORD WHERE I DON'T KNOW IF WE NEED AN

01:41PM   24      ADDITIONAL STATUS TO DETERMINE A DATE OR IF I GIVE YOU DATES

01:41PM   25      NOW.    I HATE TO DO THAT NOW AND BLIND THEM NOT KNOWING WHAT IS



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01:41PM    1      IN STORE FOR YOUR CONVERSATIONS.

01:41PM    2                   MR. BOSTIC:   YOUR HONOR, JUST TO BE CLEAR, I THINK

01:41PM    3      THAT IS PART OF THE OBJECTIVE OF THOSE ADDITIONAL CONVERSATIONS

01:41PM    4      WITH AGENCY COUNSEL TO SEE WHETHER THERE'S SOME MIDDLE GROUND,

01:41PM    5      SOME ABILITY TO COMPROMISE.

01:41PM    6            BUT IN ADDITION, I BELIEVE THAT THE DEFENSE MOTION WILL

01:41PM    7      TURN AT LEAST PARTLY OR IN LARGE PART ON WHETHER THE

01:41PM    8      GOVERNMENT, WHETHER THE PROSECUTION IS DEEMED TO HAVE ACCESS TO

01:41PM    9      THE DOCUMENTS IN THE POSSESSION OF THESE AGENCIES.

01:41PM   10            SO IT'S REALLY TO EXPLAIN THOSE RELEVANT FACTS TO THE

01:42PM   11      COURT TO DETERMINE TO WHAT EXTENT DO WE HAVE ACCESS TO THOSE

01:42PM   12      DOCUMENTS.

01:42PM   13                   THE COURT:    SURE.   YOU CAN'T HAVE THAT CONVERSATION

01:42PM   14      UNTIL THE FIRST PART OF MAY IT SOUNDS LIKE.

01:42PM   15                   MR. BOSTIC:   CORRECT, YOUR HONOR, AT LEAST WE

01:42PM   16      CANNOT -- AT LEAST AS TO CMS WE CANNOT FINISH THAT CONVERSATION

01:42PM   17      UNTIL THEN.

01:42PM   18                   THE COURT:    ALL RIGHT.   DO YOU HAVE SUGGESTIONS

01:42PM   19      ABOUT WHAT WE SHOULD DO?

01:42PM   20                   MR. DOWNEY:   YOUR HONOR, I THINK MY SUGGESTION WOULD

01:42PM   21      BE THAT WE FILE AN UPDATE WITH THE COURT PERHAPS AT THE END OF

01:42PM   22      THE WEEK FOLLOWING THE WEEK WHEN MR. BOSTIC ANTICIPATES THAT

01:42PM   23      HE'LL HAVE THOSE CONVERSATIONS.

01:42PM   24            MY CONCERN IS ONLY THIS, I ANTICIPATE THAT THE AGENCIES

01:42PM   25      PROBABLY WILL PRODUCE SOME ADDITIONAL AMOUNT OF MATERIAL.         IT'S



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01:42PM    1      CLEAR TO US FROM OUR REVIEW OF WHAT HAS BEEN PRODUCED THUS FAR

01:42PM    2      THAT THERE'S A GOOD BIT OF ADDITIONAL MATERIAL THAT IS PROBABLY

01:42PM    3      MATERIAL TO OUR PREPARATION AND IN MANY INSTANCES EXCULPATORY.

01:42PM    4             IT MAY BE PREFERABLE ULTIMATELY FOR THE AGENCIES TO

01:42PM    5      CONDUCT THEIR THOUGHT PROCESS ON THEIR REVIEW RECOGNIZING THAT

01:42PM    6      THEY'RE GOING TO BE OBLIGATED TO PRODUCE DOCUMENTS WHICH MEET

01:43PM    7      THOSE STANDARDS.

01:43PM    8             SO I DON'T WANT TO FORESHADOW WHAT THEIR CONSULTATION

01:43PM    9      PROCESS YIELDS, BUT I THINK WE SHOULD REPORT BACK AT THE END OF

01:43PM   10      THE WEEK AFTER -- THE WEEK THAT MR. BOSTIC CONSULTS WITH HIS

01:43PM   11      COLLEAGUES AND OTHER AGENCIES, BUT WE MAY AT THAT TIME FIND

01:43PM   12      WE'RE NOT MAKING SUFFICIENT PROGRESS, THAT WE WOULD LIKE THE

01:43PM   13      MOTION TO BE HEARD.

01:43PM   14             BUT I DON'T WANT TO FOREJUDGE THAT, YOUR HONOR.    WE CAN

01:43PM   15      SEE.

01:43PM   16                  THE COURT:    WELL, THANK YOU.   THE ISSUE BEFORE THE

01:43PM   17      COURT NOW IS TO DETERMINE A BRIEFING SCHEDULE --

01:43PM   18                  MR. DOWNEY:   YES.

01:43PM   19                  THE COURT:    -- AS TO WHEN THE GOVERNMENT SHOULD FILE

01:43PM   20      THEIR REPLY AND OPPOSITION.

01:43PM   21                  MR. DOWNEY:   UNDERSTOOD.   AND I THINK WE CAN DEFER

01:43PM   22      THE OPPOSITION AT LEAST UNTIL WE FILE THAT MEMORANDUM AND UNTIL

01:43PM   23      WE FILE THAT JOINT UPDATE.

01:43PM   24                  THE COURT:    SURE.

01:43PM   25                  MR. DOWNEY:   AND IF, IN FACT, AT THAT TIME IT'S



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01:43PM    1      NECESSARY FOR THE GOVERNMENT TO CONTINUE AND GO AHEAD AND BRIEF

01:43PM    2      IT, WE'LL DO IT THEN.

01:43PM    3                  MR. BOSTIC:   YOUR HONOR, NO OBJECTION TO THAT

01:43PM    4      APPROACH FROM THE GOVERNMENT.

01:43PM    5                  THE COURT:    OKAY.   LET ME ASK, IS THERE ANY

01:43PM    6      CONNECTION BETWEEN -- LET'S TURN TO THE S.E.C. CASE FOR JUST A

01:44PM    7      MOMENT.

01:44PM    8            I UNDERSTAND THE GOVERNMENT HAS FILED A MOTION TO

01:44PM    9      INTERVENE IN THE CRIMINAL CASE.      I'M JUST CURIOUS WHETHER

01:44PM   10      THERE'S SOME CROSS-POLLINIZATION BETWEEN THESE TWO THINGS.

01:44PM   11                  MR. LEACH:    YES, YOUR HONOR.   MR. LEACH FOR THE

01:44PM   12      GOVERNMENT.   I DON'T THINK THERE IS.     THE DISCOVERY THAT

01:44PM   13      MS. HOLMES IS SEEKING ARE DOCUMENTS IN THE POSSESSION OF THE

01:44PM   14      FDA AND CMS WHICH THE GOVERNMENT CONTENDS ARE NOT PART OF THE

01:44PM   15      PROSECUTION TEAM AND NOT SUBJECT TO OUR RULE 16 BRADY AND

01:44PM   16      GIGLIO OBLIGATIONS.

01:44PM   17            THE MOTION TO INTERVENE AND STAY IS REALLY DIRECTED AT

01:44PM   18      SOME DISCOVERY THAT MR. BALWANI IS ATTEMPTING TO TAKE IN THE

01:44PM   19      CIVIL CASE RELATING TO DOCTORS AND PATIENTS WHO IN OUR JUDGMENT

01:44PM   20      HAVE NOTHING TO DO WITH THE S.E.C. CASE BUT EVERYTHING TO DO

01:44PM   21      WITH THE CRIMINAL CASE.

01:44PM   22            SO WE THINK SOME OF THE RECENT DISCOVERY HAS CROSSED THE

01:44PM   23      LINE IN TERMS OF RELEVANCE OF THE S.E.C. CASE.      WE ALSO TOOK A

01:44PM   24      LOOK AT THE KEATING FACTORS IN THE MOST RECENT NINTH CIRCUIT

01:45PM   25      DECISION ON STAYS, AND WE REALLY THINK THAT THE BREADTH OF



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01:45PM    1      CIVIL DISCOVERY IN THE S.E.C. CASE IS DISTRACTING FROM THE

01:45PM    2      PARTIES' ABILITY TO MOVE THE CASE FORWARD AND GET A TRIAL DATE

01:45PM    3      IN THE CRIMINAL CASE.

01:45PM    4            SO I THINK THOSE ARE -- WE DO NOT TAKE A POSITION ON ANY

01:45PM    5      DISCOVERY MR. BALWANI HAS TAKEN OF THE FDA OR CMS IN THE S.E.C.

01:45PM    6      CASE.   IT'S REALLY FOCUSSED ON DOCTORS AND PATIENTS AND THE

01:45PM    7      OVERALL BREADTH OF IT.

01:45PM    8                  MR. COPPERSMITH:      THANK YOU, YOUR HONOR.   WE'RE

01:45PM    9      GOING TO RESPOND TO THE GOVERNMENT'S MOTION TO INTERVENE AND

01:45PM   10      STAY.   OUR OPPOSITION IS DUE TWO WEEKS FROM THIS PAST FRIDAY SO

01:45PM   11      WE INTEND TO PUT IN A FULL OPPOSITION.       WE DON'T AGREE WITH THE

01:45PM   12      GOVERNMENT THERE SHOULD BE A MOTION, BUT LET ME SAY A FEW

01:45PM   13      THINGS IN RESPONSE TO MR. LEACH.

01:45PM   14                  THE COURT:    SURE.

01:45PM   15                  MR. COPPERSMITH:      THAT IS, IT'S BEEN ABOUT A YEAR

01:45PM   16      SINCE THE DISCOVERY COMMENCED IN THE S.E.C. CASE.

01:45PM   17            JUST LIKE IN THE CRIMINAL CASE, THERE ARE MILLIONS OF

01:45PM   18      PAGES OF DOCUMENTS.      AS WE SEE THE S.E.C. CASE, AND WE PUT THIS

01:46PM   19      IN THE STATUS REPORT FOR YOUR HONOR, WE BELIEVE THERE ARE

01:46PM   20      ALLEGATIONS ABOUT THE CAPABILITIES OF THERANOS'S LABORATORIES

01:46PM   21      AND ITS ANALYZER AND IT NOT BEING ACCURATE.        WE'VE ACTUALLY

01:46PM   22      TRIED TO PROPOSE SOME THINGS TO THE S.E.C.       WE HAVEN'T HEARD

01:46PM   23      BACK.   WE THINK IT PUTS THESE MATTERS AT ISSUE.

01:46PM   24            THE MATTER WITH RESPECT TO THE HEALTH CARE PROVIDERS,

01:46PM   25      JUDGE COUSINS IS GOING TO HEAR THAT MOTION ON RELEVANCE ON



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01:46PM    1      WEDNESDAY AND JUDGE COUSINS IS GOING TO BE WELL CAPABLE TO

01:46PM    2      DECIDING WHAT IS RELEVANT IN THE CASE AND WHAT IS NOT, AND WE

01:46PM    3      THINK IT'S RELEVANT.

01:46PM    4            BUT IN ADDITION, THE FACT THAT THE GOVERNMENT WAITED A

01:46PM    5      YEAR TO TRY TO STAY AFTER MR. BALWANI PROVIDED DISCOVERY TO THE

01:46PM    6      S.E.C., HE PROVIDED SWORN INTERROGATORY ANSWERS, HE PROVIDED

01:46PM    7      OTHER DISCOVERY, SAT FOR THREE DAYS FOR TESTIMONY WITH THE

01:46PM    8      S.E.C. BEFORE THE COMPLAINT WAS FILED.

01:46PM    9            TO COME IN AND TRY TO STAY AT THIS POINT I THINK IS

01:46PM   10      TACTICAL, BUT WE'LL EXPLAIN ALL OF OUR --

01:46PM   11                   THE COURT:   YOU'RE ARGUING THE MOTION.

01:46PM   12                   MR. COOPERSMITH:   WELL, I MEAN, I'M RESPONDING TO

01:46PM   13      MR. LEACH.

01:47PM   14                   THE COURT:   JUNE 10TH, I THINK.

01:47PM   15                   MR. COPPERSMITH:   YES, YOUR HONOR.    AND I DON'T

01:47PM   16      THINK THAT THAT MOTION SHOULD REALLY AFFECT ANYTHING THAT WE'RE

01:47PM   17      DOING TODAY NOTWITHSTANDING MR. LEACH'S COMMENTS.

01:47PM   18            SO ONE OTHER THING THAT MAY BE IS PERTINENT AND THAT IS,

01:47PM   19      THERE IS, AND I THINK WE MENTIONED THIS IN THE STATUS REPORT,

01:47PM   20      TOO, THERE IS AN ISSUE WITH CMS AND FDA ON THE CIVIL SIDE JUST

01:47PM   21      LIKE IN THE CRIMINAL CASE AND THERE WERE SUBPOENAS ISSUED TO

01:47PM   22      THOSE AGENCIES OUT OF THE CIVIL CASE.      THE S.E.C. DIDN'T OBJECT

01:47PM   23      TO ANYTHING ABOUT RELEVANCE ON THOSE UNTIL VERY RECENTLY.

01:47PM   24      AFTER SEVEN MONTHS THOSE SUBPOENAS WERE PENDING.

01:47PM   25            WE'VE BEEN CONFERRING, MEETING AND CONFERRING WITH CMS AND



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01:47PM    1      FDA AND DOJ COUNSEL WHO REPRESENTS THOSE AGENCIES FOR MANY,

01:47PM    2      MANY MONTHS.    WE'RE TRYING TO FRAME THOSE ISSUES FOR THE COURT

01:47PM    3      IF WE CAN'T RESOLVE THEM.       OBVIOUSLY, WE HOPE WE CAN RESOLVE

01:47PM    4      THEM.   BUT THAT'S SOMETHING THAT WE'VE BEEN STRUGGLING WITH

01:47PM    5      FOR -- YOU KNOW, SINCE SEPTEMBER SINCE WE ISSUED THOSE

01:47PM    6      SUBPOENAS IS TO ACTUALLY GET THOSE AGENCIES TO PROVIDE

01:47PM    7      DOCUMENTS.

01:48PM    8            THAT IS WHAT IS GOING ON.

01:48PM    9                   THE COURT:    OKAY.   THANK YOU.   ANYTHING FURTHER THEN

01:48PM   10      ON THAT?   SHOULD WE LEAVE THE JUNE 10TH DATE THEN?       IS THAT

01:48PM   11      CONVENIENT?

01:48PM   12                   MR. COOPERSMITH:      THAT WAS THE DATE AVAILABLE FOR

01:48PM   13      US, SO, YES, YOUR HONOR.

01:48PM   14                   MR. LEACH:    IT'S CONVENIENT FOR US, YOUR HONOR, IF

01:48PM   15      THE COURT IS AVAILABLE TO GO FORWARD.

01:48PM   16                   THE COURT:    I THINK THAT'S AT 10:00 A.M.

01:48PM   17                   THE CLERK:    YES, YOUR HONOR.

01:48PM   18                   THE COURT:    LET'S LEAVE THAT SET.    LET'S RETURN NOW

01:48PM   19      TO THE CRIMINAL CASE.

01:48PM   20            WHAT DO YOU SUGGEST THEN?       I UNDERSTAND YOU'LL PERHAPS

01:48PM   21      PROVIDE A MEMO PERHAPS THE WEEK AFTER, MAYBE IT'S THE SECOND

01:48PM   22      WEEK OF MAY OR SOMETHING LIKE THAT, MR. BOSTIC.

01:48PM   23                   MR. BOSTIC:   THAT'S WHAT I UNDERSTAND FROM DEFENSE'S

01:48PM   24      PROPOSAL, YOUR HONOR, AND THAT MEMO WOULD EITHER SAY THE

01:48PM   25      PARTIES HAVE REACHED THE FOLLOWING AGREEMENT OR ARE MAKING



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01:48PM    1      PROGRESS TOWARDS REACHING THIS AGREEMENT OR IT WOULD INDICATE

01:48PM    2      THAT THERE IS NO SUCH AGREEMENT AND THAT THE GOVERNMENT IS

01:48PM    3      PLANNING TO FILE ITS OPPOSITION.      THEN MY HOPE AT THAT TIME

01:48PM    4      WOULD BE THAT THE PARTIES INCLUDE IN THAT FILING A PROPOSED

01:48PM    5      BRIEFING AND HEARING SCHEDULE.

01:49PM    6            IS THAT YOUR UNDERSTANDING?

01:49PM    7                   MR. DOWNEY:   THAT'S MY UNDERSTANDING, TOO.

01:49PM    8                   THE COURT:    I'LL GIVE YOU AN OPPORTUNITY AND THE

01:49PM    9      OPPORTUNITY TO CREATE SUCH A SCHEDULE THAT COMPORTS WITH YOUR

01:49PM   10      CALENDARS.    I'M HAPPY TO GIVE THAT TO YOU FOR SUGGESTION TO THE

01:49PM   11      COURT, AND IF WE CAN ACCOMMODATE IT, WE WILL.       I'LL ACCEPT THAT

01:49PM   12      FOR YOU.

01:49PM   13            LET'S TALK ABOUT TRIAL FOR JUST A MOMENT.     I REALIZE THAT

01:49PM   14      IT'S GOING TO BE PREMATURE BASED ON THESE PENDING MOTIONS.         BUT

01:49PM   15      WHAT ARE YOUR THOUGHTS, IF YOU HAVE ANY, ABOUT WHEN THE CASE

01:49PM   16      WOULD PROCEED TO TRIAL, IF IT WERE TO PROCEED TO TRIAL, WHEN

01:49PM   17      THAT MIGHT BE?

01:49PM   18                   MR. DOWNEY:   I THINK FROM THE DEFENSE PERSPECTIVE AT

01:49PM   19      THIS POINT, JUDGE, WE'RE ABOUT THREE MONTHS TOO EARLY TO

01:49PM   20      DISCUSS THAT.

01:49PM   21            IN ADDITION TO WHAT WE'VE JUST DISCUSSED, THERE ARE A

01:49PM   22      COUPLE OF OTHER STRANDS THAT ARE GOING TO DEFINE, I THINK, THE

01:49PM   23      SCOPE OF WHAT IS AT ISSUE.

01:49PM   24            ONE IS THAT THERE IS A TAINT TEAM THAT IS IN PLACE FOR

01:49PM   25      PURPOSES OF REVIEW OF CERTAIN DOCUMENTS, AND THERE'S A



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01:49PM    1      PROCEDURE THAT ATTACHES TO THE BACK END OF THAT WHERE THE

01:50PM    2      DEFENSE CAN OBJECT IF DOCUMENTS ARE TO BE DISCLOSED TO THE

01:50PM    3      GOVERNMENT.

01:50PM    4            THE DOCUMENTS THAT ARE AT ISSUE THERE I THINK ARE GOING TO

01:50PM    5      BE QUITE MATERIAL TO THE CASE, AND WE DON'T AT THIS POINT KNOW

01:50PM    6      WHAT THE STATUS IS OF THAT REVIEW, WHEN WE'LL GET THOSE

01:50PM    7      DOCUMENTS, ET CETERA, BUT I THINK THAT IS A PROCESS THAT THE

01:50PM    8      GOVERNMENT HAS SAID HAS COMMENCED AND WE WILL, I THINK,

01:50PM    9      PRESUMABLY BE IN THAT PROCESS THREE MONTHS FROM NOW AND HAVE A

01:50PM   10      BETTER SENSE WITH CLARITY AS TO WHEN WOULD BE AN APPROPRIATE

01:50PM   11      TRIAL DATE.

01:50PM   12            THE OTHER PIECE OF IT, WHICH I JUST, FRANKLY, HAVE TO SOME

01:50PM   13      EXTENT THROW MY HANDS UP ON, JUDGE, AND SAY WE HAVE A HUGE

01:50PM   14      AMOUNT OF MATERIAL THAT HAS ALREADY BEEN PRODUCED WHICH I THINK

01:50PM   15      THE GOVERNMENT HAS WORKED DILIGENTLY TO PRODUCE BUT MUCH OF

01:50PM   16      WHICH WE HAVE ONLY RECENTLY GOTTEN.     WE'RE TOLD BY THE

01:50PM   17      GOVERNMENT THAT THEY ARE PRODUCING A LARGE ADDITIONAL VOLUME.

01:50PM   18      INDEED, TODAY MR. BOSTIC HAS UNCOVERED THAT FOUR ADDITIONAL

01:50PM   19      TERABYTES OF DATA ARE GOING TO BE DISCLOSED TO US.      SO WE WANT

01:51PM   20      TO GET OUR ARMS AROUND WHAT THAT IS, AS DOES HE.

01:51PM   21            SO I THINK WE'RE THREE MONTHS OUT FROM WRAPPING THOSE

01:51PM   22      STRANDS UP SO THAT WE CAN KNOW WHEN A TRIAL DATE -- WHEN A

01:51PM   23      RANGE FOR A TRIAL DATE WOULD BE APPROPRIATE AND SUGGEST A LEAD

01:51PM   24      TIME TO YOUR HONOR.

01:51PM   25                  THE COURT:   WELL, THAT COMPORTS WITH WHAT YOU'RE



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01:51PM    1      SUGGESTING A JULY DATE FOR A STATUS CONFERENCE.

01:51PM    2                  MR. DOWNEY:    STATUS CONFERENCE, YES.

01:51PM    3                  MR. BOSTIC:    YOUR HONOR, JUST TO UPDATE THE COURT ON

01:51PM    4      THE TWO ISSUES JUST MENTIONED BY DEFENSE COUNSEL.

01:51PM    5            FIRST, ON THE TAINT REVIEW, COUNSEL IS CORRECT THAT THAT

01:51PM    6      PROCESS IS ONGOING.      IN FACT, THE GOVERNMENT IS ABOUT TO CLEAR

01:51PM    7      THE FIRST BATCH OF DOCUMENTS FOR REVIEW BY THE DEFENSE.         I

01:51PM    8      BELIEVE THAT SET OF DOCUMENTS WILL INCLUDE WELL IN EXCESS OF

01:51PM    9      100,000 OUT OF THE APPROXIMATELY 250,000 DOCUMENTS THAT ARE

01:51PM   10      UNDERGOING THAT TAINT REVIEW.      SO WE'RE MAKING GOOD PROGRESS ON

01:51PM   11      THAT, AND IT'S MY HOPE THAT VERY SOON THE DEFENSE WILL HAVE

01:51PM   12      ACCESS TO A VERY LARGE PORTION OF THOSE DOCUMENTS AND THEN

01:51PM   13      WE'LL PROCEED DILIGENTLY WITH THE REST.

01:51PM   14            AS TO THE NEW INFORMATION, I DID INFORM COUNSEL FOR

01:52PM   15      MS. HOLMES BEFORE THE HEARING THAT WE RECENTLY OBTAINED

01:52PM   16      VOLUNTARILY FROM A WITNESS A HARD DRIVE CONTAINING

01:52PM   17      APPROXIMATELY FOUR TERABYTES OF ADDITIONAL INFORMATION.         I

01:52PM   18      UNDERSTAND THAT MOST OF THAT VOLUME COMES FROM PROMOTIONAL FILM

01:52PM   19      AND VIDEO CREATED BY THERANOS ITSELF WHEN THE COMPANY WAS

01:52PM   20      OPERATIONAL.   SO I THINK THE LARGE AMOUNT MIGHT BE SOMEWHAT

01:52PM   21      MISLEADING BECAUSE THESE ARE NOT JUST PAGES OF SOLID DOCUMENTS.

01:52PM   22      I THINK A LOT OF THAT DATA IS MADE UP BY VIDEO FILES.

01:52PM   23                  THE COURT:    I SEE.   THAT'S HELPFUL.

01:52PM   24            MR. SCHENK?

01:52PM   25                  MR. SCHENK:    YES, YOUR HONOR.   ON THE ISSUE OF



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01:52PM    1      SETTING A TRIAL DATE, WE DO THINK IT'S APPROPRIATE TO SET A

01:52PM    2      TRIAL DATE.   WE'RE NOT ASKING THE COURT TO SET A TRIAL DATE IN

01:52PM    3      THREE MONTHS OR SIX MONTHS, BUT IT DOES HELP CRYSTALIZE MANY OF

01:52PM    4      THE ISSUES BEFORE THE COURT AND BEFORE THE PARTIES TO HAVE THAT

01:52PM    5      TRIAL DATE.

01:52PM    6            WE ALSO THINK THAT THE TRIAL WILL BE LENGTHY AND TO

01:52PM    7      RESERVE THE BLOCK OF TIME ON THE COURT'S CALENDAR AND ON ALL OF

01:53PM    8      THE PARTIES' CALENDAR AND SO THAT WE CAN SEND TRIAL SUBPOENAS

01:53PM    9      TO WITNESSES TO BEGIN TO BLOCK OUT TIME.     IT'S HELPFUL TO HAVE

01:53PM   10      A TRIAL DATE.

01:53PM   11            WE THINK THAT TO NOT MEASURE BY COURT WEEKS BUT RATHER

01:53PM   12      TRIAL DAYS, OUR ESTIMATE AT THIS POINT WOULD BE ABOUT 40 TRIAL

01:53PM   13      DAYS THOUGH ACKNOWLEDGING WE HOPE THAT WE'RE ABLE TO REACH SOME

01:53PM   14      STIPULATIONS WITH THE DEFENSE TO ALLEVIATE CUSTODIAL WITNESSES,

01:53PM   15      AND OBVIOUSLY AS THE TRIAL WOULD GET CLOSER, WE WOULD BE ABLE

01:53PM   16      TO PROVIDE A MORE ACCURATE OR A BETTER ESTIMATE.

01:53PM   17            BUT AT THIS POINT, YOU KNOW, THAT'S ROUGHLY TWO MONTHS

01:53PM   18      GOING EVERY COURT DAY SO IT'S PROBABLY GOING TO GO A LITTLE BIT

01:53PM   19      LONGER THAN THAT AND TO GET TWO MONTHS ON THE COURT'S CALENDAR

01:53PM   20      IS NOT SOMETHING THAT WE CAN DO ON SHORT NOTICE.

01:53PM   21            SO WE WOULD ASK THE COURT TO THINK ABOUT SETTING US FOR

01:53PM   22      TRIAL EVEN A YEAR FROM NOW.    THE GOVERNMENT'S REQUEST WOULD BE

01:53PM   23      TO SET THE TRIAL DATE.

01:53PM   24            WE ACKNOWLEDGE THE POINTS THAT THE DEFENSE HAS MADE TO THE

01:54PM   25      COURT ABOUT THE VOLUMINOUS DISCOVERY AND THEIR NEED TO REVIEW



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01:54PM    1      THAT DISCOVERY.    A YEAR FROM NOW, THOUGH, WE THINK WOULD

01:54PM    2      ACCOMPLISH THAT.    AND WE SHOULD ALSO NOTE THAT A LOT OF THE

01:54PM    3      DISCOVERY PRODUCTION IN THIS CASE IS AN EXERCISE IN PROVIDING

01:54PM    4      THERANOS DOCUMENTS BACK TO THE DEFENSE.       NOW IT'S INDIVIDUAL

01:54PM    5      DEFENDANTS, NOT THE CORPORATION.       THERE'S BEEN A LOT OF

01:54PM    6      LITIGATION THAT HAS PREDATED THE CRIMINAL CASE.

01:54PM    7            SO THEY'VE RECEIVED SOME OF THESE DOCUMENTS AND NOW TWO OR

01:54PM    8      THREE TIMES FROM US, BUT WE ACKNOWLEDGE THEIR NEED TO

01:54PM    9      EFFECTIVELY PREPARE BY REVIEWING THESE DOCUMENTS.      THEY HAVE

01:54PM   10      NOT WALKED IN AND ASKED FOR A SPEEDY TRIAL BECAUSE OF THE

01:54PM   11      VOLUMINOUS NATURE OF THE DISCOVERY.

01:54PM   12            ALTHOUGH IT IS OUR VIEW THAT SETTING A TRIAL DATE NOW IS

01:54PM   13      IMPORTANT TO CRYSTALLIZE THOSE ISSUES AND TO BLOCK THAT TIME

01:54PM   14      OUT ON THE COURT'S CALENDAR.

01:54PM   15            AGAIN, EVEN IF IT'S A YEAR FROM NOW WHEN THE COURT HAS THE

01:54PM   16      TIME TO GIVE US THOSE TWO-PLUS MONTHS, WE WOULD APPRECIATE IT.

01:54PM   17                  THE COURT:    OKAY.

01:54PM   18                  MR. DOWNEY:   YOUR HONOR --

01:54PM   19                  THE COURT:    WELL, LOOKING AHEAD -- I KNOW YOU CAN'T

01:55PM   20      TELL ME TODAY, COUNSEL, YOU CAN'T TELL ME TODAY WHAT YOUR --

01:55PM   21      THE TIME YOU NEED FOR YOUR DEFENSE.

01:55PM   22                  MR. DOWNEY:   NO.

01:55PM   23                  THE COURT:    BUT MY SENSE IS THAT IT MIGHT MIRROR

01:55PM   24      THIS AS WELL AND PERHAPS BE LONGER.

01:55PM   25                  MR. COOPERSMITH:      YES, YOUR HONOR.



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01:55PM    1                  MR. DOWNEY:   THAT'S OUR SENSE, YOUR HONOR, FROM WHAT

01:55PM    2      THE GOVERNMENT HAS SAID TO US.

01:55PM    3                  THE COURT:    SO RECOGNIZING THE BUSINESS OF FEDERAL

01:55PM    4      DISTRICT COURTS IN THIS -- IN THE NORTHERN DISTRICT OF

01:55PM    5      CALIFORNIA, AND PARTICULARLY THE SAN JOSE DIVISION, IF I CAN

01:55PM    6      SAY THAT, WE'RE BUSY.

01:55PM    7                  MR. DOWNEY:   I SEE.

01:55PM    8                  THE COURT:    IT WOULD MAKE SENSE FOR MY CALENDAR, AND

01:55PM    9      MY COLLEAGUES AS WELL, TO BLOCK OUT SOME TIME, EXPECTATION SO

01:55PM   10      THAT WE CAN PROPERLY ADJUST OUR CALENDAR FOR THE OTHER CASES

01:55PM   11      THAT WE HAVE NEED TO TAKE CARE OF.

01:56PM   12            IS THAT SOMETHING THAT WE CAN DO TODAY?

01:56PM   13                  MR. DOWNEY:   YOUR HONOR, CAN I MAKE A SUGGESTION?

01:56PM   14      EVERYTHING THAT MR. SCHENK SAYS IS SENSIBLE.       THIS IS GOING TO

01:56PM   15      BE A LONG TRIAL, AND IT'S GOING TO REQUIRE A LOT OF

01:56PM   16      COORDINATION, AND I THINK A SIGNIFICANT ADVANCE NOTICE IS

01:56PM   17      APPROPRIATE.

01:56PM   18            I REALLY DO THINK WHEN THE PROCESSES I'VE IDENTIFIED HAVE

01:56PM   19      HAD THE OPPORTUNITY TO PLAY OUT, WE'LL BE IN A BETTER POSITION

01:56PM   20      TO SAY WHETHER THAT'S NINE MONTHS FROM JULY, WHICH WOULD STILL

01:56PM   21      BE A YEAR FROM TODAY, OR WHETHER IT'S A YEAR FROM JULY.      I

01:56PM   22      THINK THE WORST POSSIBLE RESULT, WHICH WE ALL AGREE ON AND

01:56PM   23      WHICH I'M SURE THE COURT AGREES ON, IS GETTING CLOSER TO A

01:56PM   24      TRIAL AND UNEXPECTED EVENTS THAT CHANGE THE TRIAL DATE.

01:56PM   25            SO I WILL COMMIT TO THE COURT THAT WE WILL TRY TO GIVE A



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01:56PM    1      RELIABLE TRIAL DATE AS I'M SURE THE GOVERNMENT WILL WHEN WE

01:56PM    2      PROPOSE ONE.   BUT MY SUGGESTION WOULD BE THAT WE CONFER IN

01:56PM    3      ADVANCE OF A JULY CONFERENCE, COME UP WITH A PROPOSED SCHEDULE,

01:56PM    4      ASSUMING THE ISSUES THAT WE'VE IDENTIFIED ARE RESOLVED AND

01:57PM    5      KNOWABLE AT THAT POINT, AND COME BACK AT THAT TIME AND TRY TO

01:57PM    6      IDENTIFY WHAT THE APPROPRIATE LENGTH OF TIME IS AND WHAT THE

01:57PM    7      APPROPRIATE PRECISE SCHEDULING IS SO THAT WHEN THE COURT

01:57PM    8      SCHEDULES THOSE DATES IT CAN HAVE CONFIDENCE IN THEM.

01:57PM    9                  MR. COOPERSMITH:   YOUR HONOR, IF I COULD ADD ONE

01:57PM   10      THING.   SO THE GOVERNMENT ON THE CRIMINAL SIDE HERE HAS BEEN

01:57PM   11      INVESTIGATING THIS CASE SINCE SOMETHING LIKE EARLY 2016 AND

01:57PM   12      HAS -- IT'S NOW, YOU KNOW, SINCE THE INDICTMENT WAS IN JUNE OR

01:57PM   13      MID-JUNE OF 2018 AND WE JUST RECEIVED 3 MILLION PAGES OF

01:57PM   14      DOCUMENTS, YOU KNOW, IN THE MIDDLE OF MARCH.       SO JUST VERY

01:57PM   15      RECENTLY.

01:57PM   16            SO IT IS OBVIOUSLY VERY DIFFICULT TO REVIEW ALL OF THESE

01:57PM   17      DOCUMENTS, BUT THE THING I WANTED TO SAY IN PARTICULAR THAT

01:57PM   18      HASN'T BEEN MENTIONED YET IS THAT THE GOVERNMENT HAS SAID THAT

01:57PM   19      IT'S CONTINUING TO INVESTIGATE THIS CASE.     IT'S CONTINUING TO

01:57PM   20      USE THE GRAND JURY, IT'S CONTINUING TO DO THAT.

01:57PM   21            IF WE SET THE STATUS HEARING IN JULY AS SUGGESTED IN THE

01:57PM   22      STATUS REPORT AND WE ALL COME BACK AND AT THAT POINT WE'RE ALL

01:58PM   23      PREPARED TO TALK ABOUT A TRIAL DATE, I'M HOPING THAT THE

01:58PM   24      GOVERNMENT WILL BE IN A POSITION TO SAY WHETHER THE CASE AS

01:58PM   25      CHARGED NOW IS WHAT THE CASE IS OR WHETHER IT'S GOING TO BE



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01:58PM    1      SOMETHING DIFFERENT.

01:58PM    2            YOU KNOW, CERTAINLY BY JULY THEY OUGHT TO BE ABLE TO DO

01:58PM    3      THAT IF THEY'RE NOT PREPARED TO DO THAT TODAY.

01:58PM    4                   THE COURT:    IT SOUNDS LIKE A REQUEST.

01:58PM    5                   MR. SCHENK:    YOUR HONOR, WE APPRECIATE THE REQUEST.

01:58PM    6      WE RESPECTFULLY ARE GOING TO DECLINE TO TAKE MR. COOPERSMITH UP

01:58PM    7      ON THAT REQUEST.

01:58PM    8            IF HIS CONCERN IS BEING SHORT SET; THAT IS, GOING TO TRIAL

01:58PM    9      ON AN INDICTMENT THAT WAS NOT THE INDICTMENT THAT HE WAS

01:58PM   10      EXPECTING TO GO TO TRIAL ON, THE SPEEDY TRIAL ACT 3161 DEALS

01:58PM   11      WITH THAT SCENARIO.       THERE IS LAW ON THAT SUBJECT.

01:58PM   12            IF IT ISN'T THAT AND RATHER IT'S JUST TELL US IF YOU'RE

01:58PM   13      STILL INVESTIGATING US AND IF YOU'RE LIKELY TO FACE MORE

01:58PM   14      CRIMINAL CHARGES, THAT'S SOMETHING THAT WE DON'T DO AND UNLESS

01:58PM   15      THE COURT WOULD ORDER US TO WE WOULD ASK TO BE HEARD ON THE

01:58PM   16      ISSUE.   WE'RE NOT INCLINED TO REVEAL ONGOING INVESTIGATIONS.

01:58PM   17                   THE COURT:    PERHAPS THAT WAS AN ASPIRATIONAL

01:59PM   18      STATEMENT.    WELL, LET'S -- WHY DON'T WE -- IT SEEMS TO ME THAT

01:59PM   19      I'D LIKE TO GET SOME CLOSURE ON CAPTURING A SERIES OF -- IT

01:59PM   20      SOUNDS LIKE WE'RE GOING TO CAPTURE A SERIES OF MONTHS THAT THE

01:59PM   21      TRIAL WILL BE IN, AND OF COURSE WE'LL HAVE TO TIME QUALIFY, ET

01:59PM   22      CETERA, BUT I WOULD LIKE TO CAPTURE SOME TIME CERTAIN IF WE CAN

01:59PM   23      SO THAT WE CAN RESERVE THAT TIME FOR ALL OF YOU FOR THE WORK

01:59PM   24      THAT YOU NEED TO DO.

01:59PM   25            PERHAPS WE CAN BEST DO THAT IN JULY, AND I'M LOOKING AT



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01:59PM    1      OUR CALENDAR THINKING JULY 1ST OR JULY 8TH.

01:59PM    2            DO YOU HAVE A PREFERENCE, ADRIANA?

01:59PM    3                  THE CLERK:    FOR FURTHER STATUS, YOUR HONOR?

01:59PM    4                  THE COURT:    YES.

01:59PM    5                  THE CLERK:    JULY 1ST IS A BETTER DATE FOR THE COURT.

01:59PM    6                  MR. DOWNEY:    THAT'S FINE FOR MS. HOLMES.

01:59PM    7                  THE COURT:    ANY OBJECTION TO JULY 1ST?

02:00PM    8                  MR. COOPERSMITH:     NO, YOUR HONOR.

02:00PM    9                  MR. BOSTIC:    THAT'S FINE FOR THE GOVERNMENT.

02:00PM   10                  MR. SCHENK:    NO.

02:00PM   11                  THE COURT:    I HEAR NONE.   THANK YOU.   THAT WILL

02:00PM   12      ALLOW US ALSO TO HEAR THE JUNE 10TH MOTION SO WE'LL HAVE SOME

02:00PM   13      RESOLUTION ON THE JUNE 10TH MOTION WHICH MAY BE HELPFUL, AND

02:00PM   14      DEPENDING ON YOUR DISCUSSIONS ABOUT THIS DISCOVERY ISSUE,

02:00PM   15      WHATEVER REMAINS MIGHT MAKE THAT MOTION LESS INTENSIVE AS IT

02:00PM   16      PRESENTS NOW.   OF COURSE, I ONLY HAVE ONE SIDE OF IT.

02:00PM   17            ALL RIGHT.   LET'S CONTINUE THESE CASES.     ANYTHING FROM THE

02:00PM   18      S.E.C. THAT I SHOULD KNOW ABOUT?

02:00PM   19                  MS. LAMARCA:   YES, YOUR HONOR.   THIS IS MORE IN THE

02:00PM   20      NATURE OF HOUSEKEEPING BUT CURRENTLY THE COURT HAS A MAY 30TH

02:00PM   21      DATE FOR SETTING A TRIAL IN THIS CASE AND THE LAST TIME THAT WE

02:00PM   22      MET THE S.E.C. HAD AGREED, AT THE DEFENDANT'S REQUEST, TO ALLOW

02:00PM   23      FOR A POTENTIAL EXTENSION OF OUR DISCOVERY CUTOFF.

02:01PM   24                  THE COURT:    RIGHT.

02:01PM   25                  MS. LAMARCA:   I GET THAT THIS MAY CHANGE GIVEN THE



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02:01PM    1      STAY MOTION, ET CETERA, AND WE'RE WILLING TO DEFER THAT ISSUE

02:01PM    2      UNTIL THE FUTURE, BUT I DO THINK THAT SINCE THE MOTION HAS BEEN

02:01PM    3      SET FOR JUNE 10TH, WE AT LEAST NEED TO TAKE CARE OF THIS MAY

02:01PM    4      30TH DATE IN THE INTERIM.

02:01PM    5                  MR. COOPERSMITH:   THAT MAKES SENSE, YOUR HONOR, THAT

02:01PM    6      WE MOVE THE MAY 30TH.    I AGREE WITH MS. LAMARCA.

02:01PM    7            REGARDING THE STAY MOTION, AS THE COURT ALREADY SAID THAT

02:01PM    8      WILL BE HEARD ON JUNE 10TH, AND WE'LL RESPOND, AND I'M SURE THE

02:01PM    9      GOVERNMENT WILL SUBMIT A REPLY BRIEF.

02:01PM   10            BUT I THINK THAT THE REQUEST FOR A CONTINUANCE OR AN

02:01PM   11      EXTENSION OF DISCOVERY SHOULD BE RULED AND DECIDED ON TODAY,

02:01PM   12      AND THERE'S A FEW REASONS FOR THAT.

02:01PM   13            FIRST OF ALL, THE S.E.C. AND THE DEFENSE FOR MR. BALWANI

02:01PM   14      AGREE THAT THERE SHOULD AN EXTENSION OF DISCOVERY.      WE DISAGREE

02:01PM   15      ABOUT EXACTLY WHAT THE LENGTH SHOULD BE.     THEY SAID UP TO 3

02:01PM   16      MONTHS, AND WE THINK THE MAGNITUDE OF THIS CASE AND THE VOLUME

02:01PM   17      OF DOCUMENTS WARRANT AN EXTENSION OF 12 MONTHS, BUT WE AGREE ON

02:02PM   18      AN EXTENSION.

02:02PM   19            SO IF THAT CAN BE DECIDED UPON, THAT WAY WHAT WILL HAPPEN

02:02PM   20      IS THAT IF THE COURT DENIES THE GOVERNMENT'S MOTION TO STAY,

02:02PM   21      WE'LL BE IN A POSITION TO CONTINUE TO TAKE DISCOVERY AND ALSO

02:02PM   22      RIGHT NOW WE'LL BE ABLE TO GET THINGS ON THE CALENDAR, BECAUSE

02:02PM   23      AS I SAID THE LAST TIME I WAS BEFORE THE COURT, SOME OF THESE

02:02PM   24      WITNESSES ARE BILLIONAIRES AND OTHERS OF THAT ILK WHO MAKE IT

02:02PM   25      VERY DIFFICULT TO SCHEDULE, AND WE TRY TO BE COURTEOUS IN



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02:02PM    1      SCHEDULING TIME FOR THAT THOSE PEOPLE.

02:02PM    2                  THE COURT:   THEY HAVEN'T MET THE UNITED STATES

02:02PM    3      MARSHAL.

02:02PM    4                  MR. COOPERSMITH:   IF IT CAME TO THAT I SUPPOSE THEY

02:02PM    5      COULD, BUT WE DON'T WANT TO HAVE THAT SITUATION IF WE CAN AVOID

02:02PM    6      IT.

02:02PM    7            (LAUGHTER.)

02:02PM    8                  MR. COOPERSMITH:   BUT, YOUR HONOR, IF WE AGREE ON

02:02PM    9      THE EXTENSION OR THE COURT RULES ON AN EXTENSION TODAY,

02:02PM   10      OBVIOUSLY IF ON JUNE 10TH THE COURT DOES STAY THE CASE, OVER

02:02PM   11      OUR OPPOSITION, THEN THAT WILL BE THE END OF DISCOVERY UNTIL

02:02PM   12      SOME OTHER POINT IN TIME.

02:02PM   13                  THE COURT:   I APPRECIATE THAT.   I THINK A YEAR STAY

02:02PM   14      IS A LITTLE -- THAT'S JUST A BRIDGE TOO FAR TODAY FOR ME TO

02:03PM   15      MAKE.

02:03PM   16            ANYTHING FURTHER ON THAT?

02:03PM   17            AND PERHAPS -- I DON'T MEAN TO SUGGEST THAT DISCOVERY

02:03PM   18      SHOULD BE INCREMENTAL AT ALL.     I'D LIKE TO GIVE YOU FULL

02:03PM   19      LATITUDE OF DISCOVERY THAT YOU NEED, BUT I DO THINK THAT IN ALL

02:03PM   20      CANDOR A YEAR IS A BIT MUCH, AND I WAS LOOKING AT 90 DAYS AND

02:03PM   21      PERHAPS WE CAN START WITH THAT AND SEE WHERE WE GO.

02:03PM   22            EVERYTHING IS KIND OF FLUID HERE IN ANY EVENT.

02:03PM   23                  MR. COOPERSMITH:   I UNDERSTAND WHAT THE COURT IS

02:03PM   24      SAYING OF COURSE.    THE PROBLEM IS, YOUR HONOR, IF WE ONLY HAVE

02:03PM   25      A THREE-MONTH EXTENSION, WE'RE NOW GOING TO BE IN THE SUMMER



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02:03PM    1      TOWARDS THE END OF THAT PERIOD.       IT'S GOING TO BE VERY

02:03PM    2      DIFFICULT TO SCHEDULE THINGS FOR SOME WITNESSES,

02:03PM    3      NOTWITHSTANDING THE POWER OF THE UNITED STATES MARSHALS, YOUR

02:03PM    4      HONOR, AND --

02:03PM    5                   THE COURT:   YOU UNDERESTIMATE THEM.

02:03PM    6                   MR. COOPERSMITH:     NO, I DON'T.   I WAS A FEDERAL

02:03PM    7      PROSECUTOR, AND I HAVE TOTAL FAITH IN THE PARTIALS, BUT I DON'T

02:03PM    8      THINK THAT'S WHERE WE REALLY WANT TO BE.

02:03PM    9                   THE COURT:   SURE.   I APPRECIATE THAT.

02:03PM   10                   MR. COOPERSMITH:     SO THE PROBLEM IS IN SOME CASES

02:04PM   11      WE'RE ALREADY TALKING TO WITNESSES, ASSUMING THERE WAS ANY

02:04PM   12      EXTENSION, OF SCHEDULING THINGS IN JULY, AND THAT'S THREE

02:04PM   13      MONTHS FROM NOW.

02:04PM   14            SO I THINK IT'S GOING TO MAKE IT VERY DIFFICULT FOR

02:04PM   15      SCHEDULING PURPOSES IF WE HAVE ONLY A THREE MONTH EXTENSION

02:04PM   16      GIVEN THAT WILL BE RIGHT AT THE SUMMER PERIOD AT THAT POINT.

02:04PM   17            SO IF THE COURT IS NOT WILLING TO GRANT A 12-MONTH

02:04PM   18      EXTENSION, OBVIOUSLY THAT'S WHAT WE REQUESTED, SOME PERIOD OF

02:04PM   19      TIME BETWEEN THE 3 MONTHS THE S.E.C. SAID AND THE 12 MONTHS

02:04PM   20      WE'RE SAYING WOULD MAKE SENSE.

02:04PM   21            AGAIN, YOU KNOW, THE STAY MOTION WON'T AFFECT IT BECAUSE

02:04PM   22      THE COURT CAN RULE ON JUNE 10TH ONE WAY OR THE OTHER.

02:04PM   23                   MS. LAMARCA:   YOUR HONOR, WE OPPOSE A LONGER

02:04PM   24      EXTENSION FOR THE REASONS THAT WE SET FORTH IN THE JOINT CMC

02:04PM   25      STATEMENT.    I THINK ONE THING THAT WE HAVE NOT SEEN IN THIS



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02:04PM    1      CASE IS ANYTHING OTHER THAN ARGUMENTS ABOUT THINGS LIKE

02:04PM    2      DISCOVERY, AND IT IS, NO DOUBT, DIFFICULT TO GET SOME WITNESSES

02:04PM    3      TO AGREE TO CERTAIN DATES, BUT WE DO IT ALL OF THE TIME.

02:04PM    4      THAT'S WHAT WE DO.

02:04PM    5            AND IN OUR CASES A THREE MONTH EXTENSION USUALLY WORKS FOR

02:05PM    6      EVERYONE.   SO I CAN'T IMAGINE IF THIS IS SO DIFFERENT THAT IT

02:05PM    7      REALLY REQUIRES THAT WE DEPART FROM THE NORMS IN ALL OF OUR

02:05PM    8      CASES.   WE WOULD OPPOSE ANYTHING LONGER THAN THREE MONTHS.

02:05PM    9                  MR. COOPERSMITH:   YOUR HONOR, ONE OTHER THING ABOUT

02:05PM   10      THAT.    AS WE SAID IN THE STATUS REPORT, EVERY STEP OF THE WAY

02:05PM   11      WE HAVE RUN INTO NOTHING BUT OBSTACLES WITH SCHEDULING

02:05PM   12      WITNESSES FOR DEPOSITIONS, FOR DOCUMENTS.      EVEN WHEN IT COMES

02:05PM   13      TO THE UNITED STATES GOVERNMENT ITSELF, WE ISSUED SUBPOENAS TO

02:05PM   14      CMS AND FDA, AS I SAID BEFORE, IN SEPTEMBER OF 2018, AND WE'VE

02:05PM   15      MET AND CONFERRED FOR MONTHS, AND MONTHS, AND MONTHS AND NOW WE

02:05PM   16      ARE TRYING TO FRAME THE ISSUES BEFORE THE COURT IF WE HAVE TO

02:05PM   17      GO TO THE MOTION.

02:05PM   18            IT'S ONE THING AFTER ANOTHER.    I CAN TELL YOU THESE THIRD

02:05PM   19      PARTIES, THESE BILLIONAIRES AND OTHERS, NOT SURPRISINGLY, THEY

02:05PM   20      REALLY DON'T WANT TO HAVE ANYTHING TO DO WITH THIS CASE.      THEY

02:05PM   21      HAVE BIG LAW FIRMS REPRESENTING THEM.      IT'S NOT THAT WE'RE

02:05PM   22      POWERLESS, YOUR HONOR.    WE UNDERSTAND WE CAN PUT OUR FOOT DOWN.

02:06PM   23      WE HAVE IN SOME INSTANCES.     IT'S VERY DIFFICULT, AND AS WE HAVE

02:06PM   24      SAID, WE HAVE RUN INTO NOTHING BUT OBSTACLES.

02:06PM   25            IN ADDITION, AS WE SAID IN THE STATUS REPORT, WE LEARNED



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02:06PM    1      THAT THE S.E.C. HAD DOCUMENTS FROM SOME AGENCIES FOR A COUPLE

02:06PM    2      OF YEARS, AND, YOU KNOW, HAD NOT PRODUCED THEM INITIALLY AND

02:06PM    3      THEN WE FINALLY DID GET THEM.

02:06PM    4            I'VE WRITTEN THREE LETTERS, YOUR HONOR, TO COUNSEL FOR THE

02:06PM    5      S.E.C. SAYING CAN YOU PLEASE CONFIRM THAT YOU HAVE EVERY

02:06PM    6      DOCUMENT THAT YOU HAVE FROM THIRD PARTIES AND THAT'S

02:06PM    7      DISCOVERABLE, AND I HAVE NEVER GOTTEN A RESPONSE TO ANY OF THE

02:06PM    8      PARTIES ON THAT POINT.

02:06PM    9            I UNDERSTAND COUNSEL FOR THE S.E.C. IS BUSY AND THEY HAVE

02:06PM   10      A LOT OF CASES, BUT THE POSTURE OF THIS CASE RIGHT NOW, I

02:06PM   11      THINK, FULLY WARRANTS A LONGER EXTENSION THAN THE THREE MONTHS,

02:06PM   12      AND I THINK THAT WILL MAKE DISCOVERY EFFICIENT.

02:06PM   13            AGAIN, THE COURT CAN RULE ON THE OTHER ISSUE ON JUNE 10TH.

02:06PM   14                  MS. LAMARCA:   WE DON'T HAVE ANYTHING FURTHER.    WE

02:06PM   15      DISAGREE WITH COUNSEL'S REPRESENTATIONS ABOUT DISCOVERY IN THIS

02:06PM   16      CASE SO FAR.

02:06PM   17                  THE COURT:   OKAY.    THANK YOU.   ANYONE ELSE WISH TO

02:06PM   18      BE HEARD ON THIS?    ALL RIGHT.    THANK YOU VERY MUCH.

02:06PM   19            WELL, I APPRECIATE YOUR RECOGNIZING ASPIRATIONAL GOALS BUT

02:07PM   20      A YEAR, THAT'S A BRIDGE TOO FAR, AS I'VE SAID.       SO 90 DAYS

02:07PM   21      SOUNDS REASONABLE TO ME, BUT I'LL MAKE IT 120 DAYS.       I KNOW

02:07PM   22      THAT'S NOT EXACTLY WHAT YOU WANT, BUT WE'LL MAKE IT 120 DAYS

02:07PM   23      AND THEN WE'LL HOPEFULLY -- WELL, WE'LL SEE EACH OTHER JULY

02:07PM   24      1ST, AND BY THEN WE'LL HAVE SOME KNOWLEDGE AS TO THE JUNE 10TH

02:07PM   25      MOTION AS WELL AND THAT WILL BE HELPFUL AS WELL.



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02:07PM    1                  MR. COOPERSMITH:     JULY 1ST, YOUR HONOR?

02:07PM    2                  THE COURT:    YES.   JULY 1ST WILL BE OUR NEXT STATUS

02:07PM    3      CONFERENCE, JULY 1ST, JULY 1ST, AND THAT WILL BE AT 1:30.           I

02:07PM    4      WILL EXCLUDE TIME AS TO EACH DEFENDANT IN EACH CASE TO ALLOW

02:07PM    5      FOR EFFECTIVE REPRESENTATION, AND THERE'S OTHER TERABYTES AND

02:07PM    6      OTHER DISCOVERY THAT YOU HAVE TALKED ABOUT TODAY THAT COUNSEL

02:07PM    7      HAS INDICATED THEY NEED TO REVIEW.

02:07PM    8            ANY OBJECTION TO THE COURT EXCLUDING TIME ON THAT BASIS?

02:07PM    9                  MR. DOWNEY:   NO OBJECTION FOR MS. HOLMES.

02:08PM   10                  MR. COOPERSMITH:     NO OBJECTION FOR MR. BALWANI.

02:08PM   11                  THE COURT:    ALL RIGHT.   TIME IS EXCLUDED, AND WE'LL

02:08PM   12      SEE EVERYONE BACK ON THAT DATE.

02:08PM   13            ANYTHING FURTHER BEFORE WE END TODAY?

02:08PM   14                  MR. COOPERSMITH:     ONE QUICK THING, YOUR HONOR.

02:08PM   15                  THE COURT:    YES.

02:08PM   16                  MR. COOPERSMITH:     UNTIL THE JUNE 10TH MOTION IS

02:08PM   17      HEARD AND THE COURT RULES ON THAT, THERE'S NO STAY IN EFFECT?

02:08PM   18                  THE COURT:    YES, THAT'S CORRECT.     THANK YOU VERY

02:08PM   19      MUCH.   WE'LL SEE YOU SOON.

          20            (COURT CONCLUDED AT 2:08 P.M.)

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 1

 2

 3                            CERTIFICATE OF REPORTER

 4

 5

 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8      STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9      280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10      CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                  ______________________________
16                                IRENE RODRIGUEZ, CSR, RMR, CRR
                                  CERTIFICATE NUMBER 8074
17

18
                                  DATED:   APRIL 25, 2019
19

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              EXHIBIT B
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 1                          UNITED STATES DISTRICT COURT

 2                         NORTHERN DISTRICT OF CALIFORNIA

 3                                SAN JOSE DIVISION

 4
         UNITED STATES OF AMERICA,            )   CR-18-00258-EJD &
 5                                            )   CV-18-01603-EJD
                            PLAINTIFF,        )
 6                                            )
                     VS.                      )   SAN JOSE, CALIFORNIA
 7                                            )
         ELIZABETH A. HOLMES AND RAMESH       )   JUNE 28, 2019
 8       SUNNY BALWANI,                       )
                                              )   PAGES 1 - 71
 9                          DEFENDANTS.       )
                                              )
10                                            )
         SECURITIES AND EXCHANGE              )
11       COMMISSION,                          )
                                              )
12                          PLAINTIFF,        )
                                              )
13                   VS.                      )
                                              )
14       RAMESH SUNNY BALWANI,                )
                                              )
15                        DEFENDANT.          )
         ______________________________       )
16
                            TRANSCRIPT OF PROCEEDINGS
17                    BEFORE THE HONORABLE EDWARD J. DAVILA
                           UNITED STATES DISTRICT JUDGE
18
        A P P E A R A N C E S:
19
        FOR THE PLAINTIFF:      UNITED STATES ATTORNEY'S OFFICE
20                              BY: JOHN BOSTIC
                                     ROBERT LEACH
21                                   JEFFREY SCHENK
                                150 ALMADEN BOULEVARD, SUITE 900
22                              SAN JOSE, CALIFORNIA 95113
             (APPEARANCES CONTINUED ON THE NEXT PAGE.)
23      OFFICIAL COURT REPORTER:
                                IRENE L. RODRIGUEZ, CSR, RMR, CRR
24                              CERTIFICATE NUMBER 8074

25            PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                    TRANSCRIPT PRODUCED WITH COMPUTER


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 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:     WILLIAMS & CONNOLLY LLP
                                  BY: KEVIN M. DOWNEY
 4                                     LANCE WADE
                                  725 TWELFTH STREET, N.W.
 5                                WASHINGTON, D.C. 20005

 6                                LAW OFFICE OF JOHN D. CLINE
                                  BY: JOHN D. CLINE
 7                                ONE EMBARCADERO CENTER, SUITE 500
                                  SAN FRANCISCO, CALIFORNIA 94111
 8
        FOR DEFENDANT BALWANI: DAVIS, WRIGHT & TREMAINE LLP
 9                             BY: STEPHEN CAZARES
                               505 MONTGOMERY STREET, SUITE 800
10                             SAN FRANCISCO, CALIFORNIA 94111

11                                CORR CRONIN LLP
                                  BY: STEVEN FOGG
12                                1001 FOURTH AVENUE, SUITE 3900
                                  SEATTLE, WASHINGTON 98154
13
        FOR THE S.E.C.:           UNITED STATES SECURITIES AND EXCHANGE
14                                COMMISSION
                                  BY: SUSAN F. LAMARCA
15                                     MARC D. KATZ
                                  44 MONTGOMERY STREET, SUITE 2600
16                                SAN FRANCISCO, CALIFORNIA 94104

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           1      SAN JOSE, CALIFORNIA                                   JUNE 28, 2019

           2                               P R O C E E D I N G S

10:05AM    3            (COURT CONVENED AT 10:05 A.M.)

10:05AM    4            (COURT CONVENED AT 10:05 A.M.)

10:05AM    5                  THE COURT:    THIS IS 18-258, UNITED STATES VERSUS

10:05AM    6      ELIZABETH HOLMES AND UNITED STATES VERSUS RAMESH SUNNY BALWANI.

10:05AM    7            THERE'S A COMPANION CASE 18-1603 WHICH IS THE S.E.C. CASE,

10:06AM    8      AND WE'LL TURN TO THAT IN JUST A MOMENT.

10:06AM    9            MAY I HAVE THE APPEARANCES, PLEASE.

10:06AM   10                  MR. BOSTIC:    GOOD MORNING, YOUR HONOR.     JOHN BOSTIC,

10:06AM   11      JEFF SCHENK, AND BOB LEACH FOR THE UNITED STATES.

10:06AM   12                  THE COURT:    THANK YOU.   GOOD MORNING.

10:06AM   13                  MR. DOWNEY:    GOOD MORNING, YOUR HONOR.     KEVIN DOWNEY

10:06AM   14      FROM WILLIAMS & CONNOLLY FOR MS. HOLMES AND WITH ME ARE

10:06AM   15      PARTNER, LANCE WADE, AND OUR CO-COUNSEL, JOHN CLINE.

10:06AM   16                  THE COURT:    THANK YOU.   GOOD MORNING.

10:06AM   17                  MR. CAZARES:    GOOD MORNING, YOUR HONOR.

10:06AM   18      STEPHEN CAZARES FOR MR. BALWANI.       WITH ME IS MR. STEVEN FOGG

10:06AM   19      WHO ALSO REPRESENTS MR. BALWANI.

10:06AM   20                  THE COURT:    THANK YOU.   GOOD MORNING.

10:06AM   21            LET ME JUST THANK COUNSEL FOR -- WE DID RESCHEDULE THIS TO

10:06AM   22      THIS MORNING FROM -- I ADVANCED IT FROM MONDAY, AND LET ME

10:06AM   23      THANK YOU FOR THAT COURTESY.

10:06AM   24            WELL, TODAY WE HAVE A MOTION TO COMPEL REGARDING DISCOVERY

10:06AM   25      MATTERS.   WE HAD SOME DISCUSSIONS ABOUT DISCOVERY WHEN WE WERE



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10:06AM    1      LAST IN COURT AND THERE WAS SOME REPRESENTATIONS MADE.

10:06AM    2            I SUPPOSE -- LET ME INDICATE WHAT I HAVE REVIEWED HERE.      I

10:06AM    3      HAVE REVIEWED YOUR PLEADINGS IN THIS CASE WHICH INCLUDE

10:07AM    4      DOCUMENT 67, WHICH IS THE MOTION TO COMPEL; DOCUMENT 79, WHICH

10:07AM    5      IS THE GOVERNMENT'S OPPOSITION; DOCUMENT 81, WHICH IS THE

10:07AM    6      REPLY, DEFENSE REPLY, AND ALL OF THE ATTACHMENTS THERETO;

10:07AM    7      DOCUMENT 82 IS MR. BALWANI'S REPLY; DOCUMENT 81-1 IS THE

10:07AM    8      DECLARATION OF MR. WADE IN FURTHER SUPPORT OF THE MOTION TO

10:07AM    9      COMPEL.

10:07AM   10            I'VE LOOKED ALSO AT THE JOINDER FILED BY MR. BALWANI AND

10:07AM   11      THAT WAS DOCUMENT 68; AND DOCUMENT 88, FINALLY, IS THE JOINT

10:07AM   12      SUPPLEMENTAL CASE MANAGEMENT STATEMENT; AND DOCUMENT 80 IS THE

10:07AM   13      JOINT STATEMENT.

10:07AM   14            HAVE I LEFT ANYTHING OUT THAT EITHER PARTY WANTS TO DRAW

10:07AM   15      MY ATTENTION TO?

10:07AM   16                  MR. BOSTIC:   NO, YOUR HONOR, NOT FOR THE GOVERNMENT.

10:07AM   17      THANK YOU VERY MUCH.

10:07AM   18                  THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

10:08AM   19            WELL, WHY DON'T I GET AN UPDATE, IF I MAY AS TO -- PARDON

10:08AM   20      ME.   BEFORE WE DO THAT, I DO WANT TO DO ONE THING.      I'D LIKE TO

10:08AM   21      SET THE CASE FOR TRIAL.     SO WHY DON'T WE GET OUR CALENDARS OUT

10:08AM   22      AND LET'S LOOK AND SEE WHAT WOULD BE APPROPRIATE FOR THAT.

10:08AM   23            I DID READ IN YOUR STATEMENTS THAT YOU'RE SUGGESTING

10:08AM   24      SEPTEMBER OF NEXT YEAR AS A DATE FOR TRIAL.        I APPRECIATE THAT

10:08AM   25      OFFER.



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10:08AM    1            I'M GOING TO SUGGEST SOMETHING DIFFERENT.       THE THOUGHT

10:08AM    2      OCCURS TO ME THAT THE TIME TO SECURE A JURY BEGINNING IN

10:08AM    3      SEPTEMBER FOR THE DURATION THAT YOU'VE INDICATED, I THINK YOU

10:08AM    4      SAID 90 DAYS, 3 MONTHS, PUTS US PERILOUSLY CLOSE TO THE HOLIDAY

10:08AM    5      SEASON.    MY SENSE IS THAT THERE WILL BE PROBABLY SOME

10:08AM    6      DIFFICULTY TO SECURE JURORS WHO WOULD HAVE TIME AND BE CONFLICT

10:08AM    7      FREE AS WE APPROACH THAT HOLIDAY SEASON.      I THINK THAT'S

10:09AM    8      PERHAPS NOT A GOOD PATH TO TAKE.

10:09AM    9            I'M GOING TO SUGGEST SOMETHING ELSE.     I UNDERSTAND THAT

10:09AM   10      YOU NEED SOME TIME TO ACCOMPLISH THIS, WHAT YOU NEED TO DO.

10:09AM   11            MY THOUGHT WAS THAT WE, AND LET ME START WITH THE

10:09AM   12      AMBITIOUS DATE, PERHAPS WE COULD, PERHAPS WE COULD ENGAGE JURY

10:09AM   13      SELECTION SOME TIME THE END OF JUNE AND TAKE A BREAK AFTER WE

10:09AM   14      DO THAT.   THAT MIGHT TAKE A COUPLE OF DAYS.        WE CAN BEGIN THE

10:09AM   15      TRIAL SOME TIME, THAT IS, EVIDENCE BEGINS SOME TIME IN JULY.

10:09AM   16      FOR EXAMPLE, WE COULD BEGIN THE TRIAL SOME TIME ON JULY 7TH,

10:09AM   17      JULY 14TH, AND GO FORWARD.

10:09AM   18            RESTRAIN YOUR ENTHUSIASM, PLEASE.

10:10AM   19            (LAUGHTER.)

10:10AM   20                  THE COURT:   LET ME ALSO SUGGEST THEN, GOING FORWARD,

10:10AM   21      WE COULD LOOK -- I'M ALSO LOOKING AT PERHAPS JULY 14TH FOR JURY

10:10AM   22      SELECTION, THE WEEK OF JULY 14TH FOR JURY SELECTION.

10:10AM   23            WE COULD TAKE THE FOLLOWING WEEK OFF, WHICH IS THE 20TH,

10:10AM   24      AND THEN PERHAPS ENGAGE EVIDENCE ON THE 28TH, 29TH, THAT WEEK.

10:10AM   25            IF THAT DOESN'T WORK, I'M GIVING YOU SO MANY OUTS HERE, WE



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10:10AM    1      COULD -- I THINK THE 28TH WE COULD, AS I SAID, BEGIN JURY

10:10AM    2      SELECTION AND THEN START EVIDENCE ON THE 4TH OF AUGUST.       I

10:10AM    3      THINK THAT'S -- THAT'S BASICALLY THAT LATTER IS PUSHING IT --

10:10AM    4      ADVANCING US ABOUT A MONTH, BUT I AM -- I DO HAVE SOME CONCERN

10:10AM    5      ABOUT GOING INTO THE HOLIDAY SEASON.     PERHAPS YOU HAVE HOLIDAY

10:10AM    6      PLANS AS WELL.

10:11AM    7                  MR. SCHENK:   YOUR HONOR, FROM THE GOVERNMENT'S

10:11AM    8      PERSPECTIVE THE GOVERNMENT IS PREPARED TO TRY THE CASE AT THE

10:11AM    9      CONVENIENCE OF THE COURT.

10:11AM   10            WHEN WE WERE LAST BEFORE YOUR HONOR IN APRIL, THE

10:11AM   11      GOVERNMENT ASKED THE COURT TO SET THE MATTER FOR TRIAL THEN

10:11AM   12      RECOGNIZING THAT DISCOVERY WAS VOLUMINOUS AND THE DEFENSE WOULD

10:11AM   13      NEED A SIGNIFICANT AMOUNT OF TIME TO PREPARE.

10:11AM   14            WE ASKED THE COURT TO SET A TRIAL DATE EVEN A YEAR FROM

10:11AM   15      THAT.   SO AT THAT TIME WE PROPOSED ROUGHLY APRIL OF 2020.

10:11AM   16            SINCE THEN WE HAD A MEET AND CONFER WITH THE DEFENSE AND

10:11AM   17      IN PARTICULAR COUNSEL FOR MS. HOLMES DESCRIBED TO US THE AMOUNT

10:11AM   18      OF WORK THAT THEY HAD LEFT TO DO TO PREPARE FOR TRIAL, AND IT

10:11AM   19      WAS KIND OF WITH THAT UNDERSTANDING THAT IN ORDER TO PREPARE

10:11AM   20      THEY FELT APRIL WAS REALLY TOO SOON.

10:11AM   21            SO I THINK THE COURT HAS GIVEN US ALL FINE SUGGESTIONS

10:11AM   22      FROM THE GOVERNMENT'S PERSPECTIVE, AND WE WOULD LEAVE IT UP TO

10:11AM   23      THE DEFENSE TO HEAR IF ONE OF THOSE DATES IS A POINT AT WHICH

10:11AM   24      THEY WOULD BE PREPARED TO BEGIN THE TRIAL.

10:11AM   25            BUT FROM THE GOVERNMENT'S PERSPECTIVE WE THINK THAT WE



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10:11AM    1      WILL BE ABLE TO BEGIN AT ANY OF THOSE DATES.

10:12AM    2            I WOULD ALSO ASK, THOUGH, THAT -- AND I'M SURE THIS IS

10:12AM    3      WHAT THE COURT MEANT -- THAT THIS IS A FIRM TRIAL DATE.       WE'RE

10:12AM    4      NOT GOING TO BE COMING BACK BEFORE YOUR HONOR IN APRIL OF 2020

10:12AM    5      AND SAYING WE NOW NEED SOME ADDITIONAL TIME.        WE'RE GOING TO

10:12AM    6      HAVE SIGNIFICANT SUBPOENAS TO SERVE IN THE CASE, MANY CIVILIAN

10:12AM    7      WITNESSES, AND THERE'S REAL VALUE TO HAVING FIRM TRIAL DATES.

10:12AM    8      SO WHEN WE ASK WITNESSES TO CLEAR THEIR SCHEDULES AND TO BE

10:12AM    9      AVAILABLE FOR COURT, THAT IS A ONE-TIME REQUEST AND WE CAN SAY

10:12AM   10      IT WITH SOME LEVEL OF CERTAINTY, AND I APPRECIATE I'M SURE

10:12AM   11      THAT'S WHAT THE COURT MEANT WHEN IT WAS OFFERING THESE DATES.

10:12AM   12                  THE COURT:    WELL, THANK YOU, MS. SCHENK.    THAT IS

10:12AM   13      WHAT I MEAN.     YOU'RE ASKING ME TO SET ASIDE THREE MONTHS OF

10:12AM   14      COURT TIME FOR THIS CASE, AND BOTH SIDES ARE ENTITLED TO THAT.

10:12AM   15            I'LL DO THAT.   I'LL DO THAT.

10:12AM   16            OF COURSE, YOU KNOW THE BUSINESS OF FEDERAL COURTS.      I

10:12AM   17      NEED TO DISAPPOINT OTHER COURT USERS FOR THAT TIME PERIOD.          SO

10:12AM   18      I DO WANT TO SECURE FIRM TRIAL DATES THAT GIVES EVERYONE HERE A

10:13AM   19      FIRM EVENT HORIZON TO FOCUS ON SUCH THAT THERE WON'T BE ANY

10:13AM   20      CHANGES TO THAT.

10:13AM   21            COUNSEL.

10:13AM   22                  MR. DOWNEY:   YOUR HONOR, I WOULD SAY WE SHARE -- WE

10:13AM   23      UNDERSTAND THE SITUATION, WE UNDERSTAND THE NEED TO SET A DATE

10:13AM   24      GIVEN THE LENGTH OF THE TRIAL.

10:13AM   25            I WOULD SAY OF THE DATES THAT YOU HAVE SUGGESTED, WE WOULD



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10:13AM    1      SUGGEST COMMENCING WITH SELECTION ON THE 28TH OF JULY.

10:13AM    2                  THE COURT:    EXPERIENCED DEFENSE COUNSEL ALWAYS LOOKS

10:13AM    3      TO THE LATTER DATE.      NO CRITICISM INVOLVED.

10:13AM    4            WHEN I WAS PRACTICING, THAT WAS SOMETHING THAT I

10:13AM    5      OCCASIONALLY DID AS WELL.

10:13AM    6                  MR. DOWNEY:    NO, I UNDERSTAND.   AND I ONLY WANT TO

10:13AM    7      SAY, BECAUSE THESE ISSUES ARE NOT BEFORE THE COURT TODAY, OUR

10:13AM    8      CONCERN IS NOT REALLY ABOUT THE DATE AS AN ABSTRACTION.

10:13AM    9            OUR CONCERN IS THAT THERE ARE ANY NUMBER OF ISSUES IN

10:13AM   10      TERMS OF THE GOVERNMENT'S RULE 26 COMPLIANCE THAT ARE STILL

10:13AM   11      OUTSTANDING.

10:13AM   12            WE ARE CONTINUING TO GET LARGE VOLUMES OF MATERIAL FROM

10:14AM   13      THE GOVERNMENT SO I THINK --

10:14AM   14                  THE COURT:    WELL, THAT'S THE PROVERB, YOU ASK AND

10:14AM   15      YOU SHALL RECEIVE.    IT'S NOT A PROVERB BUT SOMEONE SAID THAT

10:14AM   16      ONCE.   SO, YOU KNOW, YOU ASK FOR IT, YOU GET IT, AND THEN OF

10:14AM   17      COURSE YOU HAVE TO DIGEST IT.     SO I APPRECIATE THAT.   THERE'S

10:14AM   18      VOLUMINOUS DISCOVERY HERE.

10:14AM   19            I THINK IF WE SET, AND THAT WAS MY THOUGHT, AND I'M SORRY

10:14AM   20      TO INTERRUPT YOU, BUT MY THOUGHT WAS THE FIRST THING WE DO IS

10:14AM   21      LET'S SET A TRIAL DATE THAT WE CAN ALL FOCUS ON AND THEN YOU

10:14AM   22      CAN ADJUST YOUR WORK SCHEDULES ACCORDINGLY, THE PRODUCTION, AND

10:14AM   23      I'M GOING TO TALK ABOUT THAT IN A MOMENT.

10:14AM   24            JUST TO ADVANCE THAT CONVERSATION, I'LL PROBABLY BE

10:14AM   25      TELLING THE GOVERNMENT, YOU NEED TO TELL THESE FOLKS TO RAMP IT



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10:14AM    1      UP BECAUSE WE NOW HAVE A TRIAL DATE.

10:14AM    2                  MR. DOWNEY:    YEAH.   AND I EXPECT, YOUR HONOR, THAT

10:14AM    3      WE'LL BE ABLE TO WORK WITH THE GOVERNMENT AND EITHER AGREE ON

10:14AM    4      OR COME CLOSE TO AGREEING ON A PROPOSED SCHEDULE THAT CONFORMS

10:14AM    5      WITH THE TRIAL DATE.

10:14AM    6            AND I WOULD SAY WE'LL LIKELY BE ASKING THE COURT TO BE

10:14AM    7      ATTENTIVE TO THAT RULE 16 CUTOFF.

10:14AM    8                  THE COURT:    SURE.    OKAY.

10:14AM    9                  MR. DOWNEY:    THANK YOU, YOUR HONOR.

10:15AM   10                  THE COURT:    LET ME ASK YOUR COLLEAGUES.

10:15AM   11                  MR. CAZARES:    YOUR HONOR, MR. BALWANI AGREES WITH

10:15AM   12      MR. DOWNEY THAT AUGUST IS LIKELY BETTER, LESS FOR OUR SCHEDULE,

10:15AM   13      BUT ALSO I'VE TRIED CASES IN THE SUMMER TIME AND JURORS ALSO

10:15AM   14      HAVE VACATION PLANS.      JULY TENDS TO BE VERY DIFFICULT TO SECURE

10:15AM   15      A LONG-TERM VOIR DIRE IN FEDERAL COURT.

10:15AM   16            SO I WOULD CONCUR THAT AUGUST MAKES SENSE.     IF WE START ON

10:15AM   17      THE 28TH, THAT WOULD AT LEAST AVOID SOME OF THE JUROR VACATION

10:15AM   18      ISSUES THAT OFTEN COME UP.

10:15AM   19                  THE COURT:    I'M SORRY.   WHEN YOU SAY, "START," ARE

10:15AM   20      YOU SUGGESTING START EVIDENCE OR START THE JURY SELECTION?

10:15AM   21                  MR. CAZARES:    I THINK TO THE EXTENT THAT WE START

10:15AM   22      THE JURY SELECTION AT THE END OF JULY, I DON'T THINK -- I THINK

10:15AM   23      THAT WOULD LIKELY AVOID MOST JUROR VACATION ISSUES.      I THINK

10:15AM   24      THAT'S THE GOAL IN SOME WAYS, TRY TO AVOID THEIR HOLIDAY

10:15AM   25      VACATIONS AND TRY TO AVOID MAYBE SOME OF THEIR SUMMER VACATIONS



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10:15AM    1      AND PLANT THE TRIAL SOMEWHERE RIGHT IN BETWEEN.

10:15AM    2                    THE COURT:    MS. SCHENK?

10:15AM    3                    MR. SCHENK:    THAT IS FINE WITH THE GOVERNMENT.      AS I

10:15AM    4      UNDERSTAND IT JULY 28TH IS JURY SELECTION?

10:15AM    5                    THE COURT:    RIGHT, THAT IS THE DATE THAT I WAS

10:16AM    6      PROPOSING JULY 28TH.        MY SENSE IS THAT WE'LL PROBABLY BLEED

10:16AM    7      INTO THE 29TH.

10:16AM    8            BUT WE'LL DO JURY SELECTION THAT WEEK.           THERE WON'T BE ANY

10:16AM    9      RECEIPT OF EVIDENCE OR OPENING STATEMENTS UNTIL THE FOLLOWING

10:16AM   10      WEEK.

10:16AM   11            EVIDENCE AND OPENING STATEMENTS WILL BEGIN AUGUST 4TH,

10:16AM   12      AUGUST 4TH.

10:16AM   13            IS THAT AGREEABLE?

10:16AM   14                    MR. SCHENK:    YES.

10:16AM   15                    MR. DOWNEY:    YES, YOUR HONOR.

10:16AM   16                    MR. CAZARES:    YES, YOUR HONOR.

10:16AM   17                    THE COURT:    ALL RIGHT.    THANK YOU.    THEN WE'VE GOT

10:16AM   18      OUR TRIAL DATE SET.

10:16AM   19            I WON'T SET A PRETRIAL CONFERENCE DATE YET.          WHAT I'D LIKE

10:16AM   20      TO DO IS HAVE OUR CONVERSATION ABOUT DISCOVERY, AND THEN IF I

10:16AM   21      SET AN INTERIM STATUS DATE, AT WHICH POINT I'LL THEN SET AN

10:16AM   22      INTERIM STATUS CONFERENCE DATE DEPENDING ON THE DISCOVERY AS

10:16AM   23      YOU SUGGESTED.

10:16AM   24            OKAY.    MADAM CLERK, LET'S RESERVE THAT TIME FOR TRIAL IN

10:16AM   25      THIS MATTER.     I THINK COUNSEL SAID THREE MONTHS?



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11:34AM    1      RESOLVE ANY DISPUTES THAT WE MAY HAVE.

11:34AM    2                  THE COURT:    THAT'S HELPFUL.    THANK YOU FOR THAT.

11:34AM    3      THAT WOULD BE HELPFUL.

11:34AM    4                  MR. BOSTIC:   ARE WE TALKING ABOUT A PROPOSED

11:34AM    5      PRETRIAL CALENDAR?

11:34AM    6                  MR. WADE:    YES.

11:34AM    7                  MR. BOSTIC:   I THINK THAT'S A GOOD IDEA.

11:34AM    8                  THE COURT:    OKAY.    THANK YOU.    I APPRECIATE YOU

11:34AM    9      ADVANCING THAT.    ALSO, AFTER YOU HAVE YOUR MEET AND CONFER, AND

11:35AM   10      I ANTICIPATE IT'S GOING TO BE JUST EMINENTLY SUCCESSFUL, SHOULD

11:35AM   11      YOU NEED TO ADJUST THE 17TH, THAT IS, TO MOVE IT TO TAKE IT OFF

11:35AM   12      CALENDAR BECAUSE EVERYONE IS SATISFIED, JUST LET MS. KRATZMANN

11:35AM   13      KNOW AND WE CAN MAKE ANY ADJUSTMENTS THAT WE NEED ON THAT.

11:35AM   14      THAT'S ALWAYS OPEN.

11:35AM   15                  MR. WADE:    OPTIMISM SPRINGS ETERNAL, YOUR HONOR.

11:35AM   16                  THE COURT:    IT DOES.    IT DOES.   EVEN BOSTON WINS A

11:35AM   17      WORLD SERIES NOW AND THEN.        ANYTHING CAN HAPPEN.   ANYTHING

11:35AM   18      FURTHER?

11:35AM   19                  MR. BOSTIC:   JUST ONE HOUSEKEEPING MATTER.

11:35AM   20                  THE COURT:    YES.

11:35AM   21                  MR. BOSTIC:   I BELIEVE, OF COURSE, THE PARTIES ARE

11:35AM   22      EACH CONTINUING THEIR INVESTIGATIONS AND REVIEW OF DISCOVERY.

11:35AM   23      IT MIGHT BE APPROPRIATE TO EXCLUDE TIME THROUGH THE TRIAL DATE.

11:35AM   24                  THE COURT:    THANK YOU.    I WAS GOING TO DO THAT.     WE

11:35AM   25      HAVE A TRIAL DATE SET.     IT'S THE COURT'S INTENT THEN, BASED ON



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11:35AM    1      OUR DISCUSSION HERE, AND WE'RE ONLY AT DISCOVERY, BUT I WILL

11:36AM    2      EXCLUDE TIME TO ALLOW FOR EFFECTIVE PREPARATION OF COUNSEL.

11:36AM    3      TIME IS EXCLUDED TO OUR TRIAL DATE FOR BOTH DEFENDANTS IN THIS

11:36AM    4      MATTER.

11:36AM    5            ALL RIGHT.   THANK YOU VERY MUCH.

11:36AM    6                   MR. BOSTIC:    THANK YOU, YOUR HONOR.

11:36AM    7                   MR. WADE:    THANK YOU, YOUR HONOR.

11:36AM    8                   MR. CAZARES:   THANK YOU.

11:36AM    9                   THE COURT:    AND WE HAVE AN S.E.C. CASE.    SHOULD WE

11:36AM   10      CALL THAT NOW BEFORE EVERYONE LEAVES?

11:36AM   11                   MS. LAMARCA:   SURE.

11:36AM   12                   THE COURT:    THANK YOU FOR YOUR PATIENCE.

11:36AM   13                   MS. LAMARCA:   SUSAN LAMARCA WITH THE S.E.C.

11:36AM   14                   THE COURT:    THANK YOU.   GOOD MORNING.

11:36AM   15                   MR. KATZ:    GOOD MORNING, YOUR HONOR.     MARC KATZ FOR

11:36AM   16      THE S.E.C.

11:36AM   17                   THE COURT:    THANK YOU.   NICE TO SEE YOU AGAIN.

11:36AM   18                   MR. CAZARES:   GOOD MORNING AGAIN, YOUR HONOR,

11:36AM   19      STEPHEN CAZARES FOR THE MR. BALWANI.

11:36AM   20                   THE COURT:    THANK YOU.   GOOD MORNING.   SO WHAT

11:36AM   21      SHOULD WE DO IN THIS CASE?

11:36AM   22                   MS. LAMARCA:   I THINK THE ONLY MATTER THAT WE HAVE

11:36AM   23      IN OUR JOINT STATEMENT WAS THE CONFIRMATION OF DATES THAT WE

11:36AM   24      AGREED COULD BE PUSHED OUT ANOTHER I THINK IT WAS 120 DAYS THE

11:36AM   25      COURT SET FOR THE CUTOFF OF REGULAR DISCOVERY, AND WE CAN HAD



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11:36AM    1      HAD A LATTER EXPERT DISCOVERY DATE AND SO WE WANTED TO MAKE

11:36AM    2      SURE THAT THE COURT WENT AHEAD AND ORDERED THAT DATE.

11:36AM    3                  MR. CAZARES:    THAT'S ACCEPTABLE, YOUR HONOR, YES.

11:37AM    4                  MS. LAMARCA:    GREAT.   THANK YOU, YOUR HONOR.

11:37AM    5                  THE COURT:    THANK YOU VERY MUCH.       GOOD SEEING YOU

11:37AM    6      ALL.    THANK YOU.

11:37AM    7                  MR. DOWNEY:    THANK YOU, YOUR HONOR.

11:37AM    8                  THE CLERK:    COURT IS ADJOURNED.

11:37AM    9             (COURT CONCLUDED AT 11:37 A.M.)

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 1

 2

 3                            CERTIFICATE OF REPORTER

 4

 5

 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8      STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9      280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10      CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                  ______________________________
16                                IRENE RODRIGUEZ, CSR, RMR, CRR
                                  CERTIFICATE NUMBER 8074
17

18
                                  DATED:   JULY 2, 2019
19

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21

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23

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                      EXHIBIT C
                   NOTICE OF MANUAL FILING
Regarding: EXHIBIT C – Under Seal Document
      This filing is in paper or physical form only, and is being maintained in the
case file in the Clerk’s office. If you are a participant on this case, this filing will
be served in hard-copy shortly. For information on retrieving this filing directly
from the court, please see the court’s main web site at
http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).
      The filing was not e-filed for the following reasons:
                    EXHIBIT C – Under Seal Document
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                      EXHIBIT D
                   NOTICE OF MANUAL FILING
Regarding: EXHIBIT D – Under Seal Document
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case file in the Clerk’s office. If you are a participant on this case, this filing will
be served in hard-copy shortly. For information on retrieving this filing directly
from the court, please see the court’s main web site at
http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).
      The filing was not e-filed for the following reasons:
                    EXHIBIT D – Under Seal Document
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              EXHIBIT E
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 1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,            )   CR-18-00258-EJD
 6                                            )
                            PLAINTIFF,        )
 7                                            )   SAN JOSE, CALIFORNIA
                     VS.                      )
 8                                            )   APRIL 15, 2020
         ELIZABETH A. HOLMES,                 )
 9                                            )   PAGES 1 - 34
                            DEFENDANT.        )
10                                   __       )

11

12                     TRANSCRIPT OF TELEPHONIC PROCEEDINGS
                      BEFORE THE HONORABLE EDWARD J. DAVILA
13                         UNITED STATES DISTRICT JUDGE

14
        A P P E A R A N C E S (TELEPHONICALLY):
15
        FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
16                                BY: JOHN C. BOSTIC
                                       JEFFREY B. SCHENK
17                                150 ALMADEN BOULEVARD, SUITE 900
                                  SAN JOSE, CALIFORNIA 95113
18
                                  BY:  ROBERT S. LEACH
19                                     VANESSA BAEHR-JONES
                                  1301 CLAY STREET, SUITE 340S
20                                OAKLAND, CALIFORNIA 94612

21            (APPEARANCES CONTINUED ON THE NEXT PAGE.)

22
        OFFICIAL COURT REPORTER:
23                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



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 1
        A P P E A R A N C E S (TELEPHONICALLY): (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:     WILLIAMS & CONNOLLY LLP
                                  BY: KEVIN M. DOWNEY
 4                                     LANCE A. WADE
                                  725 TWELFTH STREET, N.W.
 5                                WASHINGTON, D.C. 20005

 6                                LAW OFFICE OF JOHN D. CLINE
                                  BY: JOHN D. CLINE
 7                                ONE EMBARCADERO CENTER, SUITE 500
                                  SAN FRANCISCO, CALIFORNIA 94111
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                                                                                     3


           1      SAN JOSE, CALIFORNIA                                 APRIL 15, 2020

           2                               P R O C E E D I N G S

10:17AM    3            (COURT CONVENED AT 10:17 A.M.)

10:17AM    4                  THE COURT:    ALL RIGHT.   THANK YOU.

10:17AM    5            WELL, LET'S CALL THE CASE OF 18-258, THIS IS UNITED STATES

10:17AM    6      OF AMERICA VERSUS ELIZABETH HOLMES.      LET ME STATE AT THE OUTSET

10:17AM    7      THAT WE ARE CONDUCTING THIS HEARING BY WAY OF TELEPHONIC

10:17AM    8      HEARING.

10:17AM    9            THE COURT REFERS THE PARTIES TO GENERAL ORDER 74 FROM OUR

10:18AM   10      CHIEF JUDGE PHYLLIS HAMILTON, AND WE RECOGNIZE BECAUSE OF THE

10:18AM   11      CURRENT COVID-19 CRISIS, HEARINGS CURRENTLY CANNOT BE CONDUCTED

10:18AM   12      IN PERSON WITHOUT SERIOUSLY JEOPARDIZING PUBLIC HEALTH AND

10:18AM   13      SAFETY.

10:18AM   14            THE SAN JOSE COURTHOUSE WHERE THIS CASE IS VENUED IS

10:18AM   15      CLOSED AND WILL BE CLOSED CURRENTLY TO MAY 1, AND THAT IS

10:18AM   16      SUBJECT TO REVIEW, OF COURSE.     BUT THE COURTHOUSE IS CURRENTLY

10:18AM   17      CLOSED, AND WE ARE CONDUCTING THIS HEARING OTHERWISE

10:18AM   18      TELEPHONICALLY.

10:18AM   19            I'M GOING TO CALL FOR THE APPEARANCES OF THE PARTIES IN

10:18AM   20      JUST A MOMENT.    BUT LET ME ASK, WE ARE ON A TELEPHONIC HEARING.

10:18AM   21      I'M GOING TO ASK ALL PARTIES WHO ARE NOT SPEAKING TO PLEASE

10:18AM   22      MUTE YOUR PHONES, PLEASE MUTE YOUR PHONES, AND YOU CAN UNMUTE

10:18AM   23      THEM, OF COURSE, WHEN YOU'RE CALLED UPON TO SPEAK OR WHEN YOU

10:18AM   24      ARE SPEAKING, BUT I WOULD OTHERWISE APPRECIATE THAT.

10:19AM   25            LET'S START THEN WITH THE GOVERNMENT.      IF I COULD CAPTURE



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10:19AM    1      THE APPEARANCES FOR THE GOVERNMENT, PLEASE.

10:19AM    2                   MR. LEACH:   GOOD MORNING, YOUR HONOR.     THANK YOU.

10:19AM    3              THIS IS ROBERT LEACH ON BEHALF OF THE UNITED STATES AND

10:19AM    4      ALSO ON THE LINE ARE MY COLLEAGUES JEFF SCHENK, JOHN BOSTIC,

10:19AM    5      AND VANESSA BAEHR-JONES.

10:19AM    6                   THE COURT:   THANK YOU.   GOOD MORNING.

10:19AM    7            LET ME TURN TO THE DEFENSE.

10:19AM    8                   MR. WADE:    GOOD MORNING, YOUR HONOR.

10:19AM    9            IT'S LANCE WADE ON BEHALF OF MS. HOLMES.        WITH ME THIS

10:19AM   10      MORNING ARE KEVIN DOWNEY AND JOHN CLINE.

10:19AM   11            MS. HOLMES IS ALSO PRESENT ON THE LINE.

10:19AM   12                   THE COURT:   ALL RIGHT.   MS. HOLMES, ARE YOU THERE?

10:19AM   13                   THE DEFENDANT:   YES.   GOOD MORNING, YOUR HONOR.

10:19AM   14                   THE COURT:   THANK YOU.   GOOD MORNING.

10:19AM   15            AND, MR. WADE, DO YOU RECOGNIZE THAT VOICE AS THAT OF YOUR

10:19AM   16      CLIENT?

10:19AM   17                   MR. WADE:    I DO, YOUR HONOR.

10:20AM   18                   THE COURT:   ALL RIGHT.   THANK YOU VERY MUCH.

10:20AM   19            LET ME ALSO ADD A CAVEAT HERE, MR. WADE.        I DON'T KNOW IF

10:20AM   20      YOU HAVE ENGAGED PROTOCOLS SUCH THAT DURING THIS PROCEEDING IF

10:20AM   21      YOUR CLIENT WISHES TO SPEAK WITH YOU PRIVATELY, SHE MAY DO

10:20AM   22      THAT.    I NEGLECTED TO MENTION THAT AT OUR LAST HEARING, BUT I

10:20AM   23      WANT TO ENSURE THAT MS. HOLMES HAS THE OPPORTUNITY TO SPEAK

10:20AM   24      WITH HER DEFENSE COUNSEL DURING THESE PROCEEDINGS.

10:20AM   25            MY SENSE IS THAT SHE IS NOT SITTING NEXT TO YOU OR DOESN'T



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10:20AM    1      HAVE PROXIMITY NEXT TO YOU PHYSICALLY OR YOUR DEFENSE TEAM.

10:20AM    2                   MR. WADE:    THANK YOU, YOUR HONOR.    THAT IS CORRECT.

10:20AM    3      WE ARE NOT -- NONE OF US ARE IN CLOSE PROXIMITY TO ONE ANOTHER.

10:20AM    4      I APPRECIATE THE COMMENTS OF THE COURT.

10:20AM    5            AS THE COURT KNOWS, MS. HOLMES'S APPEARANCE WAS WAIVED IN

10:20AM    6      THE PRIOR HEARING SO I DON'T BELIVE THAT WAS AN ISSUE NECESSARY

10:20AM    7      TO ADDRESS THEN.

10:21AM    8            FOR PURPOSES OF THIS HEARING, IF WE FIND A TIME WHERE WE

10:21AM    9      BELIEVE WE NEED TO COMMUNICATE WITH HER SEPARATELY, WE'LL NOTE

10:21AM   10      THAT FOR THE COURT AND MAYBE SEEK THE COURT'S INDULGENCE

10:21AM   11      BRIEFLY SO WE CAN DO THAT VIA A SEPARATE LINE OF COMMUNICATION.

10:21AM   12            BUT MY HOPE IS THAT WON'T BE NECESSARY THIS MORNING.

10:21AM   13                   THE COURT:   ALL RIGHT.   THANK YOU.

10:21AM   14            BUT I DO WANT YOU TO KNOW THAT I, OF COURSE, WILL AVAIL

10:21AM   15      MYSELF AND YOU OF THE OPPORTUNITY TO SPEAK WITH YOUR CLIENT.

10:21AM   16      WE'LL DO WHAT WE NEED TO DO TO ACCOMPLISH THAT.        I KNOW YOU

10:21AM   17      HAVE OTHER COUNSEL THERE.      PERHAPS -- I DON'T KNOW HOW MANY

10:21AM   18      PHONES MS. HOLMES HAS, BUT PERHAPS YOU CAN TEXT ONE ANOTHER OR

10:21AM   19      SOMETHING.

10:21AM   20            IF YOU NEED TO TAKE A BREAK, JUST LET ME KNOW, AND WE'LL

10:21AM   21      OF COURSE STOP THE PROCEEDINGS AND ALLOW YOU TO CONFER

10:21AM   22      PRIVATELY OFF THE RECORD WITH YOUR CLIENT.

10:21AM   23                   MR. WADE:    THANK YOU, YOUR HONOR.

10:21AM   24                   THE COURT:   YOU'RE WELCOME.   ALL RIGHT.

10:21AM   25            LET ME -- ANYTHING FURTHER?      ANYTHING ANYONE WISHES TO SAY



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10:21AM    1      BEFORE WE PROCEED?

10:21AM    2            ANYTHING FROM THE GOVERNMENT?

10:21AM    3            ANYTHING FROM, MR. WADE, YOUR TEAM?

10:22AM    4                   MR. LEACH:   NO, YOUR HONOR.    THIS IS ROBERT LEACH

10:22AM    5      FOR THE UNITED STATES.      THANK YOU.    NOTHING FOR THE GOVERNMENT.

10:22AM    6                   MR. WADE:    THIS IS LANCE WADE, YOUR HONOR.   NOTHING

10:22AM    7      FROM US.

10:22AM    8                   THE COURT:   ALL RIGHT.     THANK YOU.

10:22AM    9            LET ME THANK YOU FOR FILING DOCUMENT 372, WHICH IS YOUR

10:22AM   10      JOINT STATUS MEMORANDUM, AND I APPRECIATE YOUR DILIGENCE IN

10:22AM   11      WORKING TOGETHER AND GETTING THAT FILED IN THE SHORT NOTICE

10:22AM   12      THAT THE COURT GAVE YOU.      IT'S VERY HELPFUL.

10:22AM   13            WE HAVE -- OF COURSE, WE'RE LOOKING FORWARD TO THE TRIAL

10:22AM   14      OF THIS MATTER, AND WE'RE DOING THIS UNDER THE UMBRELLA OF THE

10:22AM   15      CURRENT COVID PROCESS THAT CONTINUES TO POSSESS THE NATION, AND

10:22AM   16      WE'RE TRYING OUR BEST TO ACCOMMODATE ALL MATTERS IN OUR COURTS

10:22AM   17      WITH AN EYE TOWARD MAKING SURE THAT BOTH SIDES, EVERYONE HAS

10:22AM   18      FAIR ACCESS TO THE COURTS AND A FAIR HEARING IN THE COURTS.

10:22AM   19            I HAVE YOUR SCHEDULES HERE, AND I APPRECIATE OFFERING THE

10:22AM   20      SCHEDULES.    I THINK WHAT REALLY WE NEED TO LOOK AT, AND I ENDED

10:23AM   21      OUR LAST CONVERSATION WITH THIS, WHAT IS THE REALISTIC SCHEDULE

10:23AM   22      FOR A TRIAL IN THIS MATTER?

10:23AM   23            I APPRECIATE BOTH SIDE'S EFFORTS TO AT LEAST PRESS FORWARD

10:23AM   24      TO SEE IF WE CAN HAVE THE CASE PRESENTED TO A JURY THIS YEAR.

10:23AM   25      AND AS I LOOK AT YOUR DOCUMENTS, YOU SUGGEST THAT -- BOTH SIDES



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10:23AM    1      SUGGEST OCTOBER TRIAL DATES.

10:23AM    2            MS. HOLMES, THE DEFENSE SUGGESTS AN OCTOBER 26TH DATE.

10:23AM    3      THE GOVERNMENT DATE IS, PROPOSED DATE IS ABOUT 20 DAYS BEFORE

10:23AM    4      THAT, OCTOBER 6TH.

10:23AM    5            I ALSO APPRECIATE THE FACT THAT YOU RECOGNIZE THAT WE

10:23AM    6      SHOULD HAVE AN INTERIM STATUS HEARING, WHICH I THINK IS WISE.

10:23AM    7      YOU SUGGEST A DATE IN JULY FOR THAT.     I THINK ALL OF THAT IS

10:23AM    8      APPROPRIATE.

10:24AM    9            NOW, I DO NOTE IN THE DOCUMENT IT IS SUGGESTED THAT THE

10:24AM   10      GOVERNMENT MAY SEEK, MAY SEEK A SUPERSEDING INDICTMENT FROM THE

10:24AM   11      GRAND JURY.    AS NOTED, THE GRAND JURY IS IN SUSPENSION RIGHT

10:24AM   12      NOW AND THEY'RE NOT ABLE TO PROCEED BECAUSE OF THE CLOSURE OF

10:24AM   13      OUR COURTHOUSE UNTIL MAY 1ST.     AND SO THAT REMAINS TO BE SEEN.

10:24AM   14      THAT REMAINS TO BE SEEN WHETHER OR NOT A GRAND JURY WOULD

10:24AM   15      INDEED ISSUE A SUPERSEDING INDICTMENT.     I THINK MR. WADE NOTES

10:24AM   16      THAT IN HIS PLEADINGS AS WELL.

10:24AM   17            SO I WANTED TO ASK BOTH SIDES, PLEASE, TO COMMENT ON THE

10:24AM   18      OCTOBER TRIAL DATE AS IT'S SET AND THE REALITIES OF THAT GIVEN

10:24AM   19      THE FACT THAT THE GOVERNMENT MAY SUPERSEDE, AS WELL AS LOOKING

10:24AM   20      FORWARD INTO 2021 FOR A TRIAL DATE IN EARLY 2021.      I KNOW THE

10:25AM   21      DEFENSE SUGGESTS THAT THAT IS A MORE REALISTIC DATE GIVEN NOT

10:25AM   22      JUST THE COVID SITUATION BUT THE FACT THAT THERE MIGHT BE A

10:25AM   23      SUPERSEDING INDICTMENT FILED.

10:25AM   24            MR. LEACH, YOUR TEAM WAS VERY THOROUGH IN YOUR SIDE OF

10:25AM   25      THE -- YOUR PORTION OF DOCUMENT 372, THE JOINT MEMORANDA, BUT I



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10:25AM    1      DID WANT TO GIVE YOU AN OPPORTUNITY TO SPEAK FURTHER ON THAT.

10:25AM    2      SO WHAT ARE YOUR THOUGHTS ON THIS?

10:25AM    3                  MR. LEACH:   THANK YOU, YOUR HONOR.     I APPRECIATE

10:25AM    4      THAT.   THIS IS ROBERT LEACH.

10:25AM    5            WE BELIEVE AN OCTOBER DATE IS REALISTIC REGARDLESS OF

10:25AM    6      WHETHER THE CURRENT CHARGING INSTRUMENT IS SUPERSEDED.

10:25AM    7            I WOULD NOTE THAT IT'S APRIL 15TH.     WE ARE --

10:25AM    8                  THE COURT:   YOU KNOW, LET'S -- MR. LEACH, WE'VE

10:26AM    9      PAUSED FOR A MOMENT BECAUSE THE AT&T LINE THAT WE HAVE,

10:26AM   10      REGRETTABLY, IT DOES INDICATE WHEN PEOPLE SIGN ON AND OFF, AND

10:26AM   11      WE'RE TREATED TO A LOVELY LULLABY OF BEATS.

10:26AM   12            WE'RE TRYING TO LOOK AT OTHER TECHNOLOGY THAT PERMITS US

10:26AM   13      TO ELIMINATE THAT, BUT REGRETTABLY, WE DON'T HAVE IT IN PLACE

10:26AM   14      FOR THIS HEARING.    I APOLOGIZE FOR THAT.

10:26AM   15                  MR. LEACH:   THANK YOU, YOUR HONOR.

10:26AM   16            I AM GOING TO CHOOSE TO HOPE THAT PEOPLE WERE JOINING THE

10:26AM   17      LINE RATHER THAN LEAVING THE LINE WHEN I WAS SPEAKING.

10:26AM   18            AS I WAS SAYING, IT'S APRIL 15TH TODAY.       WE ARE SIX MONTHS

10:26AM   19      AWAY FROM OCTOBER.    I DON'T THINK IT'S UNUSUAL FOR THE

10:26AM   20      GOVERNMENT TO SUPERSEDE A CHARGING INSTRUMENT, AND, OF COURSE,

10:26AM   21      THAT'S A DECISION THAT IS RESERVED FOR THE GOVERNMENT.

10:26AM   22            IN MOST CASES WHEN THE GOVERNMENT DOES THAT, THE FIRST

10:27AM   23      TIME THAT THE DEFENSE LEARNS ABOUT IT IS WHEN THE GRAND JURY

10:27AM   24      ELECTS TO RETURN THE INDICTMENT.

10:27AM   25            GIVEN THE COVID SITUATION, WE WANTED TO AVOID THAT, WHICH



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10:27AM    1      IS WHY WE PROPOSED PROCEEDING BY SUPERSEDING INFORMATION AND

10:27AM    2      PROVIDING THE DRAFT SUPERSEDING INFORMATION TO THE DEFENSE SO

10:27AM    3      THE DEFENSE HAD AT LEAST THE GOVERNMENT'S PERSPECTIVE OF WHAT

10:27AM    4      IT INTENDED TO DO.

10:27AM    5            I WOULD NOTE THAT THE DEFENDANTS MOVED TO DISMISS THE

10:27AM    6      INDICTMENTS IN DECEMBER OF 2019.     THEY COULD HAVE MOVED TO DO

10:27AM    7      THAT EARLIER AND ELECTED NOT TO DO THAT.

10:27AM    8            THE COURT RULED ON THE MOTION TO DISMISS IN LATE FEBRUARY,

10:27AM    9      AND I DON'T THINK IT IS UNREASONABLE OR CAN COME AS A SURPRISE

10:27AM   10      TO ANYBODY THAT THE GOVERNMENT MIGHT REACT TO THE DISMISSAL OF

10:27AM   11      CERTAIN COUNTS.

10:27AM   12            SO I THINK THAT ADDRESSES A LITTLE BIT OF WHY I DON'T

10:28AM   13      THINK ANY SUPERSEDING INSTRUMENT SHOULD COME AS A SURPRISE.

10:28AM   14            I ALSO THINK IT'S A BIT OF AN OVERSTATEMENT TO SAY THAT

10:28AM   15      THE PROPOSED CHANGES THE GOVERNMENT IS PURSUING REALLY CHANGE

10:28AM   16      THE TRIAL IN THIS CASE OR REALLY CHANGE THE PERSPECTIVE ON THE

10:28AM   17      CASE.

10:28AM   18            I DO NOT ANTICIPATE ANY NEW SUBSTANTIAL DISCOVERY.     I

10:28AM   19      THINK WHATEVER DISCOVERY THE GOVERNMENT PRODUCED, I THINK WE

10:28AM   20      HAVE ALREADY PRODUCED THE VAST BULK OF IT AND THE REMAINDER

10:28AM   21      WOULD BE QUITE NEGLIGIBLE.

10:28AM   22            I KNOW IN THE STATUS CONFERENCE STATEMENT THE DEFENSE

10:28AM   23      MENTIONS WALGREENS.    WALGREENS HAS BEEN IN THE INDICTMENT SINCE

10:28AM   24      DAY ONE.   THEY MENTION SAFEWAY AND DOCUMENTS RELATING TO

10:28AM   25      SAFEWAY HAVE BEEN IN DISCOVERY SINCE THE GOVERNMENT'S INITIAL



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10:28AM    1      PRODUCTION.   THEY MENTIONED THE ADDITIONAL BOARD MEMBERS AS

10:29AM    2      INVESTORS, AND THAT ALSO HAS BEEN IN DISCOVERY SINCE THE

10:29AM    3      INITIAL PRODUCTION.

10:29AM    4            I WOULD NOTE THAT MANY OF THE MATTERS THAT THE GOVERNMENT

10:29AM    5      IS PURSUING WAS IN OUR RULE 404(B) NOTICE, WHICH WE'VE BEEN

10:29AM    6      PROVIDING SINCE THE OUTSET BUT SUMMARIZED ON MARCH 6TH, 2020.

10:29AM    7            SO WE WANT THE DEFENSE TO BE PREPARED.       WE DON'T WANT THE

10:29AM    8      DATE TO MOVE.   I JUST DON'T THINK CHANGES IN THE CHARGING

10:29AM    9      INSTRUMENT ARE ANY IMPEDIMENTS TO PROCEEDING IN OCTOBER.

10:29AM   10            AND I THINK IT'S IMPORTANT TO HIGHLIGHT THE CHANGES THAT

10:29AM   11      THE GOVERNMENT PROVIDED TO MS. HOLMES.     I THINK IT'S LIMITED TO

10:29AM   12      EIGHT PARAGRAPHS OF THE INDICTMENT.     WE ADD A SINGLE LINE IN

10:29AM   13      PARAGRAPH 3 THAT SAYS "THERANOS INVESTORS INCLUDED INDIVIDUALS,

10:29AM   14      ENTITIES, CERTAIN BUSINESS PARTNERS, MEMBERS OF ITS BOARD OF

10:30AM   15      DIRECTORS, AND INDIVIDUALS AND ENTITIES WHO INVESTED THROUGH

10:30AM   16      FIRMS FORMED FOR THE EXCLUSIVE PURPOSE OR PRIMARY PURPOSE OF

10:30AM   17      INVESTING IN THERANOS'S SECURITIES."

10:30AM   18            WE THINK THESE WERE INVESTORS WHO WERE ALREADY IN THE CASE

10:30AM   19      AND THAT THIS DOES NOT SUBSTANTIALLY CHANGE THE DYNAMIC OF A

10:30AM   20      TRIAL.

10:30AM   21            THE OTHER CHANGES ARE TO PARAGRAPHS 10, 11, AND 12, AND IT

10:30AM   22      SIMPLY IS CHANGING A DATE FROM 2010 TO 2013.

10:30AM   23            WE AMEND PARAGRAPH 16 TO MAKE A FURTHER ALLEGATION AND TO

10:30AM   24      IDENTIFY CERTAIN BLOOD TESTS THAT ARE SPELLED OUT IN THE BILL

10:30AM   25      OF PARTICULARS.



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10:30AM    1            AND WE CHANGE TWO WIRE FRAUD COUNTS IN PARAGRAPHS 18 AND

10:30AM    2      26 FROM PATIENTS 1 AND 2 TO BB AND ET.

10:30AM    3            THAT'S THE EXTENT OF THE CHANGES THAT THE GOVERNMENT IS

10:30AM    4      PURSUING, AND WE DON'T THINK IT ALTERS THE LENGTH OF THE TRIAL

10:30AM    5      OR REALLY CHANGES THE DYNAMIC THAT WE'RE LOOKING AT.

10:30AM    6            WITH RESPECT TO COVID-19, YOUR HONOR, I DON'T HAVE SPECIAL

10:31AM    7      INSIGHT INTO WHAT THE WORLD IS GOING TO LOOK LIKE IN OCTOBER.

10:31AM    8      WE HEARD THE COURT'S COMMENTS AT THE LAST CONFERENCE ABOUT THE

10:31AM    9      DIFFICULTY OF SERVING SUMMONS AND LARGE GATHERINGS.      WE'RE

10:31AM   10      MINDFUL OF THAT.

10:31AM   11            WE THINK OCTOBER SEEMS FAR ENOUGH REMOVED FROM THAT AND

10:31AM   12      THAT THE BETTER COURSE IS TO PLAN FOR THAT AND CHECK IN IN JULY

10:31AM   13      IF WE NEED TO, BUT PLANNING FOR 2021 JUST SEEMS LIKE WE'RE

10:31AM   14      PLANNING FOR FAILURE, AND I THINK THE BETTER COURSE IS TO SET

10:31AM   15      THE DATE, WORK TOWARDS THAT, AND IF AGAINST ALL OF OUR HOPES

10:31AM   16      THE WORLD IS NOT IN A DIFFERENT SITUATION IN OCTOBER, WE CAN

10:31AM   17      REACT TO THAT.

10:31AM   18            BUT SETTING THE DATE OUT IN '21 JUST CREATES TOO MUCH

10:31AM   19      UNCERTAINTY AND IS REALLY PLANNING FOR FAILURE.

10:31AM   20            SO FOR THESE REASONS WE THINK OCTOBER IS REASONABLE, AND

10:32AM   21      WE THINK THE COURT SHOULD ORDER THAT DATE.

10:32AM   22                  THE COURT:   ALL RIGHT.   THANK YOU.

10:32AM   23            LET ME ASK IN REGARDS TO THE POTENTIAL SUPERSEDING

10:32AM   24      DOCUMENT, IF THE GRAND JURY DOES RETURN THE COUNTS AND THE

10:32AM   25      CHANGES THAT YOU'RE SEEKING, DO YOU HAVE A THOUGHT AS TO AN



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10:32AM    1      INCREASE IN WITNESSES, PRODUCTION OF DOCUMENTS, ET CETERA, HOW

10:32AM    2      THAT MIGHT AFFECT THINGS?

10:32AM    3                  MR. LEACH:   IT CERTAINLY DOES NOT CHANGE FROM THE

10:32AM    4      GOVERNMENT'S PERSPECTIVE WHO WE WERE INTENDING TO CALL IN THE

10:32AM    5      TRIAL.   I THINK THE TRIAL STAYS THE SAME LENGTH.

10:32AM    6            I THINK THERE ARE GOING TO BE WALGREENS, SAFEWAY AND BOARD

10:32AM    7      OF DIRECTORS WITNESSES IN THIS TRIAL REGARDLESS, SO I DON'T

10:32AM    8      THINK IT CHANGED THE WITNESSES.

10:32AM    9            AND AS I ALLUDED TO EARLIER, YOUR HONOR, WITH THE

10:32AM   10      EXCEPTION OF POSSIBLY 302'S OR WITNESS STATEMENTS, I DO NOT

10:33AM   11      ANTICIPATE ANY SUBSTANTIAL DISCOVERY, CERTAINLY NOTHING

10:33AM   12      COMPARED TO THE 20 MILLION-PLUS DOCUMENTS THAT HAVE ALREADY

10:33AM   13      BEEN PRODUCED IN THIS CASE.      I THINK ANY REMAINING DISCOVERY

10:33AM   14      WOULD BE VERY, VERY NEGLIGIBLE.

10:33AM   15                  THE COURT:   OKAY.   THANK YOU VERY MUCH.     ANYTHING

10:33AM   16      FURTHER THEN?

10:33AM   17                  MR. LEACH:   NO, YOUR HONOR.     THANK YOU.

10:33AM   18                  THE COURT:   OKAY.   MR. WADE.

10:33AM   19                  MR. WADE:    THANK YOU, YOUR HONOR.    THIS IS

10:33AM   20      LANCE WADE ON BEHALF OF MS. HOLMES.

10:33AM   21            I WILL START WHERE THE COURT HAS AND AS THE COURT DIRECTED

10:33AM   22      IN THE PRIOR HEARING WITH THE CURRENT HEALTH DIRECTIVES AND

10:33AM   23      SOME OF OUR THINKING ON THAT AS THE COURT MADE THAT INQUIRY.

10:33AM   24      AND WE, OF COURSE, THANK THE COURT FOR ITS CARE AND CONCERN

10:33AM   25      ABOUT THESE ISSUES AND OF COURSE ITS THE DESIRE TO KEEP ALL



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10:33AM    1      TRIAL PARTICIPANTS SAFE THROUGH THIS ENTIRE PROCESS.

10:33AM    2            WE'RE OBVIOUSLY IN UNCHARTERED TERRITORY HERE, YOUR HONOR,

10:34AM    3      BOTH IN OUR DAILY LIVES AND IN OUR CURRENT OCCUPATIONS AND THIS

10:34AM    4      HEARING.

10:34AM    5            I THINK NONE OF US, INCLUDING SOME OF THE LEADING PUBLIC

10:34AM    6      HEALTH EXPERTS, REALLY KNOW WITH ANY DEGREE OF CERTAINTY WHAT

10:34AM    7      THE SECOND HALF OF THIS YEAR WILL LOOK LIKE FROM A HEALTH

10:34AM    8      PERSPECTIVE.

10:34AM    9            NO ONE HAS A CLEAR IDEA OF WHAT CONDUCT WILL BE DEEMED

10:34AM   10      SAFE DURING THAT TIME PERIOD OR WHAT PUBLIC HEALTH AND SOCIAL

10:34AM   11      DISTANCING GUIDANCE MAY BE NEEDED.

10:34AM   12            BY EXTENSION, OF COURSE, IT MAKES IT VERY DIFFICULT FOR

10:34AM   13      US, AND I'M SURE FOR THE COURT, TO KNOW WHETHER THOSE

10:34AM   14      CONDITIONS WILL BE CONDUCIVE TO A LENGTHY JURY TRIAL SUCH AS

10:34AM   15      THE ONE CONTEMPLATED IN THIS MATTER.

10:34AM   16            WHILE THE PARTIES ARE, OF COURSE, YOU KNOW, IN COURT WITH

10:35AM   17      GREAT FREQUENCY, THE COURT IS VASTLY MORE EXPERIENCED IN

10:35AM   18      CONDUCTING ITS OWN PROCEDURES AND RECOGNIZES THE NUMBER OF

10:35AM   19      CHANGES TO COURTROOM PROCEDURES AND PROTOCOLS THAT WILL BE

10:35AM   20      NECESSARY TO TRY AND ADDRESS HEALTH RELATED ISSUES.

10:35AM   21            WE'RE CONFIDENT THAT THE COURT WILL DO THAT AND OF COURSE

10:35AM   22      STAND PREPARED TO ASSIST THE COURT IN ANY WAY THAT WE CAN.

10:35AM   23            THERE'S NOTHING ABOUT THE PARTIES TO THIS CASE OR COUNSEL

10:35AM   24      IN THIS CASE WITH RESPECT TO THESE HEALTH ISSUES THAT MERITS

10:35AM   25      SPECIAL ATTENTION.



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10:35AM    1            ALL FUTURE TRIAL PARTICIPANTS IN THIS COURT AND OTHER

10:35AM    2      COURTS ARE GOING TO HAVE TO WRESTLE WITH THIS NEW POST-PANDEMIC

10:35AM    3      WORLD IN HEARINGS AND JURY TRIALS WHEN OTHER COURT PROCEEDINGS

10:36AM    4      RESUME.   AGAIN, WE KNOW THE COURT WILL CONTINUE TO WORK TO

10:36AM    5      PRIORITIZE THE HEALTH AND SAFETY OF ALL OF US WHO APPEAR BEFORE

10:36AM    6      IT AS WE WORK TO ADAPT TO THAT NEW WORLD.

10:36AM    7            THERE ARE CERTAIN CIRCUMSTANCES RELATED TO THIS CASE,

10:36AM    8      HOWEVER, THAT WE THINK HEIGHTEN THE HEALTH RISK.

10:36AM    9            AS THE COURT, AND THE GOVERNMENT UNDOUBTEDLY RECOGNIZED,

10:36AM   10      THERE'S A GREATER RISK OF TRIAL DISRUPTION FROM THE VIRUS IN A

10:36AM   11      TRIAL THAT OCCURS OVER THE COURSE OF 100 DAYS THAN A TRIAL THAT

10:36AM   12      OCCURS OVER THE COURSE OF 1 OR 2.     THAT FLOWS FROM BASIC MATH

10:36AM   13      AND STATISTICAL PROBABILITY.

10:36AM   14            THE CROWDS THAT WILL LIKELY GATHER OUTSIDE OF THE

10:36AM   15      COURTHOUSE IN THIS CASE AND THEN FILL THE COURTROOM, AS THEY

10:36AM   16      HAVE IN NEARLY ALL PRIOR PROCEEDINGS, ADD TO THAT HEALTH RISK.

10:37AM   17            WHAT ALL PARTIES HERE IN THE COURT I AM SURE UNDOUBTEDLY

10:37AM   18      WANT IS AS SAFE AND AS SMOOTH A TRIAL AS POSSIBLE, ONE FREE

10:37AM   19      FROM DISRUPTION.

10:37AM   20            A MISTRIAL IS A REGRETTABLE EVENT IN ANY CIRCUMSTANCES,

10:37AM   21      AND IT'S OF COURSE A MASS OF CONCERN AND A BURDEN FOR ALL

10:37AM   22      INVOLVED WHEN THAT HAPPENS IN A LENGTHY TRIAL LIKE THIS.

10:37AM   23            WE CERTAINLY DON'T THINK IT'S PRUDENT TO START A TRIAL IF

10:37AM   24      THE PUBLIC HEALTH ENVIRONMENT SUGGESTS THAT THERE'S A

10:37AM   25      SUBSTANTIALLY INCREASED RISK OF A MISTRIAL.



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10:37AM    1            THIS IS WHY IN OUR DISCUSSIONS WITH THE GOVERNMENT AND IN

10:37AM    2      THE PLEADING THAT WE SAID BEFORE THE COURT AT DOCKET 372, WE

10:37AM    3      ARTICULATED OUR BELIEF EVEN BEFORE THE CONCEPT OF A SUPERSEDING

10:38AM    4      INDICTMENT WAS DISCUSSED THAT IT WOULD BE APPROPRIATE TO DELAY

10:38AM    5      THE TRIAL UNTIL EARLY NEXT YEAR.

10:38AM    6            GIVEN THAT THE GOVERNMENT WAS RELUCTANT TO DO THAT, WE OF

10:38AM    7      COURSE HAVE TRIED TO FIND A WAY WHERE WE CAN MAKE AN

10:38AM    8      ACCOMMODATION THAT WOULD ACCOUNT FOR SOME OF THE PARTICULAR

10:38AM    9      LIMITATIONS AND TRIAL PREPARATION THAT RESULTED FROM THE

10:38AM   10      CURRENT CIRCUMSTANCES.

10:38AM   11            AS THE COURT KNOWS, AND WE'VE DISCUSSED IN PRIOR CALLS,

10:38AM   12      THERE'S MUCH THAT WE CAN CONTINUE TO DO AND WE PLEDGE TO THE

10:38AM   13      COURT THAT WE ARE CONTINUING TO WORK DILIGENTLY WITH ALL TASKS

10:38AM   14      THAT WE CAN DO IN OUR CURRENT REMOTE WORKING ENVIRONMENT, BUT

10:38AM   15      OF COURSE THERE ARE MANY TASKS THAT WE CAN'T DO TO PREPARE FOR

10:38AM   16      TRIAL THAT REQUIRE ACTIVITIES THAT ARE ILL-ADVISED OR ILLEGAL

10:38AM   17      GIVEN THE CURRENT CIRCUMSTANCES AND PUBLIC HEALTH CONDITIONS.

10:39AM   18            OUR SUGGESTION INITIALLY FOR THE 90-DAY DELAY WAS DONE

10:39AM   19      WITH THE BELIEF -- TO LATE OCTOBER -- WAS DONE WITH THE BELIEF

10:39AM   20      THAT A DELAY OF THAT PERIOD WOULD HELP US ACCOUNT FOR SOME OF

10:39AM   21      THE LIMITATIONS THAT WE ARE UNDER IN THE REMOTE WORK AND

10:39AM   22      CURRENT HEALTH ENVIRONMENT.    THAT'S WHY WE PROPOSED THAT

10:39AM   23      SCHEDULE.

10:39AM   24            WE RECOGNIZED WHEN WE PROPOSED THAT SCHEDULE, AND WE

10:39AM   25      BELIEVE IT'S TRUE WITH ANY SCHEDULE THAT STARTS THAT LATE, THAT



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10:39AM    1      THAT COULD PUSH US INTO A SITUATION WHERE WE'RE WORKING THROUGH

10:39AM    2      THE HOLIDAYS.

10:39AM    3            WE, OF COURSE, IN NORMAL CIRCUMSTANCES WOULDN'T CONSIDER

10:39AM    4      PROPOSING SOME STEPS, BUT WE RECOGNIZE THAT WE ARE IN

10:40AM    5      EXTRAORDINARY TIMES, AND WE RECOGNIZE THAT IN TIMES SUCH AS

10:40AM    6      THAT SACRIFICES ARE NEEDED.    AND ENSURING THAT OUR CLIENT HAS

10:40AM    7      AN APPROPRIATE DEFENSE, WE'RE PREPARED TO WORK THROUGH THE

10:40AM    8      HOLIDAYS AS NEEDED IF THAT'S WHAT ENDS UP HAPPENING.

10:40AM    9            NOW, OF COURSE THAT, THAT PROPOSAL CHANGED WHEN THE

10:40AM   10      GOVERNMENT INFORMED US AT THIS POINT THAT IT INTENDED TO SEEK A

10:40AM   11      SUPERSEDING INDICTMENT.

10:40AM   12            AND WHILE I APPRECIATE THAT COUNSEL FOR THE GOVERNMENT

10:40AM   13      DOESN'T BELIEVE IT WILL SIGNIFICANTLY INCREASE THEIR TRIAL

10:40AM   14      PREPARATION TIME, I WILL MAKE CLEAR TO THE COURT THAT IF THE

10:40AM   15      GRAND JURY CHOOSES TO RETURN A SUPERSEDING INDICTMENT ALONG THE

10:41AM   16      LINES MR. LEACH HAS DISCLOSED THAT HE INTENDS TO SEEK, WHILE

10:41AM   17      THE CHANGES IN LANGUAGE MAY BE LIMITED AND DESIGNED TO DO

10:41AM   18      MINIMAL VIOLENCE TO THE WORDS WITHIN THE INDICTMENT, THE

10:41AM   19      FUNDAMENTAL SCOPE OF THE INDICTMENT CHANGES SIGNIFICANTLY.

10:41AM   20            THE INDICTMENT, THE PROPOSED INDICTMENT, OR THE POTENTIAL

10:41AM   21      SUPERSEDING INDICTMENT THAT MR. LEACH HAS STATED THAT THE

10:41AM   22      GOVERNMENT INTENDS TO SEEK SIGNIFICANTLY EXPANDS THE TIME

10:41AM   23      PERIOD THAT HAS BEEN THE FOCUS OF THE CASE.        THE COMPANY DURING

10:41AM   24      THE 2010 TO 2013 TIME PERIOD WAS IN A FUNDAMENTALLY DIFFERENT

10:41AM   25      STATE OF OPERATIONS THAN IT WAS DURING THE LATER TIME PERIOD



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10:41AM    1      THAT WAS IDENTIFIED IN THE PREVIOUS CONSPIRACY PERIOD.      THE --

10:42AM    2      ALTHOUGH THE GOVERNMENT HAS IN DRAFTING, IT APPEARS, INTENT ON

10:42AM    3      CHANGING THE DEFINITION OF INVESTORS AND THE SCOPE OF THE

10:42AM    4      INVESTOR RELATED CONSPIRACY TO INCLUDE OTHER PARTIES, IT DOES

10:42AM    5      NOT APPEAR TO US, BASED ON WHAT HAS BEEN REPRESENTED BY THE

10:42AM    6      GOVERNMENT, THAT THOSE ARE REALLY INVESTOR RELATIONSHIPS AT

10:42AM    7      ALL.

10:42AM    8             IN FACT, THOSE RELATIONSHIPS, RELATIONSHIPS LIKE THE

10:42AM    9      WALGREENS RELATIONSHIP, THE SAFEWAY RELATIONSHIP, RELATIONSHIPS

10:42AM   10      WITH BOARD OF DIRECTORS ARE FUNDAMENTALLY DIFFERENT

10:42AM   11      RELATIONSHIPS THAN INVESTOR RELATIONSHIPS.

10:42AM   12             WALGREENS, SAFEWAY ARE CONTRACTUAL COUNTERPARTIES WITH

10:42AM   13      THERANOS.    THE COURSE OF DEALING BETWEEN THERANOS AND THOSE

10:42AM   14      CONTRACTUAL COUNTERPARTIES IS FUNDAMENTALLY DIFFERENT IN NATURE

10:43AM   15      AND SCOPE FROM THE INVESTOR-RELATED RELATIONSHIPS THAT WERE

10:43AM   16      OUTLINED IN THE PRIOR INDICTMENT.

10:43AM   17             THE INTERACTIONS WITH THE BOARD OF DIRECTORS ALSO

10:43AM   18      SIMILARLY ARE INTERACTIONS BETWEEN MANAGEMENT AND BOARD MEMBERS

10:43AM   19      AMONG FIDUCIARIES WITHIN THE COMPANY AND ARE OF A COMPLETELY

10:43AM   20      DIFFERENT NATURE FROM THE ALLEGATIONS THAT WERE SET FORTH IN

10:43AM   21      THE PRIOR INDICTMENT.

10:43AM   22             THEY REQUIRE A DIFFERENT LEVEL OF PREPARATION, THEY RAISE

10:43AM   23      DIFFERENT LEGAL ISSUES, WHICH WILL REQUIRE ADDITIONAL MOTIONS

10:43AM   24      SHOULD THE GRAND JURY RETURN AN INDICTMENT, AND FUNDAMENTALLY

10:43AM   25      CHANGE THE NATURE OF OUR TRIAL PREPARATION.



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10:43AM    1            I'LL SAY WITH A BIT OF FRUSTRATION THAT I WILL CONFESS TO

10:43AM    2      THE COURT, ALTHOUGH MR. LEACH SUGGESTS THAT SOME OF THESE

10:44AM    3      CHANGES FLOW FROM THE ORDER OF THE COURT AND THE MOTIONS TO

10:44AM    4      DISMISS, WHICH OF COURSE WERE BRIEFED ON THE SCHEDULE THAT WAS

10:44AM    5      AGREED TO BY ALL PARTIES AND PRESENTED AND APPROVED BY THE

10:44AM    6      COURT, WHILE THOSE CHANGES MAY HAVE RESULTED WITH RESPECT TO

10:44AM    7      THE NEW COUNTS RELATED TO THE PATIENTS, THE ORDER OF THE COURT

10:44AM    8      HAS LITTLE OR NOTHING TO DO WITH THE EXPANSION OF THE

10:44AM    9      INVESTOR-RELATED CONSPIRACY TO INCLUDE NEW THEORIES, NEW

10:44AM   10      COUNTERPARTIES, NEW FIDUCIARIES, THAT HAVE LONG BEEN KNOWN TO

10:44AM   11      THE GOVERNMENT AND WHICH THE GOVERNMENT HAS PREVIOUSLY CHOSEN

10:44AM   12      NOT TO CHARGE.

10:44AM   13            WHY IT TOOK UNTIL THIS POINT TO ADD THOSE CHARGES TO THIS

10:44AM   14      CASE IS UNCLEAR TO THE DEFENSE.     IT'S OF SOME FRUSTRATION GIVEN

10:45AM   15      ALL OF THE WORK THAT WE HAVE DONE THUS FAR.

10:45AM   16            AS THE COURT KNOWS, THERE ARE OVER 20 MILLION PAGES OF

10:45AM   17      DOCUMENTS IN THIS CASE.    MANY OF THOSE DOCUMENTS HAVE BEEN

10:45AM   18      REVIEWED WITH THE CURRENT INDICTMENT IN MIND.      MANY OF THOSE

10:45AM   19      DOCUMENTS WILL NOW NEED TO BE REVIEWED.     MANY OF THE WITNESSES

10:45AM   20      WILL NEED TO BE REASSESSED.    THE HUNDREDS OF WITNESS STATEMENTS

10:45AM   21      WILL NEED TO BE REVIEWED AND ADDRESSED WITH THE NATURE OF THESE

10:45AM   22      ALLEGATIONS IN MIND, AGAIN, SHOULD THE GRAND JURY CHOOSE TO

10:45AM   23      RETURN THIS INDICTMENT AND SHOULD THE CHARGES SURVIVE A MOTION

10:45AM   24      TO DISMISS.

10:45AM   25            THAT'S A SUBSTANTIAL AMOUNT OF WORK ABOVE AND BEYOND THE



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10:45AM    1      WORK THAT HAS PREVIOUSLY BEEN BEFORE US IN THIS MATTER.

10:46AM    2            FORTUNATELY, PERHAPS MAYBE ONE OF THE FEW UNFORTUNATE

10:46AM    3      THINGS THAT HAS COME FROM THE CURRENT HEALTH CRISIS, WE BELIEVE

10:46AM    4      THAT WE CAN STILL DO THAT WITHIN THIS AMOUNT OF TIME IN ADVANCE

10:46AM    5      OF EARLY 2021 WHEN WE THINK IT'S SENSIBLE TO PROCEED WITH THIS

10:46AM    6      MATTER IN ANY EVENT.

10:46AM    7            BUT WE THINK THE MINIMIZATION OF THESE ALLEGATIONS BY THE

10:46AM    8      GOVERNMENT IS ONE WITH WHICH WE RESPECTFULLY DISAGREE AND ONE

10:46AM    9      THAT REQUIRES SIGNIFICANTLY ADDITIONAL TIME.

10:46AM   10            THERE -- IT IS TRUE THAT SOME OF THESE RELATIONSHIPS WERE

10:46AM   11      PREVIOUSLY ADDRESSED WITHIN THE INDICTMENT.         WALGREENS, FOR

10:46AM   12      EXAMPLE, IS SET FORTH IN THE INDICTMENT WITH THE ALLEGATION

10:46AM   13      BEING THAT SOME OF THE DEALINGS WITH RESPECT TO WALGREENS WERE

10:46AM   14      MISREPRESENTED TO OTHER INVESTORS.

10:46AM   15            THE NEW ALLEGATIONS WITHIN THE INDICTMENT ARE TOTALLY

10:46AM   16      DIFFERENT.    THERANOS IS SUGGESTING THAT WALGREENS ITSELF MAY

10:47AM   17      HAVE BEEN DEFRAUDED IN SOME WAY.

10:47AM   18            WE, OF COURSE, WILL AGGRESSIVELY CONTEST THOSE

10:47AM   19      ALLEGATIONS, BUT THE TYPE OF PREPARATION REQUIRED TO DO SO IS

10:47AM   20      FUNDAMENTALLY DIFFERENT FROM THE PREPARATION THAT WE HAVE

10:47AM   21      ENGAGED IN THUS FAR.

10:47AM   22            I'LL PAUSE THERE AND ASK IF THE COURT HAS ANY INQUIRIES,

10:47AM   23      I'M HAPPY TO ADDRESS THEM.

10:47AM   24                   THE COURT:   ALL RIGHT.   THANK YOU, MR. WADE.    THANK

10:47AM   25      YOU FOR OUTLINING THE CHALLENGES THAT THE DEFENSE MIGHT FACE



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10:47AM    1      SHOULD THE GOVERNMENT DECIDE TO SEEK A SUPERSEDING INDICTMENT.

10:47AM    2            I'M GOING TO ASK PEOPLE TO PLEASE MUTE YOUR PHONES, PLEASE

10:47AM    3      MUTE YOU'RE PHONES.

10:47AM    4            THANK YOU, MR. WADE.

10:48AM    5            ONE OF THE THOUGHTS AND CONCERNS THAT I HAVE ABOUT THE

10:48AM    6      INFORMATION FROM THE GOVERNMENT THAT THEY MAY SEEK TO SUPERSEDE

10:48AM    7      THE INDICTMENT IS THE TIMING OF THAT.     AND THIS IS AGAIN

10:48AM    8      SPECULATION, ASSUMING THAT OUR COURT IS BACK IN OPERATION, THAT

10:48AM    9      IS, THE COURTHOUSE IS OPEN MAY 1ST, IN MAY THE GOVERNMENT WOULD

10:48AM   10      THEN, I'M SURE THEY WOULD PROCEED WITH ALL HASTE TO GET THE

10:48AM   11      GRAND JURY CONVENED AND PRESENT THIS AND THEN WE WOULD HAVE A

10:48AM   12      RETURN.

10:48AM   13            I DON'T KNOW WHAT THE TIMELINE OF THAT POTENTIALLY IS, BUT

10:48AM   14      OF COURSE BASED ON MR. WADE'S COMMENTS, AND IT'S COMMON

10:48AM   15      KNOWLEDGE THAT WE WOULD EXPECT THAT ANY SUPERSEDING INDICTMENT

10:48AM   16      WOULD BE LOOKED AT BY THE DEFENSE WITH CLOSE SCRUTINY AND THEN

10:48AM   17      POTENTIAL MOTIONS TO DISMISS OR SOME OTHER MOTIONS MIGHT ARISE

10:48AM   18      FROM THAT.

10:48AM   19            YOU'VE GIVEN ME A PROPOSED SCHEDULE IN DOCUMENT 372, AND

10:48AM   20      I'M JUST CURIOUS ABOUT WHAT -- LET'S JUST ASSUME THAT A

10:49AM   21      SUPERSEDING INDICTMENT IS RECEIVED ALONG THE LINES THAT THE

10:49AM   22      GOVERNMENT HAS PROPOSED.

10:49AM   23            I WONDER FROM BOTH SIDES, CAN YOU GIVE ME YOUR THOUGHTS

10:49AM   24      ABOUT MOTION PRACTICE IN REGARDS TO THAT AND HOW THAT, THAT IS,

10:49AM   25      HOW THAT MOTION PRACTICE FITS INTO THE CURRENT PROPOSED



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10:49AM    1      SCHEDULES THAT YOU'VE PRESENTED?

10:49AM    2             MR. LEACH, I'M NOT SURE YOU HAVE SUFFICIENT INFORMATION TO

10:49AM    3      ANSWER THAT QUESTION BECAUSE THE MOTION PRACTICE WOULD BE

10:49AM    4      GENERATED, OF COURSE, BY THE DEFENSE, BUT I'M HAPPY TO START

10:49AM    5      WITH YOU IF YOU HAVE SOME THOUGHTS ON THAT.

10:49AM    6                  MR. LEACH:   THANK YOU, YOUR HONOR.

10:49AM    7             THAT'S RIGHT, I DON'T HAVE A SENSE OF WHAT MOTIONS THEY

10:49AM    8      INTEND, AND SO I'M NOT REALLY IN A POSITION TO TALK ABOUT THE

10:49AM    9      TIMING OF THAT.

10:50AM   10             I DO THINK UNDER THE SCHEDULE PROPOSED BY THE GOVERNMENT

10:50AM   11      WE HAVE MOTIONS IN LIMINE NOT STARTING UNTIL AUGUST, AND WE

10:50AM   12      HAVE A STATUS CONFERENCE FOR JULY 13TH.

10:50AM   13             I WOULD CERTAINLY THINK THAT -- I MEAN, WE HAVE BEEN AS

10:50AM   14      TRANSPARENT ABOUT -- BY PROVIDING THE SUPERSEDING, DRAFT

10:50AM   15      SUPERSEDING INFORMATION ABOUT WHAT THE GOVERNMENT'S INTENTIONS

10:50AM   16      ARE.

10:50AM   17             I WOULD THINK THAT THE DEFENSE HAS IN MIND WHAT THEY WANT

10:50AM   18      TO DO.

10:50AM   19             I THINK IF WE HAVE A MID-JULY, LATE JULY STATUS CONFERENCE

10:50AM   20      THAT SHOULD AFFORD SUFFICIENT TIME FOR THEM TO DRAFT THE

10:50AM   21      GOVERNMENT'S RESPONSE ANYTHING THAT THEY THINK IS APPROPRIATE.

10:50AM   22      I REALLY DON'T HAVE A SENSE OF WHAT THEY HAVE IN MIND, BUT WE

10:50AM   23      WOULD BE PREPARED TO PROCEED UNDER WHATEVER SCHEDULE THE COURT

10:50AM   24      THINKS IS APPROPRIATE FOR THIS.

10:50AM   25                  THE COURT:   OKAY.   THANK YOU.



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10:51AM    1            THAT'S A THOUGHT THAT CAME TO MIND, MR. WADE -- I'LL NEXT

10:51AM    2      CALL UPON YOU -- IS IF THE GOVERNMENT PROCEEDED -- WELL,

10:51AM    3      THERE'S A LOT OF "IF'S" HERE.     ASSUMING WE'RE BACK IN THE

10:51AM    4      COURTHOUSE IN MAY AND THE GOVERNMENT IS DILIGENT ABOUT

10:51AM    5      CONVENING A GRAND JURY, AND THE GRAND JURY DOES RETURN A

10:51AM    6      SUPERSEDING DOCUMENT AS THEY'VE INDICATED, AND AS THEY'VE

10:51AM    7      PROVIDED TO YOU, THE NEXT THOUGHT I HAVE REGARDING SCHEDULING

10:51AM    8      IS WHAT ARE YOUR THOUGHTS ABOUT GETTING MOTION PRACTICE AS TO

10:51AM    9      THAT SUPERSEDING DOCUMENT COMPLETED BY THE JULY, ASSUMING WE

10:51AM   10      FOLLOW A JULY, A LATE JULY STATUS CONFERENCE?

10:51AM   11                  MR. WADE:   YOUR HONOR, OF COURSE THE WAY THAT WE

10:51AM   12      USUALLY APPROACH A SCHEDULE IN A CASE IS TO START WITH WHEN WE

10:52AM   13      THINK BASED UPON THE INDICTMENT WHEN A TRIAL DATE -- WHEN WE

10:52AM   14      COULD BE READY FOR TRIAL AND WE TRY TO WORK BACK AND SET A

10:52AM   15      LOGICAL AND SEQUENTIAL PATH BETWEEN THAT TRIAL DATE AND TO HIT

10:52AM   16      ALL OF THESE ITEMS.

10:52AM   17            A SUPERSEDING INDICTMENT THAT IS RETURNED, IF THE GRAND

10:52AM   18      JURY RETURNS IN MAY, AND I'LL NOTE THAT I DO HAVE MATTERS IN

10:52AM   19      OTHER COURTS WHERE GRAND JURIES WERE INITIALLY EXTENDED UNTIL

10:52AM   20      MAY, BUT THAT'S NOW BEEN -- THOSE GRAND JURIES HAVE NOW BEEN

10:52AM   21      DEFERRED FURTHER INTO JULY.    BUT IF IT COMES IN MAY, YOU KNOW,

10:52AM   22      WE WOULD OBVIOUSLY NEED TIME TO ADDRESS TO CONSIDER THAT.

10:52AM   23            WE'LL, OF COURSE, BASED ON THE REPRESENTATIONS OF THE

10:52AM   24      GOVERNMENT, BEGIN THINKING ABOUT WAYS IN WHICH WE MIGHT

10:52AM   25      APPROACH SUCH CHARGES IF THE GRAND JURY DECIDES TO CONVENE THEM



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10:53AM    1      OR TO RETURN THEM.

10:53AM    2            BUT THERE ARE A NUMBER OF OTHER, YOU KNOW, RELATED ISSUES

10:53AM    3      THAT COME INTO THE CASE AS A RESULT OF THAT ACTIVITY THAT WOULD

10:53AM    4      ALSO NEED TO BE ACCOMMODATED IN THE SCHEDULE.

10:53AM    5            THERE'S A POTENTIAL NEED FOR SUBSTANTIAL ADDITIONAL WORK

10:53AM    6      THAT WOULD BE REQUIRED BY THE DEFENSE BASED ON INFORMATION

10:53AM    7      PROVIDED TO THE GOVERNMENT AS TO WHAT THEY MIGHT SEEK.      WE

10:53AM    8      BELIEVE WE MAY NEED TO RETAIN AN EXPERT OR MORE GIVEN THE

10:53AM    9      NATURE OF SOME OF THE ALLEGATIONS.

10:53AM   10            MANY OF THE PEOPLE WHO THE GOVERNMENT HAS IDENTIFIED, MANY

10:53AM   11      OF THE WITNESSES WHO HAVE BEEN IDENTIFIED WHO WOULD BE

10:53AM   12      IMPLICATED BY AN INDICTMENT OF THIS TYPE WE HAVE NOT

10:53AM   13      SUBPOENAED, WE HAVE NOT SOUGHT DOCUMENTS, WE HAVE NOT DONE WHAT

10:54AM   14      WE WOULD DO IN AN ORDINARY COURSE IF THESE ALLEGATIONS WERE IN

10:54AM   15      THE INDICTMENT.

10:54AM   16            SO OF COURSE NOW IT'S NOT PRUDENT GIVEN HEALTH CONDITIONS

10:54AM   17      TO PROCEED WITH SOME OF THOSE SUBPOENAS UNLESS PEOPLE WERE TO

10:54AM   18      ACCEPT THEM VOLUNTARILY.

10:54AM   19            SO THERE ARE A NUMBER OF THINGS THAT NEED TO HAPPEN.       I

10:54AM   20      THINK WE UNDOUBTEDLY COULD TRY TO MEET AND CONFER WITH THE

10:54AM   21      GOVERNMENT AND WOULD IN ANY COURSE ONCE WE DETERMINE A

10:54AM   22      REASONABLE TRIAL DATE TO TRY TO SET A SENSIBLE SCHEDULE, BUT I

10:54AM   23      THINK TRYING TO INJECT THIS INTO THESE ALREADY DIFFICULT

10:54AM   24      CIRCUMSTANCES WOULD NECESSITATE A DELAY IN THE VIEW OF THE

10:54AM   25      DEFENSE.



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10:55AM    1            (PAUSE IN PROCEEDINGS.)

10:55AM    2                  MR. WADE:    IS THE COURT STILL THERE?

10:55AM    3                  THE COURT:   I AM STILL HERE, BUT YOU KNOW WHAT, I

10:55AM    4      DID NOT HAVE THE GOOD SENSE TO UNMUTE MY PHONE.

10:55AM    5            THANK YOU.   SO THANK YOU, MR. WADE.       THANK YOU FOR THAT.

10:55AM    6            WHAT I HEAR YOU SAYING IS THAT SHOULD THE GOVERNMENT

10:55AM    7      PROCEED AND SECURE A SUPERSEDING INDICTMENT ALONG THE LINES OF

10:55AM    8      THE PROPOSED DRAFT THAT THEY HAVE PROVIDED YOU, IT WOULD CHANGE

10:55AM    9      THE COMPLEXION OF YOUR -- OBVIOUSLY OF WHAT YOU NEED TO DO.

10:55AM   10      YOU WOULD LOOK AT THE CASE AND DETERMINE WHETHER YOU CAN GO

10:55AM   11      FORWARD WITH FILING MOTIONS, YOUR MOTIONS PRIOR TO THE JULY

10:55AM   12      DATE AND THE STATUS DATE THAT WE HAVE.

10:56AM   13            THAT'S WHAT I'M TRYING TO SEE IF WE CAN, IF WE CAN GET

10:56AM   14      MOTION PRACTICE SCHEDULED AND HEARD BY THAT DATE, THAT WOULD BE

10:56AM   15      IDEAL AT LEAST FOR MOVING FORWARD.

10:56AM   16            I WAS PROBING TO SEE IF THAT -- OF COURSE YOU CAN'T

10:56AM   17      PREDICT ANYTHING AND YOU DON'T HAVE BENEFIT OF ANYTHING IN

10:56AM   18      FRONT OF YOU.   I DON'T KNOW IF THAT'S SOMETHING THAT WE CAN DO.

10:56AM   19                  MR. WADE:    YEAH.   MY APOLOGIES.    IT'S DIFFICULT

10:56AM   20      SOMETIMES TO NOT INTERRUPT THE COURT IN THIS FORUM.        SO MY

10:56AM   21      APOLOGIES TO THE COURT.

10:56AM   22                  THE COURT:   NO, NO, NOT AT ALL.

10:56AM   23                  MR. WADE:    THE -- WE, OF COURSE, WOULD WORK TO

10:56AM   24      PROCEED WITH MOTIONS DIRECTED AT ANY NEW INDICTMENT AS QUICKLY

10:56AM   25      AS WE POSSIBLY COULD, YOUR HONOR, JUST TO BE CLEAR.



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10:57AM    1            MY OTHER COMMENTS ARE JUST DIRECTED -- AND TO THE EXTENT

10:57AM    2      THAT AN INDICTMENT WAS RETURNED, YOU KNOW, REASONABLY IN

10:57AM    3      ADVANCE OF THE JULY STATUS CONFERENCE, WE WOULD CERTAINLY

10:57AM    4      ENDEAVOR TO TRY TO FIT BRIEFING IN IN ADVANCE OF THAT.

10:57AM    5            MY OTHER COMMENTS WERE MERELY DIRECTED -- MEANT TO DIRECT

10:57AM    6      THE COURT'S ATTENTION TO THE FACT THAT THERE IS OBVIOUSLY MUCH

10:57AM    7      MORE THAT IS NEEDED HERE BEYOND JUST THE BRIEFING ON THE MOTION

10:57AM    8      TO DISMISS.

10:57AM    9                  THE COURT:   SURE.   THANK YOU.

10:57AM   10            ALL RIGHT.   THANK YOU.    LET ME ASK, MR. LEACH, ANYTHING

10:57AM   11      YOU WOULD LIKE TO SAY ABOUT THE SCHEDULING ISSUE REGARDING THE

10:57AM   12      MOTIONS AND THE SUPERSEDING INDICTMENT?

10:57AM   13                  MR. LEACH:   NO, YOUR HONOR.   JUST THAT I

10:57AM   14      FUNDAMENTALLY DISAGREE THAT THIS IS A SEA CHANGE.        THIS IS THE

10:57AM   15      SAME THEORY AND THE SAME CASE WITH DISCOVERY THAT THEY'VE HAD

10:58AM   16      FOR THE BETTER PART OF A YEAR AND A HALF.

10:58AM   17            THE DEFENSE IS IN A MUCH BETTER POSITION TO DESCRIBE ITS

10:58AM   18      PREPARATION THAN WE ARE, BUT WE FUNDAMENTALLY JUST DO NOT SEE

10:58AM   19      THIS AS THE SEA CHANGE THAT IS DESCRIBED.     AND -- BUT BEYOND

10:58AM   20      THAT, I HAVE NOTHING FURTHER.

10:58AM   21                  THE COURT:   ALL RIGHT.   THANK YOU VERY MUCH.

10:58AM   22            MR. WADE, ANYTHING ELSE YOU WOULD LIKE TO ADD?

10:58AM   23                  MR. WADE:    NO, YOUR HONOR.

10:58AM   24                  THE COURT:   ALL RIGHT.   WELL, THANK YOU VERY MUCH.

10:58AM   25            THE STATUS HEARING TODAY WAS SCHEDULED TO DETERMINE WHAT



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10:58AM    1      WE SHOULD DO GOING FORWARD IN LIGHT OF THE COVID CRISIS THAT

10:58AM    2      THE NATION FACES AND IN LIGHT OF THE LIMITATIONS THAT THAT

10:58AM    3      BRINGS TO THIS COURT TO PROVIDE SAFE ENVIRONMENTS FOR ALL

10:58AM    4      PARTIES TO THE CASE AS WELL AS THE PUBLIC AND ALL OF OUR COURT

10:58AM    5      PERSONNEL AS WELL.

10:59AM    6            WE HAVE, AS I THINK SOMEONE SAID, WE'RE IN UNCHARTERED

10:59AM    7      WATERS NOW AND TERRITORY NOW IN REGARDS TO HOW TO MANAGE OUR

10:59AM    8      CALENDARS.    WE KNOW THAT THE PRIME DIRECTIVE IS TO ENSURE THAT

10:59AM    9      ALL PARTIES RECEIVE FAIR TREATMENT IN THE COURTS, BUT THE REAL

10:59AM   10      PRIME DIRECTIVE NOW ADDENDUM TO THAT IS TO PROCEED WITH CAUTION

10:59AM   11      AND SAFETY TO MAKE SURE THAT EVERYONE WHO ENTERS OUR COURTS ARE

10:59AM   12      SAFE, FIRST OF ALL.       THAT WE OPEN OUR COURTS, WHEN WE OPEN OUR

10:59AM   13      COURTS, THAT THEY ARE IN A SAFE ENVIRONMENT FOR ALL, ALL

10:59AM   14      CONCERNED, INCLUDING THE PUBLIC, THE PUBLIC WHO WE WOULD CALL

10:59AM   15      AS JURORS TO SIT IN THE MATTER.         AND WE WANT TO MAKE SURE THAT

10:59AM   16      THE JURORS HAVE CONFIDENCE THAT THE COURTROOMS THAT THEY'RE

10:59AM   17      SITTING IN --

10:59AM   18                   THE CLERK:    EXCUSE ME, YOUR HONOR.    I BELIEVE

10:59AM   19      SOMEONE NEEDS TO MUTE THEIR PHONE.        THERE'S INTERRUPTION GOING

11:00AM   20      ON.   IF YOU COULD PLEASE MUTE YOUR PHONE.

11:00AM   21                   THE COURT:    YES, YES.    PLEASE MUTE YOUR PHONES,

11:00AM   22      PLEASE.   THANK YOU.

11:00AM   23                   THE CLERK:    SORRY, YOUR HONOR.

11:00AM   24                   THE COURT:    THANK YOU.    THANK YOU, MS. KRATZMANN.

11:00AM   25            WE NEED TO MAKE SURE THE ENVIRONMENT IS SAFE FOR ALL



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11:00AM    1      PARTIES, WE NEED TO ENSURE TO OUR JURORS, THE PUBLIC THAT WE

11:00AM    2      CALL, THE COMMUNITY THAT IS CALLED TO HEAR MATTERS, THAT THE

11:00AM    3      COURT CAN ENSURE THEIR SAFETY SUCH THAT THEY HAVE CONFIDENCE IN

11:00AM    4      THEIR JUSTICE SYSTEM AND THEY HAVE CONFIDENCE THAT THEY CAN

11:00AM    5      FOCUS ON THE ISSUES BEFORE THEM IN A TRIAL SUCH THAT THEY CAN

11:00AM    6      PROVIDE A FAIR HEARING FOR ALL SIDES.     THAT'S A CRITICAL

11:00AM    7      COMPONENT OF THE WORK THAT THEY DO AND WHAT WE WANT TO ENSURE

11:00AM    8      TO THE JURY IN THIS CASE.

11:00AM    9            I DO THINK THAT LOOKING AT OUR SCHEDULE AND THIS COURT HAS

11:00AM   10      BEEN, AND I KNOW COUNSEL HAVE CALLED ME ON IT, IS I'VE BEEN A

11:01AM   11      LITTLE AGGRESSIVE ABOUT THE TRIAL SCHEDULE ON THIS.      I DO THINK

11:01AM   12      THAT THE SCHEDULE FOR JULY AS I INITIALLY PROPOSED IS NOT

11:01AM   13      REALISTIC NOW GIVEN THE CIRCUMSTANCES THAT WE FACE.      I JUST

11:01AM   14      DON'T THINK THAT THAT'S A REALITY.

11:01AM   15            I'D LIKE TO THINK THAT, AND I HOPE THAT TRIAL IN OCTOBER

11:01AM   16      OF THIS YEAR IS SOMETHING THAT WE COULD, WE COULD ENGAGE.      I

11:01AM   17      KNOW EVERY DAY THE NEWS CHANGES ABOUT COVID AND ABOUT WHETHER

11:01AM   18      OR NOT THINGS WILL BEGIN TO REACH NORMALITY AND THAT DOESN'T

11:01AM   19      MEAN THAT WE'LL HAVE ANY NORMAL SENSE OF OUR SOCIETY IN

11:01AM   20      OCTOBER.   WE HOPE WE DO, BUT SHELTER IN PLACE REMAINS AND IN

11:01AM   21      MANY STATES, AND CERTAINLY IN THE ENVIRONMENT AND JURISDICTION

11:01AM   22      OF THE COURTHOUSE.

11:01AM   23            I'D LIKE TO -- WHAT I'D LIKE TO DO IS LOOK AT THE OCTOBER

11:02AM   24      DATE, THE LATER OCTOBER DATE THAT WAS PROPOSED AS A POTENTIAL

11:02AM   25      TRIAL DATE, AND I THINK IT WISE, AND I'M GRATEFUL TO BOTH SIDES



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11:02AM    1      HERE, TO SUGGEST THAT WE HAVE AN INTERIM STATUS CONFERENCE IN

11:02AM    2      JULY AT LEAST CALENDARED.    THAT'S NOT TO SAY THAT WE WON'T

11:02AM    3      ADVANCE THAT IF NEEDED, BUT AT LEAST CALENDARED IN JULY SO WE

11:02AM    4      CAN LOOK FORWARD AND SEE WHAT AND HOW BEST WE CAN FORECAST

11:02AM    5      WHETHER OR NOT THE OCTOBER DATE IS A REALITY OR WHETHER OR NOT

11:02AM    6      IT MAKES MORE SENSE TO LOOK BEYOND THE FALL AND INTO THE NEW

11:02AM    7      YEAR, EARLY NEW YEAR.

11:02AM    8            WHAT I THINK WE HAVE ALL READ AND FROM EXPERTS, AND THERE

11:02AM    9      ARE MANY OF THEM ON THIS CRISIS THAT WE FACE, THE INFORMATION

11:02AM   10      AT LEAST THAT THE COURT HAS READ AND SOME OF IT HAS INDICATED

11:02AM   11      THAT LIKE THE NORMAL FLU VIRUS THAT SEEMS TO COME AROUND IN THE

11:03AM   12      WINTER AND FALL, THERE'S AN EXPECTATION THAT THIS COVID MAY

11:03AM   13      RETURN IN THE FALL IN SOME MANNER AND WE SHOULD BE COGNIZANT OF

11:03AM   14      THAT.

11:03AM   15            WE'RE SO GRATEFUL FOR OUR HEALTH CARE PROFESSIONALS AND

11:03AM   16      ALL OF THOSE SCIENTISTS AND BIOENGINEERS WHO ARE WORKING

11:03AM   17      DILIGENTLY TO TRY AND TO FIND SOME TYPE OF SERUM THAT CAN

11:03AM   18      PROTECT ALL OF US, A VACCINE THAT CAN PROTECT ALL OF US FROM

11:03AM   19      THIS DISEASE.

11:03AM   20            BUT WE ALL KNOW THAT TAKES TIME, IT DOES TAKE TIME.

11:03AM   21            WE DON'T KNOW -- WE CAN'T FORECAST WHAT THE HEALTH

11:03AM   22      CONDITIONS OF THIS COUNTRY WILL BE IN RELATION TO COVID.      WE

11:03AM   23      ALL, WE JUST ARE IN DESPAIR WHEN WE READ ABOUT THE LOSS THAT

11:03AM   24      THIS COVID HAS CAUSED ACROSS THE COUNTRY.     WE REALLY ARE -- OUR

11:04AM   25      HEARTS ARE IN PAIN WHEN WE READ ABOUT NEW YORK, DETROIT, AND



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11:04AM    1      OTHER CITIES, LOUISIANA, AND OTHER CITIES.        SO WE'RE MINDFUL OF

11:04AM    2      THAT.    AND THAT PRESSES UPON ALL OF US AS WE LOOK FORWARD TO

11:04AM    3      WHAT WE CAN DO WITH OUR CASE.

11:04AM    4            SO LET ME SAY WHAT I THINK WHAT I'D LIKE TO DO IS TO SET A

11:04AM    5      DATE FOR TRIAL, RESCHEDULE THE TRIAL DATE TO THE OCTOBER 26TH

11:04AM    6      DATE.    I HAVE YOUR SCHEDULE IN DOCUMENT 372.      I DO THINK THAT

11:04AM    7      WE SHOULD MAKE SOME CHANGES TO THAT SCHEDULE GOING FORWARD.

11:04AM    8              FOLKS, IF YOU HAVE YOUR SCHEDULES IN FRONT OF YOU, I'D

11:04AM    9      LIKE TO GO DOWN SOME OF THE DATES AND DEADLINES AND EVENTS THAT

11:04AM   10      YOU HAVE AND SUGGEST SOME CHANGES TO THAT.

11:05AM   11                   THE CLERK:   YOUR HONOR, MAY I JUST INTERJECT A

11:05AM   12      MOMENT?

11:05AM   13                   THE COURT:   YES.   YES.

11:05AM   14                   THE CLERK:   THIS IS ADRIANA.    COULD WE SET THE

11:05AM   15      OCTOBER DATE TO OCTOBER 27TH DATE TO TUESDAY?

11:05AM   16                   THE COURT:   YES, YES.     OCTOBER 27TH AT 9:00 A.M. FOR

11:05AM   17      JURY SELECTION.

11:05AM   18            GOING DOWN.   THIS IS FOUND ON PAGES 4 AND 5 OF 372.       I DO

11:05AM   19      NOTE THAT LET'S START THAT THERE'S AGREEMENT ON THE FIRST

11:05AM   20      SERVICE OF THE SUMMARY PURSUANT TO RULE 16, AND I'M NOT GOING

11:05AM   21      TO DISTURB THAT AT THIS POINT.        WE MAY HAVE SOME OTHER COMMENT

11:05AM   22      ON THAT IN A MOMENT.

11:06AM   23            THE GOVERNMENT IN IT'S RULE 16(A) DISCLOSURES WHICH BEGINS

11:06AM   24      ON LINE 26, I THINK THE DATE, WHAT I'D LIKE TO DO IS TO ADOPT

11:06AM   25      THE GOVERNMENT DATE ON THAT.



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11:06AM    1            I'M LOOKING IN THAT BOX, AND PERHAPS YOU CAN HELP ME,

11:06AM    2      COUNSEL, LINE 27 AND 28 IT INDICATES THE GOVERNMENT SERVE

11:06AM    3      WITNESSES AND EXHIBITS LISTS FOR CASE-IN-CHIEF.

11:06AM    4            WAS THAT THE SAME PROPOSED DATE?

11:06AM    5                  MR. LEACH:   YEAH, THAT WAS INTENDED TO BE JUNE 26TH,

11:06AM    6      2020.

11:06AM    7                  THE COURT:   OKAY.   AS WELL AS PAGE 5 BEGINNING AT

11:06AM    8      LINE 1, THE 801 --

11:06AM    9                  MR. LEACH:   YES.

11:06AM   10                  THE COURT:   OKAY.   THANK YOU.

11:06AM   11            THEN ALSO ON THE RULE 16B DISCLOSURES ON LINE 3 I'LL ADOPT

11:06AM   12      THE GOVERNMENT'S DATE TO THE LATER DATE OF JULY 6TH ON THAT.

11:06AM   13            THE NEXT BOX, WHICH APPEARS ON LINE 4 THROUGH 6, I'M GOING

11:07AM   14      TO DEFER THAT FOR NOW.

11:07AM   15            ACTUALLY, THE FIRST BOX THAT I TALKED ABOUT, I'M SORRY TO

11:07AM   16      GO BACK, ON PAGE 4, LINE 23, I'M GOING TO DEFER THAT AS WELL

11:07AM   17      FOR NOW.

11:07AM   18            RETURNING TO PAGE 5, NOW WE'RE AT LINE 6 THROUGH 8, THE

11:07AM   19      DEFENSE SERVICE OF WITNESS AND EXHIBIT LISTS, I'M GOING TO

11:07AM   20      ADJUST THAT DATE TO JULY 24TH.

11:07AM   21            AND THEN THE STATUS CONFERENCE WILL BE SET FOR,

11:07AM   22      MS. KRATZMANN, JULY 20TH, JULY 20TH, AT 10:00 A.M.

11:07AM   23            NOW, AT THAT TIME ON JULY 20TH, WE WILL HAVE A BETTER IDEA

11:08AM   24      AS TO WHETHER WE'RE GOING TO GO FORWARD WITH THE OCTOBER TRIAL

11:08AM   25      DATE OR WHETHER WE NEED TO ADJUST THE SCHEDULE IN SOME OTHER



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11:08AM    1      MANNER.

11:08AM    2            I'M NOT GOING TO -- AT THIS TIME I'M NOT GOING TO

11:08AM    3      ADOPT ANY OF THE OTHER -- YOU HAVE OTHER DATES THAT BEGIN IN

11:08AM    4      AUGUST AND OTHERS AND MOTIONS IN LIMINES AND THOSE DATES.        I'D

11:08AM    5      LIKE TO DEFER THOSE DATES.     I THINK WE CAN WAIT UNTIL THE

11:08AM    6      JULY 20TH DATE TO SEE WHETHER OR NOT AND HOW WE'RE GOING TO

11:08AM    7      PROCEED AND GO FORWARD THERE.

11:08AM    8            SO I'D LIKE YOU TO -- OBVIOUSLY YOU'RE GOING TO PREPARE

11:08AM    9      THE CASE AS BEST YOU CAN, I KNOW THAT, BUT I DON'T THINK YOU

11:08AM   10      NEED TO PAY ATTENTION TO THOSE ITEMS THAT APPEAR FROM LINES 10

11:08AM   11      DOWN TO 19 AT THIS POINT.     I'D LIKE YOU TO FOCUS YOUR EFFORTS,

11:08AM   12      OF COURSE, ON THE OTHER WORK THAT YOU NEED TO DO, AND WE CAN

11:08AM   13      LOOK AT THOSE REMAINING ISSUES, THE IN LIMINE AND OTHER ISSUES,

11:09AM   14      ON THE JULY 20TH STATUS CONFERENCE DATE.

11:09AM   15            ANY QUESTIONS FROM EITHER SIDE ABOUT THIS ADJUSTMENT?

11:09AM   16                  MR. LEACH:    NOT FROM THE GOVERNMENT, YOUR HONOR.

11:09AM   17      THAT'S CLEAR TO US.      THANK YOU.

11:09AM   18                  THE COURT:    MR. WADE?

11:09AM   19                  MR. WADE:    NO, YOUR HONOR.   I TAKE IT AS WE GET

11:09AM   20      CLOSER TO THESE EVENTS WE'LL PERHAPS HAVE COMMUNICATION THROUGH

11:09AM   21      MS. KRATZMANN AS TO WHETHER THESE PROCEEDINGS WILL BE

11:09AM   22      TELEPHONIC OR IN PERSON?

11:09AM   23            OBVIOUSLY, I THINK WE ALL HOPE WE'RE IN A SITUATION WHERE

11:09AM   24      THEY'RE IN PERSON, BUT WE WILL SEE WHAT IS PRUDENT AT THAT

11:09AM   25      TIME.



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11:09AM    1                   THE COURT:   YES.   THANK YOU, MR. WADE.

11:09AM    2             I'M HOPEFUL THAT WE CAN, THAT THINGS CHANGE IN OUR COUNTRY

11:09AM    3      AND IN OUR REGIONS THAT WE COULD HAVE IN-PERSON MEETINGS.

11:09AM    4             AGAIN, I'LL JUST SAY I ALWAYS ENJOY ALL OF YOU IN THE

11:10AM    5      COURTROOM.    YOU'RE ALL PROFESSIONAL, AND I APPRECIATE THAT.      I

11:10AM    6      KNOW THAT YOU'RE TRIAL LAWYERS AND THE PLACE YOU WORK IS THE

11:10AM    7      COURTROOM, NOT YOUR LIVING ROOMS, KITCHENS, OR HOME OFFICES,

11:10AM    8      WHICH OF COURSE YOU DO THAT IN THE EVENINGS AND INTO THE WEE

11:10AM    9      HOURS OF THE NIGHT, I RECOGNIZE THAT.

11:10AM   10             BUT THE PLACE YOU DO YOUR BUSINESS IS IN THE COURTROOM,

11:10AM   11      AND ALL OF YOU HAVE GREAT FLUENCY FOR THE COURTROOM, AND SO I

11:10AM   12      AGREE.    I HOPE THAT WE CAN OPEN OUR COURTROOMS SOON, AND WE ALL

11:10AM   13      CAN ENJOY EACH OTHER'S COMPANY.

11:10AM   14             WE'RE WORKING ON WHAT WE NEED TO DO TO ESTABLISH VIDEO

11:10AM   15      CONFERENCING IN THE INTERIM, AND SO IF WE NEED IT, HOPEFULLY

11:10AM   16      WE'LL HAVE SOMETHING SET UP FOR FUTURE STATUS CONFERENCES IF WE

11:10AM   17      CAN.

11:10AM   18             ALSO, AS TO ANY OTHER MATTERS, AS YOU POINT OUT, MR. WADE,

11:10AM   19      MS. KRATZMANN WILL BE ABLE TO COMMUNICATE ANY OTHER SCHEDULE

11:11AM   20      CHANGES FOR ANY OTHER MATTERS AS THEY NEED TO COME UP, AND I

11:11AM   21      DON'T KNOW IF THAT ANSWERS YOUR QUESTION.       I HOPE IT DOES.

11:11AM   22                   MR. WADE:    IT DOES.   THANK YOU, YOUR HONOR.

11:11AM   23                   THE COURT:   ALL RIGHT.   ANYTHING ELSE THAT EITHER

11:11AM   24      SIDE WISHES TO RAISE AT THIS TIME?

11:11AM   25             MR. LEACH, ANYTHING FROM THE GOVERNMENT'S TEAM?



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11:11AM    1                  MR. LEACH:   YOUR HONOR, IN LIGHT OF THE CHANGE OF

11:11AM    2      THE TRIAL DATE FROM OCTOBER -- WELL, FROM THE END OF JULY TO

11:11AM    3      OCTOBER 27TH, 2020, I THINK IT WOULD BE APPROPRIATE FOR THE

11:11AM    4      COURT TO EXCLUDE TIME FOR EFFECTIVE PREPARATION IN LIGHT OF THE

11:11AM    5      COVID CRISIS AND EVERYTHING THAT MR. WADE HAS DESCRIBED.

11:11AM    6                  THE COURT:   THANK YOU.   I WAS GOING TO TURN TO

11:11AM    7      MR. WADE WHEN HIS COMMENTS -- DURING HIS COMMENTS AND ASK HIM

11:11AM    8      IF HE AGREES THAT TIME SHOULD BE EXCLUDED FOR EFFECTIVE

11:11AM    9      PREPARATION OF COUNSEL TO THE NEW TRIAL OF OCTOBER 26TH, 2020.

11:12AM   10            MR. WADE?

11:12AM   11                  MR. WADE:    YOUR HONOR, WE DO.   I BELIEVE IT ALSO MAY

11:12AM   12      BE COVERED BY ONE OF THE COURT'S GENERAL ORDERS AS WELL, BUT IN

11:12AM   13      ANY EVENT, WE DO AGREE.

11:12AM   14                  THE COURT:   ALL RIGHT.   THANK YOU THEN.

11:12AM   15            ANYTHING FURTHER FROM YOU, MR. WADE, AND YOUR TEAM?

11:12AM   16                  MR. WADE:    NOT AT THIS TIME, YOUR HONOR.   THANK YOU.

11:12AM   17                  THE COURT:   ALL RIGHT.   THANK YOU VERY MUCH.   THANK

11:12AM   18      YOU ALL FOR YOUR ATTENTION HERE.      WE WILL -- AND LET ME SAY, IF

11:12AM   19      EITHER PARTY WISHES TO HAVE ANOTHER STATUS OR A STATUS

11:12AM   20      CONFERENCE OR BRING ANYTHING TO THE COURT'S ATTENTION, PLEASE

11:12AM   21      FEEL FREE TO DO SO.

11:12AM   22            I'VE SET THE JULY 20TH DATE AS THE CALENDARED STATUS DATE

11:12AM   23      SO WE ALL HAVE AN EVENT HORIZON TO FOCUS ON.       BUT SHOULD THE

11:12AM   24      NEED ARISE OR A CHANGE OR SOMETHING HAPPENS, PLEASE CONTACT

11:12AM   25      MS. KRATZMANN, AND WE WILL OF COURSE ENGAGE THE STATUS OR OTHER



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11:12AM    1      HEARING AS NEEDED IF THE PARTIES REQUIRE.

11:12AM    2            ALL RIGHT.   THANK YOU.   LET ME THANK YOU ALL AGAIN.    IT'S

11:12AM    3      GOOD TO HEAR YOUR VOICES.     I LOOK FORWARD TO THE OPPORTUNITY

11:13AM    4      WHEN I CAN SEE YOUR FACES PERSONALLY AND WE CAN INVITE YOU BACK

11:13AM    5      TO A SAFE COURTROOM AND I CAN ENJOY YOUR COMPANY AND ALL OF

11:13AM    6      YOUR ASSISTANCE IN THIS INTERESTING CASE.

11:13AM    7            PLEASE BE SAFE, YOU AND YOUR FAMILIES.       I WISH YOU THE

11:13AM    8      BEST AND PLEASE BE SAFE AND WELL, AND WE'LL TALK AGAIN SOON.

11:13AM    9            ANYTHING FURTHER, MS. KRATZMANN?

11:13AM   10                  THE CLERK:   NO, YOUR HONOR.   THANK YOU.

11:13AM   11                  THE COURT:   ALL RIGHT.   THANK YOU.    WE'LL DISENGAGE

11:13AM   12      THE LINE NOW.   THANK YOU, COUNSEL.

11:13AM   13                  MR. WADE:    THANK YOU, YOUR HONOR.

11:13AM   14                  MR. LEACH:   THANK YOU VERY MUCH, YOUR HONOR.

11:13AM   15            (TELEPHONIC COURT CONCLUDED AT 11:13 A.M.)

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 1

 2

 3                            CERTIFICATE OF REPORTER

 4

 5

 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8      STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9      280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10      CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                  ______________________________
16                                IRENE RODRIGUEZ, CSR, RMR, CRR
                                  CERTIFICATE NUMBER 8074
17

18
                                  DATED:   JULY 20, 2020
19

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23

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 1

 2                          UNITED STATES DISTRICT COURT

 3                         NORTHERN DISTRICT OF CALIFORNIA

 4                                SAN JOSE DIVISION

 5
         UNITED STATES OF AMERICA,            )
 6                                            )   CR-18-00258-EJD
                            PLAINTIFF,        )
 7                                            )   SAN JOSE, CALIFORNIA
                     VS.                      )
 8                                            )   JULY 20, 2020
         ELIZABETH A. HOLMES AND RAMESH       )
 9       SUNNY BALWANI,                       )   PAGES 1 - 95
                                              )
10                          DEFENDANTS.       )
                                              )
11

12
                          TRANSCRIPT OF ZOOM PROCEEDINGS
13                    BEFORE THE HONORABLE EDWARD J. DAVILA
                           UNITED STATES DISTRICT JUDGE
14

15      A P P E A R A N C E S BY ZOOM:

16      FOR THE PLAINTIFF:        UNITED STATES ATTORNEY'S OFFICE
                                  BY: JOHN C. BOSTIC
17                                     JEFFREY B. SCHENK
                                  150 ALMADEN BOULEVARD, SUITE 900
18                                SAN JOSE, CALIFORNIA 95113

19                                BY:  ROBERT S. LEACH
                                       VANESSA BAEHR-JONES
20                                1301 CLAY STREET, SUITE 340S
                                  OAKLAND, CALIFORNIA 94612
21
              (APPEARANCES CONTINUED ON THE NEXT PAGE.)
22
        OFFICIAL COURT REPORTER:
23                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
24
              PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                  TRANSCRIPT PRODUCED WITH COMPUTER



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 1
        A P P E A R A N C E S BY ZOOM: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:     WILLIAMS & CONNOLLY LLP
                                  BY: KEVIN M. DOWNEY
 4                                     LANCE A. WADE
                                       PATRICK J. LOOBY
 5                                     KATHERINE A. TREFZ
                                       AMY M. SAHARIA
 6                                725 TWELFTH STREET, N.W.
                                  WASHINGTON, D.C. 20005
 7
                                  LAW OFFICE OF JOHN D. CLINE
 8                                BY: JOHN D. CLINE
                                  ONE EMBARCADERO CENTER, SUITE 500
 9                                SAN FRANCISCO, CALIFORNIA 94111

10
        FOR DEFENDANT BALWANI:    ORRICK, HERRINGTON & SUTCLIFFE LLP
11                                BY: JEFFREY COOPERSMITH
                                       AMANDA MCDOWELL
12                                701 FIFTH AVENUE, SUITE 5600
                                  SEATTLE, WASHINGTON 98104
13
                                  BY: STEPHEN A. CAZARES
14                                77 SOUTH FIGUEROA STREET, SUITE 3200
                                  LOS ANGELES, CALIFORNIA 90017
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           1      SAN JOSE, CALIFORNIA                                  JULY 20, 2020

           2                               P R O C E E D I N G S

10:27AM    3            (COURT CONVENED AT 10:27 A.M.)

10:27AM    4                  THE COURT:    THANK YOU.   GOOD MORNING EVERYONE.

10:27AM    5      THANK YOU ALL FOR YOUR PATIENCE IN MANEUVERING WITH OUR

10:27AM    6      TECHNOLOGY HERE.    WE, OF COURSE, ARE IN THE BREAD BASKET OF

10:27AM    7      SILICON VALLEY AND OF COURSE EVERYTHING WORKED CORRECTLY THIS

10:27AM    8      MORNING.    IT'S GOOD TO SEE EVERYONE.

10:27AM    9            LET ME START OFF AND WHY DON'T WE CAPTURE APPEARANCES OF

10:27AM   10      EVERYONE.   THIS IS 18-258, UNITED STATES VERSUS

10:27AM   11      ELIZABETH HOLMES AND UNITED STATES VERSUS RAMESH "SUNNY"

10:27AM   12      BALWANI.

10:27AM   13            WHY DON'T WE START WITH THE GOVERNMENT.      WHO APPEARS FOR

10:27AM   14      THE GOVERNMENT TODAY?

10:27AM   15                  MR. LEACH:    GOOD MORNING, YOUR HONOR.

10:27AM   16            THIS IS ROBERT LEACH ON BEHALF OF THE UNITED STATES, AND

10:28AM   17      JEFF SCHENK, JOHN BOSTIC, AND VANESSA BAEHR-JONES.

10:28AM   18                  THE COURT:    THANK YOU.   I'M GOING TO ASK YOU TO MOVE

10:28AM   19      YOUR MICROPHONE CLOSER TO YOU, PLEASE.

10:28AM   20                  MR. LEACH:    IS THAT BETTER?

10:28AM   21                  THE COURT:    YES, MUCH BETTER.   THANK YOU.

10:28AM   22            AND LET'S TURN THEN TO MS. HOLMES.

10:28AM   23                  MR. WADE:    GOOD MORNING, YOUR HONOR.

10:28AM   24            LANCE WADE ON BEHALF OF MS. HOLMES WHO IS PRESENT WITH ME

10:28AM   25      THIS MORNING, AND I'LL NOTE FOR THE RECORD ALSO ABLE TO



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10:28AM    1      COMMUNICATE WITH US SEPARATELY VIA TELEPHONE IF WE NEED TO

10:28AM    2      CONFER WITH HER PRIVATELY.      SHE IS IN A DIFFERENT LOCATION.

10:28AM    3            MY COLLEAGUES KEVIN DOWNEY, AMY SAHARIA, AND KATIE TREFZ

10:28AM    4      ARE WITH ME, AS IS MR. PATRICK LOOBY WHO I THINK HAS PROBABLY

10:28AM    5      BEEN BEHIND US BEFORE, YOUR HONOR, BUT THIS IS THE FIRST TIME

10:28AM    6      APPEARING BEFORE YOU, SO I'D LIKE TO INTRODUCE YOU TO

10:28AM    7      MR. LOOBY.

10:28AM    8                   THE COURT:   THANK YOU.   GOOD MORNING, MR. LOOBY.

10:29AM    9            THANK YOU ALL FOR BEING HERE.

10:29AM   10            MR. WADE, LET ME JUST ASK YOU, SIR, THE COVID CRISIS HAS

10:29AM   11      CAUSED US TO ENGAGE VIDEO CONFERENCING PROCEEDINGS FOR VARIOUS

10:29AM   12      HEARINGS IN LIGHT OF THE COURT'S DESIRE TO MITIGATE APPEARANCE

10:29AM   13      IN THE COURTROOMS FOR PUBLIC SAFETY AS WELL AS ALL OF YOUR

10:29AM   14      SAFETY.

10:29AM   15            DO I HAVE YOUR CLIENT'S CONSENT TO PARTICIPATE IN THIS

10:29AM   16      HEARING VIA VIDEO CONFERENCE?

10:29AM   17                   MR. WADE:    YOU DO, YOUR HONOR.

10:29AM   18                   THE COURT:   ALL RIGHT.   THANK YOU VERY MUCH.

10:29AM   19            THANK YOU, MS. HOLMES.

10:29AM   20            LET ME TURN TO MR. BALWANI THEN.     IF I COULD GET THE

10:29AM   21      APPEARANCES FOR MR. BALWANI.

10:29AM   22                   MR. COOPERSMITH:   YES.   GOOD MORNING, YOUR HONOR.

10:29AM   23            THIS IS JEFF COOPERSMITH ON BEHALF OF MR. BALWANI FROM

10:29AM   24      ORRICK, HERRINGTON & SUTCLIFFE.

10:29AM   25            MR. BALWANI IS ALSO PRESENT ON THE ZOOM.



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11:52AM    1      GOVERNMENT IS GOING TO BE REQUIRED TO PRODUCE SOME ADDITIONAL

11:52AM    2      FOUNDATIONAL INFORMATION AND BACKGROUND ON SOME OF THIS

11:52AM    3      TESTIMONY.

11:52AM    4            BUT AGAIN, WE'RE GUIDED BY MS. SAHARIA'S REVELATION THAT

11:52AM    5      THERE WILL BE ADDITIONAL LITIGATION ON THE SECOND SUPERSEDING

11:52AM    6      INDICTMENT AND THAT MIGHT DRIVE SOME OF THE THOUGHTS THAT WE

11:52AM    7      HAVE HERE NOW THAT MS. BAEHR-JONES AND HER TEAM HAS INFORMED US

11:53AM    8      THAT SOME OF THIS CONDUCT THAT APPEARS IN THE SECOND

11:53AM    9      SUPERSEDING INDICTMENT IS ACTUALLY SOME OF THE 404(B) EVIDENCE.

11:53AM   10            SO WHERE DOES THAT LEAVE US THEN, MR. LEACH?     WHAT ELSE

11:53AM   11      SHOULD WE TALK ABOUT?

11:53AM   12                   MR. LEACH:   YOUR HONOR, WE'RE ALSO SET FOR A STATUS

11:53AM   13      CONFERENCE TODAY ON THE OCTOBER 27TH TRIAL DATE.

11:53AM   14            I WILL SAY FROM THE GOVERNMENT'S PERSPECTIVE WE ARE READY

11:53AM   15      FOR TRIAL.    WE HAVE SERVED OUR WITNESS LISTS ON JUNE 26TH.       WE

11:53AM   16      ALSO SERVED OUR EXHIBIT LIST ON THE SAME DAY.       WE SERVED A

11:53AM   17      NUMBER OF TRIAL SUBPOENAS AND INSTRUCTED WITNESSES TO HOLD THE

11:53AM   18      OCTOBER DATE.

11:53AM   19            I WOULD NOTE MS. HOLMES HAS PRODUCED SOME OF HER RULE 16

11:53AM   20      DISCOVERY.    SO WE ARE READY TO GO.

11:54AM   21            I BELIEVE THE DEFENSE HAS SOME PERSPECTIVE ON THIS, AND I

11:54AM   22      THINK IT MIGHT BE APPROPRIATE TO HEAR FROM THEM ABOUT SOME OF

11:54AM   23      THE CHALLENGES THAT THEY SAY.

11:54AM   24            BUT FROM OUR PERSPECTIVE WE ARE READY TO GO AND WE'RE

11:54AM   25      READY TO ENGAGE ON WHATEVER DIALOGUE THE COURT WISHES TO HAVE



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11:54AM    1      ABOUT THE SPECIAL CIRCUMSTANCES COVID BRINGS IN THIS CASE OR

11:54AM    2      MIGHT BRING.

11:54AM    3            BUT, YOU KNOW, FROM THE GOVERNMENT'S PERSPECTIVE WE'RE

11:54AM    4      READY AND WE'RE ANXIOUS FOR THE TRIAL.

11:54AM    5                  THE COURT:   OKAY.    THANK YOU.    I APPRECIATE THAT.

11:54AM    6            WHAT ARE YOUR THOUGHTS ABOUT, AND OF COURSE THE DEFENSE

11:54AM    7      WILL DIRECT THIS, BUT WHAT ARE YOUR THOUGHTS ABOUT ADDITIONAL

11:54AM    8      MOTION PRACTICE THAT MS. SAHARIA HAS INFORMED US ABOUT TODAY?

11:54AM    9      ORDER THAT THEY FILE ANY MOTION TOMORROW AT NOON?

11:54AM   10                  MR. LEACH:   I WOULD BE WILLING TO GIVE THEM A LITTLE

11:54AM   11      BIT MORE TIME ON THAT, YOUR HONOR.      I'M NOT SURE EXACTLY OF THE

11:54AM   12      PARAMETERS ON WHAT THEY INTEND TO MOVE ON.        I CAN ANTICIPATE

11:54AM   13      SOME OF THEM, BUT I DON'T THINK THAT WE NEED AN EXTENDED

11:55AM   14      BRIEFING SCHEDULE.

11:55AM   15            I THINK THE GOVERNMENT WOULD PROBABLY LIKE TWO TO THREE

11:55AM   16      WEEKS TO RESPOND, BUT I THINK WE SHOULD GET A DATE ON CALENDAR

11:55AM   17      FOR THAT.

11:55AM   18            BUT WE HAVE A SENSE, BASED ON SOME OF THE COMMENTS TODAY,

11:55AM   19      WHAT THEY INTEND TO RAISE.       WE'LL RESPOND IN OUR OPPOSITION.

11:55AM   20            BUT I THINK THAT WOULD BE A GOOD THING FOR THE COURT TO

11:55AM   21      DO.

11:55AM   22                  THE COURT:   OKAY.    THANK YOU.

11:55AM   23            MR. WADE?   MS. SAHARIA?    MR. DOWNEY?

11:55AM   24                  MR. WADE:    IT'S MR. WADE, YOUR HONOR.    THANK YOU.

11:55AM   25            I THINK THERE ARE A COUPLE OF ISSUES TO ADDRESS HERE.          ONE



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11:55AM    1      RELATES TO THE MOTIONS AS YOU'VE REFERENCED, BUT REALLY I THINK

11:55AM    2      THAT'S PUTTING THE CART A LITTLE BIT BEFORE THE HORSE.

11:55AM    3            I THINK ONE OF THE PURPOSES OF THE STATUS CONFERENCE WAS

11:55AM    4      TO CHECK IN ON THE TRIAL DATE.     I THINK WHEN WE SET THE TRIAL

11:55AM    5      DATE FOR OCTOBER THE COURT PRUDENTLY SUGGESTED THAT WE HAVE A

11:55AM    6      STATUS CONFERENCE ABOUT THREE MONTHS OUT SO THAT WE COULD CHECK

11:55AM    7      AND SEE WHERE WE ARE FROM A PUBLIC HEALTH STANDPOINT.

11:55AM    8            I THINK AT THAT TIME, WHICH SEEMS LIKE A YEAR AGO, BUT IT

11:56AM    9      WAS JUST A COUPLE MONTHS AGO, I THINK WE WERE ALL OPTIMISTIC ON

11:56AM   10      OUR ABILITY TO MOVE FORWARD.

11:56AM   11            WE CERTAINLY, AS THE COURT CAN TELL FROM THESE MOTIONS,

11:56AM   12      HAVE BEEN WORKING VERY HARD WITH -- AS THE GOVERNMENT HAS AS

11:56AM   13      WELL, TO TRY TO CONTINUE TO SHARPEN THE ISSUES AND TRY TO

11:56AM   14      PROCEED TO A POSITION WHERE WE WOULD BE READY TO TRY THE CASE.

11:56AM   15            WE WERE ALSO OPTIMISTIC, I WOULD SAY, ABOUT THE ABILITY OF

11:56AM   16      OUR EXPERTS IN THE PUBLIC HEALTH FIELD AND OUR LEADERSHIP IN

11:56AM   17      THE COUNTRY TO BE ABLE TO ADDRESS THIS PUBLIC HEALTH CRISIS IN

11:56AM   18      A WAY THAT MIGHT MAKE THAT POSSIBLE.

11:56AM   19            I THINK THE COURT HAS ALWAYS EXPRESSED GREAT CARE AS IT

11:56AM   20      RELATES TO PUBLIC HEALTH ISSUES AND WITH RESPECT TO OUR

11:56AM   21      CLIENT'S CONSTITUTIONAL RIGHTS, AND WE'RE VERY APPRECIATIVE OF

11:57AM   22      THAT.

11:57AM   23            I THINK WE ALL WANT A TRIAL HERE THAT IS SAFE FOR ALL

11:57AM   24      TRIAL PARTICIPANTS FROM A PUBLIC HEALTH STANDPOINT BUT ALSO

11:57AM   25      SAFE FROM A CONSTITUTIONAL STANDPOINT WHERE OUR CLIENT HAS ALL



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11:57AM    1      OF THE RIGHTS THAT SHE'S ENTITLED TO GIVEN THAT HER LIBERTY IS

11:57AM    2      IN JEOPARDY.

11:57AM    3            THERE ARE A COUPLE OF FACTORS ABOUT THIS CASE THAT MAKE

11:57AM    4      PROCEEDING TO TRIAL UNIQUELY DIFFICULT ANY TIME SOON.

11:57AM    5            FIRST, OBVIOUSLY THIS IS NOT A TYPICAL ONE WEEK OR EVEN

11:57AM    6      TWO WEEK TRIAL.    THIS IS SET TO BE A VERY LENGTHY TRIAL.

11:57AM    7            EVEN AFTER THE CASE WAS SEVERED, I THINK THE COURT KNOWS

11:57AM    8      THE GOVERNMENT HAS INDICATED THAT IT INTENDS TO PROCEED WITH

11:57AM    9      THE SAME LENGTH OF CASE AND IT INTENDS TO CALL THE SAME NUMBER

11:57AM   10      OF WITNESSES, INDEED THE SUPERSEDING INDICTMENT EXPANDED THE

11:58AM   11      CASE SIGNIFICANTLY.

11:58AM   12            AS A RESULT OF THAT WE'RE LOOKING AT A THREE MONTH TRIAL,

11:58AM   13      PERHAPS MORE, TO MOVE THIS CASE FORWARD TO COMPLETION.

11:58AM   14            OBVIOUSLY ALONG WITH A TRIAL OF THAT LENGTH, PROCEEDING IN

11:58AM   15      THE MIDST OF A PANDEMIC COME GREAT RISKS.     THERE ARE -- WE WILL

11:58AM   16      ALL -- THERE WILL BE 30 TRIAL PARTICIPANTS WHO WILL BE IN AN

11:58AM   17      INDOOR CONFINED SPACE WHICH THE CDC AND OTHER PUBLIC HEALTH

11:58AM   18      EXPERTS TELL US IT IS NOT ADVISABLE UNDER CURRENT CONDITIONS.

11:58AM   19            EVEN IF MASKED, EVEN IF DISTANCED, ISSUES RAISE OTHER

11:58AM   20      POTENTIAL CONCERNS AS IT RELATES TO OUR CLIENT'S CONSTITUTIONAL

11:58AM   21      RIGHTS.

11:58AM   22            JUST A TRIAL FOR THAT LENGTH OF TIME PRESENTS UNIQUE

11:58AM   23      OBSTACLES.

11:59AM   24            OBVIOUSLY WHAT COMES -- WHAT DRIVES THAT AMOUNT OF TIME

11:59AM   25      ARE THE NUMBER OF WITNESSES THAT WOULD BE CALLED AT TRIAL.         THE



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11:59AM    1      GOVERNMENT HAS IDENTIFIED A WITNESS LIST, HAS DISCLOSED A

11:59AM    2      WITNESS LIST TO THE DEFENSE IN THIS CASE RECENTLY.      IT

11:59AM    3      IDENTIFIES, IF YOU INCLUDE DOCUMENT CUSTODIANS, 170 WITNESSES.

11:59AM    4            THOSE WITNESSES COME FROM AT LEAST 15 DIFFERENT STATES,

11:59AM    5      INCLUDING MANY THAT ARE HOT SPOTS SUCH AS ARIZONA WHERE THERE

11:59AM    6      ARE 20 WITNESSES, TEXAS, GEORGIA, FLORIDA, AND ALL DIFFERENT

11:59AM    7      PARTS OF CALIFORNIA.

11:59AM    8            CDC GUIDANCE WOULD SUGGEST THAT IF ANY WITNESS WERE TO FLY

11:59AM    9      TO CALIFORNIA TO TESTIFY AT TRIAL, THEY SHOULD FIRST QUARANTINE

11:59AM   10      THEMSELVES FOR 14 DAYS BEFORE THEY EXPOSED THEMSELVES TO OTHERS

12:00PM   11      GIVEN THAT THEY'RE COMING FROM A PLACE WHERE THERE ARE A GREAT

12:00PM   12      NUMBER OF INFECTIONS.

12:00PM   13            HOW THAT IS PRUDENT -- THAT IS NOT PRUDENT.

12:00PM   14            SIMILARLY, I THINK THE COURT KNOWS BETTER THAN I DO

12:00PM   15      BECAUSE YOU ARE OBVIOUSLY LIVING THERE, THAT CALIFORNIA IS

12:00PM   16      EXPERIENCING A PARTICULARLY DIFFICULT PERIOD.      THE PANDEMIC

12:00PM   17      THERE STATISTICALLY HAS GOTTEN WORSE, NOT BETTER, SINCE IT

12:00PM   18      BEGAN.

12:00PM   19            THREE OF THE FOUR COUNTIES THAT PROVIDE JURORS THAT WOULD

12:00PM   20      SERVE IN A JURY POOL HERE ARE ON THE GOVERNOR'S MONITORING

12:00PM   21      LIST.    MANY ARE ROLLING BACK SOME OF THE OPENING MEASURES THAT

12:00PM   22      THEY HAD TAKEN INITIALLY EARLY ON AND ARE GOING IN THE WRONG

12:00PM   23      DIRECTION, AND MANY OF THE SCHOOL DISTRICTS FROM WHERE WE WOULD

12:00PM   24      DRAW JURORS ARE NOT GOING TO HAVE KIDS IN SCHOOL.

12:01PM   25            THE ABILITY TO GET AN IMPARTIAL JURY IN THIS SETTING FOR A



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12:01PM    1      TRIAL OF THIS LENGTH IS DOUBTFUL.     IT AT LEAST PRESENTS A LOT

12:01PM    2      OF LEGAL ISSUES THAT WOULD BE CHALLENGING.

12:01PM    3            AT MORE BASIC LEVEL, YOUR HONOR, AS WE THINK THROUGH THESE

12:01PM    4      STEPS AND WE THINK ABOUT THE WAYS IN WHICH THIS TRIAL MIGHT

12:01PM    5      PROCEED OVER THREE MONTHS, WHAT HAPPENS IF A MONTH AND A HALF

12:01PM    6      IN I WAKE UP WITH A SORE THROAT?     WHAT HAPPENS IF ONE OF THE

12:01PM    7      JURORS DOES OR THE COURT OR A MEMBER OF THE COURT STAFF?       DO WE

12:01PM    8      ADJOURN COURT FOR THE DAY?     DO WE QUARANTINE FOR 14 DAYS?   DO

12:01PM    9      WE QUARANTINE UNTIL WE GET A TEST RESULT?      THESE ARE

12:01PM   10      CHALLENGING ISSUES.

12:01PM   11            I KNOW THAT THESE ARE ISSUES THAT ARE NOT UNIQUE TO THIS

12:01PM   12      CASE.   I KNOW THAT THESE ARE ISSUES THAT THE COURT IS

12:02PM   13      STRUGGLING WITH IN MANY CASES, AND IT IS HAVING TO BALANCE

12:02PM   14      THOSE INTERESTS AND THOSE CONCERNS AGAINST OTHER CONSTITUTIONAL

12:02PM   15      RIGHTS SUCH AS DEMANDS FOR SPEEDY TRIAL, SITUATIONS IN WHICH

12:02PM   16      DEFENDANTS ARE IN CUSTODY, AND WE KNOW THAT THE COURT IS

12:02PM   17      LABORING TO DO THAT.

12:02PM   18            WE'VE WATCHED SOME OF THE PROCEEDINGS BEFORE OTHER COURTS

12:02PM   19      IN THIS DISTRICT.    WE ADMIRE, FRANKLY, THE BRAVERY WITH WHICH

12:02PM   20      MANY OF THE TRIAL PARTICIPANTS ARE PROCEEDING THERE RECOGNIZING

12:02PM   21      THAT THEY'RE AT RISK.

12:02PM   22            BUT THE PROCEEDINGS THAT WE HAVE SEEN SO FAR ARE SHORT IN

12:02PM   23      NATURE.   THEY DON'T INVOLVE -- THEY HAVEN'T INVOLVED TRIALS

12:02PM   24      THAT ARE NATIONAL IN SCOPE WITH WITNESSES SCATTERED ACROSS THE

12:02PM   25      UNITED STATES.



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12:02PM    1            SO WE HAVE UNIQUE FACTORS HERE THAT MAKE OUR OBSTACLES

12:02PM    2      RATHER EXTRAORDINARY.

12:02PM    3            AS THE COURT LIKELY KNOWS, IN ADDITION TO THE WORSENING

12:03PM    4      PUBLIC HEALTH CRISIS, WE ALSO HAVE PREDICTIONS FROM SOME OF THE

12:03PM    5      LEADING HEALTH EXPERTS IN THE FIELD, DR. FAUCI, DR. REDFIELD OF

12:03PM    6      THE CDC, THAT SUGGEST THAT THINGS COULD WELL GET WORSE IN THE

12:03PM    7      FALL AND WINTER AS A RESULT OF THE COMBINED EFFECT OF THE

12:03PM    8      INFLUENZA AND COVID-19 PANDEMIC.     THEY PREDICT THAT WE COULD

12:03PM    9      SEE NUMBERS AND CONDITIONS THAT ARE FAR WORSE.

12:03PM   10            WE WOULD SUGGEST TO THE COURT THAT WE RECOGNIZE THIS

12:03PM   11      REALITY.    THE GOVERNMENT HAS ALWAYS TALKED ABOUT THE IMPORTANCE

12:03PM   12      OF TRYING TO FIND A DATE.    THE GOVERNMENT HAS ALWAYS TALKED

12:03PM   13      ABOUT THE IMPORTANCE OF TRYING TO BE REALISTIC ABOUT THAT, AND

12:03PM   14      WE'VE AGREED AND WE'VE TRIED TO DO THAT, AND I KNOW THE COURT

12:03PM   15      HAS, TOO.

12:03PM   16            WE THINK A TRIAL ANY TIME SOON IS JUST NOT REALISTIC.

12:04PM   17      IT'S JUST NOT SAFE.

12:04PM   18            WE THINK WE SHOULD RECOGNIZE THAT, AND WE THINK WE SHOULD

12:04PM   19      ADJOURN THE TRIAL UNTIL NEXT YEAR.

12:04PM   20            I WOULD SUGGEST MS. HOLMES TAKING THE SLOT THAT IS

12:04PM   21      CURRENTLY RESERVED FOR MR. BALWANI IN HIS TRIAL IN APRIL OF

12:04PM   22      NEXT YEAR WOULD BE PRUDENT.    THAT WOULD GET US THROUGH THE COLD

12:04PM   23      AND FLU SEASON.    WE COULD HAVE A STATUS CONFERENCE A COUPLE

12:04PM   24      MONTHS OUT WHERE WE WOULD AGAIN TALK ABOUT WHETHER PROCEEDING

12:04PM   25      IS REALISTIC, WHETHER PROCEEDING WILL ENDANGER PEOPLE AND



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12:04PM    1      ENDANGER WITNESSES OR OTHER TRIAL PARTICIPANTS.

12:04PM    2            AND IF WE DO THAT, WE CAN ALSO AVOID DANGERS AND

12:04PM    3      COLLATERAL CONSEQUENCES THAT WILL COME FROM SERVING.      GOING OUT

12:04PM    4      AND SERVING A BUNCH OF TRIAL SUBPOENAS RIGHT NOW, THE COURT HAS

12:04PM    5      MAYBE SEEN THAT IS NOT AN EVENT THAT IS VERY WELL RECEIVED BY

12:05PM    6      WITNESSES IN THE PRESENT HEALTH SITUATION.

12:05PM    7            I'M SURE -- I KNOW THE COURT WAS WORKING FROM HOME FOR

12:05PM    8      SOME TIME PERIOD.    WHEN THERE'S A KNOCK AT THE DOOR IT'S EVEN

12:05PM    9      SOMEWHAT UNSETTLING FOR A LOT OF PEOPLE THESE DAYS, AND WHEN

12:05PM   10      IT'S A PROCESS SERVER IT'S PARTICULARLY UNSETTLING.

12:05PM   11            SO I APPRECIATE THAT THE COURT SET THIS STATUS CONFERENCE

12:05PM   12      TO HAVE THIS DIALOGUE NOW, AND I APPRECIATE THE CARE THAT THE

12:05PM   13      COURT HAS GIVEN TO THESE ISSUES, AND I THINK MOVING THE TRIAL

12:05PM   14      DATE WOULD BE PRUDENT.

12:05PM   15            NOW, WE HAVE AND WE'VE TALKED BEFORE ABOUT MOMENTUM THAT

12:05PM   16      WE HAVE IN THIS CASE IN TERMS OF MAKING PROGRESS AND MOVING IT

12:05PM   17      TOWARD TRIAL.   I'M CONFIDENT THAT WE'LL CONTINUE TO KEEP THAT

12:05PM   18      MOMENTUM, AND THAT WE WILL ALL WORK HARD TO BE IN THE BEST

12:05PM   19      POSSIBLE POSITION TO TRY THIS CASE IN AN ORDINARILY WAY BEFORE

12:05PM   20      THE COURT WHEN WE ARE ABLE TO DO SO.

12:05PM   21            WITH RESPECT TO THESE OTHER DATES WITH THE MOTIONS, ET

12:06PM   22      CETERA, I THINK WE SHOULD DO WHAT PARTIES DO AND ONCE WE GET

12:06PM   23      SOME DIRECTION FROM THE COURT ON THE TRIAL DATE, WE SHOULD MEET

12:06PM   24      AND CONFER WITH THE GOVERNMENT ABOUT THE REMAINING DATES AND

12:06PM   25      COME UP WITH A PROPOSED SCHEDULE THAT WE HOPEFULLY AGREE ON AND



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12:06PM    1      SUBMIT IT TO THE COURT AND SET A SCHEDULE THEREAFTER.

12:06PM    2            I WILL NOTE THAT ON THE MOTIONS TO DISMISS, WE ACTUALLY

12:06PM    3      THINK THAT THEY ARE ACTUALLY MORE COMPLICATED THIS TIME THAN

12:06PM    4      THEY WERE LAST TIME.

12:06PM    5            WE ANTICIPATE AND WE STARTED SOME WORK ON THEM IN

12:06PM    6      ANTICIPATION THAT THIS INDICTMENT MIGHT COME, BUT WE ANTICIPATE

12:06PM    7      THAT THERE COULD BE FIVE OR SIX MOTIONS TO DISMISS.

12:06PM    8            WE HEAR THE GOVERNMENT THAT THEY WILL WANT A FAIR AMOUNT

12:06PM    9      OF TIME TO FILE OPPOSITIONS TO THAT, AND OBVIOUSLY THE COURT

12:06PM   10      NEEDS TIME TO CONSIDER IT.

12:06PM   11            SO WE HAVE PLENTY OF WORK TO DO IN THE MEANTIME.

12:06PM   12            YOU KNOW, THIS INDICTMENT CAME OBVIOUSLY MANY YEARS INTO

12:06PM   13      THE CASE WITH RESPECT TO EVENTS THAT HAVE BEEN, YOU KNOW, MANY,

12:07PM   14      MANY YEARS AGO AND HAVE BEEN KNOWN TO THE GOVERNMENT FOR A LONG

12:07PM   15      TIME.    THEY HAVE A RIGHT TO PROCEED AS THEY HAVE, BUT IT DOES

12:07PM   16      HAVE SOME EFFECT ON GIVING US A LITTLE MORE WORK TO DO.

12:07PM   17            THE COURT HAS MENTIONED SOME DISCLOSURES THAT MIGHT

12:07PM   18      BENEFIT FROM SUPPLEMENTATION AS WELL AS A RESULT OF MAYBE

12:07PM   19      ORDERS THAT ARE GOING TO COME FROM THE COURT AND AS A RESULT OF

12:07PM   20      THE SUPERSEDING INDICTMENT.    SO I THINK WE HAVE A LOT OF WORK

12:07PM   21      TO DO.

12:07PM   22            I THINK WE'LL BE MORE THAN BUSY ENOUGH BETWEEN NOW AND

12:07PM   23      APRIL, AND I WOULD ASK THAT THE COURT CONSIDER THIS REQUEST AND

12:07PM   24      BE PREPARED TO ADDRESS ANY INQUIRIES THAT THE COURT MAY HAVE.

12:07PM   25                  THE COURT:   THANK YOU, MR. WADE.



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12:07PM    1            MR. WADE, LET ME ASK YOU, I APPRECIATE YOU RECOGNIZING THE

12:07PM    2      MOMENTUM AND THE MOMENTUM AND THE EFFORTS THAT BOTH SIDES AND

12:07PM    3      YOUR TEAMS HAVE PUT IN THIS CASE.

12:07PM    4            YOU PROBABLY UNDERSTAND THE RETICENCE THAT I MIGHT HAVE TO

12:08PM    5      TAKE THE FOOT OFF THE GAS PEDAL.     THAT JUST MAKES THE FINISH

12:08PM    6      LINE MORE OBSCURE AND ACTUALLY SOMETIMES INCREASES THE

12:08PM    7      DISTANCE.

12:08PM    8            SO I'M CURIOUS IF WE CAN MAINTAIN MOMENTUM, IF THE COURT

12:08PM    9      WERE NOT TODAY TO DISTURB THE TRIAL DATE, LEAVE THE TRIAL DATE

12:08PM   10      IN PLACE.   AND I RECOGNIZE AND WE ALL RECOGNIZE THAT THIS IS A

12:08PM   11      DYNAMIC SITUATION, BUT IF THE COURT WERE TO LEAVE THE TRIAL

12:08PM   12      DATE AS IS NOW, WHICH WOULD MANDATE THAT THE PARTIES CONTINUE

12:08PM   13      THEIR BEST EFFORTS TO CAPTURE ALL OF THE LITIGATION THAT YOU

12:08PM   14      FEEL IS NECESSARY WITH THAT OCTOBER 27TH TRIAL DATE, WOULD YOU

12:08PM   15      BE ABLE TO DO THAT?

12:08PM   16                  MR. WADE:   I THINK WE WOULD HAVE A VERY DIFFICULT

12:08PM   17      TIME WITH THE CURRENT INDICTMENT, YOUR HONOR, MOVING FORWARD IN

12:08PM   18      OCTOBER.    GIVEN THAT WE HAVE GOT A SUPERSEDING INDICTMENT THAT

12:08PM   19      MY GUESS IS OUR CLIENT IS ABOUT TO BE ARRAIGNED ON MAYBE IN A

12:09PM   20      FEW MINUTES HERE OR THE COURT WILL ENTER THE ORDER ON THE

12:09PM   21      WAIVER OF ARRAIGNMENT.    I THINK WE WILL HAVE A VERY, VERY

12:09PM   22      DIFFICULT TIME.

12:09PM   23            WE STILL HAVE MANY OPEN ISSUES THAT THESE MOTIONS IDENTIFY

12:09PM   24      SOME OF THEM.   THERE ARE MANY MORE.

12:09PM   25            WE DIDN'T BRING THEM TO THE COURT IN CONNECTION WITH THIS



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12:09PM    1       PROCEEDING BECAUSE WE'RE CONTINUING TO WORK WITH THE GOVERNMENT

12:09PM    2       TO TRY TO RESOLVE THEM.

12:09PM    3            BUT I DO NOT THINK EVEN WITH -- IF WE DIDN'T HAVE THE

12:09PM    4       PANDEMIC, THAT WE WOULD BE READY TO PROCEED GIVEN THE

12:09PM    5       SUPERSEDING INDICTMENT IN OCTOBER.

12:09PM    6            SO WE WOULD BE BACK IN A SITUATION WHERE, AS THE COURT

12:09PM    7       KNOWS, WE SUGGESTED PREVIOUSLY THAT THE APPROPRIATE DATE WOULD

12:09PM    8       BE AFTER THE FIRST OF THE YEAR EVEN WITHOUT THE PANDEMIC.

12:09PM    9            SO -- AND I DON'T THINK, FRANKLY, THAT KEEPING THE DATE

12:09PM   10       AND NOT TAKING SOME RELIEF NOW IS JUST GOING TO MAKE -- PRESENT

12:09PM   11       PROBLEMS AND, FRANKLY, SOME RISK FOR ALL BECAUSE IF THAT IS THE

12:10PM   12       CASE, WE'RE GOING TO HAVE TO EMBARK UPON SERVING TRIAL

12:10PM   13       SUBPOENAS ALMOST IMMEDIATELY, WE'RE GOING TO HAVE TO EMBARK

12:10PM   14       UPON SOME OTHER TRIAL PREPARATION ACTIVITY THAT MIGHT REQUIRE

12:10PM   15       TRAVEL AND THINGS THAT, FRANKLY, WE WOULD PREFER NOT TO DO IN

12:10PM   16       THE CURRENT HEALTH ENVIRONMENT.

12:10PM   17            I RECOGNIZE THE COURT'S DESIRE TO MOVE FORWARD.     I THINK

12:10PM   18       THE COURT HAS GOTTEN A SENSE OF THE CANDOR WITH WHICH WE LIKE

12:10PM   19       TO DEAL WITH THIS COURT IN EVERY ASPECT, AND I CAN TELL THE

12:10PM   20       COURT WE WILL MOVE FORWARD AGGRESSIVELY WITH RESPECT TO

12:10PM   21       EVERYTHING TO TRY TO MAKE PROGRESS AND GET THIS CASE READY.

12:10PM   22            YOU SAW MOTIONS THAT YOU REFERENCED AS MOTIONS THAT ARE

12:10PM   23       MOTION IN LIMINE LIKE.    THAT WAS BECAUSE WE RECOGNIZE THAT WE

12:10PM   24       WANT TO CONTINUE TO DO WORK TO GET INTO A SITUATION WHERE THE

12:10PM   25       ISSUES ARE RIPEN SO WE CAN PRESENT THEM TO THE COURT AND WE CAN



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12:11PM    1       BE IN THE BEST POSSIBLE POSITION TO PROCEED TO TRIAL.

12:11PM    2            BUT I DON'T THINK REALISTICALLY IN THE CURRENT HEALTH

12:11PM    3       ENVIRONMENT, WHICH HAS GOTTEN WORSE IN THESE MONTHS NOT BETTER,

12:11PM    4       WHERE WE HAVEN'T HAD THE ABILITY TO MEET WITH OUR CLIENT IN

12:11PM    5       MONTHS IN PERSON, WHERE WE DON'T HAVE THE ABILITY TO MEET WITH

12:11PM    6       WITNESSES, WHERE WE DON'T HAVE THE ABILITY TO MEET IN PERSON

12:11PM    7       WITH EXPERTS.

12:11PM    8            THERE'S A LOT THAT CAN BE DONE.      THERE'S A LOT THAT WE

12:11PM    9       HAVE DONE, BUT WE NEED LEAD TIME IN ADVANCE TO DO THAT.       IF

12:11PM   10       WE'RE FORCED TO DO IT, YOUR HONOR KNOWS WE WOULD DO IT, BUT IT

12:11PM   11       ENDANGERS PEOPLE, AND WE WOULD PREFER THAT WE WOULD NOT BE PUT

12:11PM   12       IN THAT CHOICE.

12:11PM   13            AND WE WOULD ASK THE COURT TO NOT PUT US IN THAT CHOICE.

12:11PM   14                    THE COURT:   ALL RIGHT.   THANK YOU, MR. WADE.

12:11PM   15            LET ME JUST ASK YOU ABOUT A COUPLE OF OTHER JUST TRIAL

12:11PM   16       PROTOCOLS.    VIDEOTAPING WITNESSES, DEPOSITION TYPE WITNESSES

12:11PM   17       THAT WOULD BE PRESERVED FOR TRIAL.      I DON'T KNOW IF YOU'VE

12:11PM   18       THOUGHT ABOUT THAT OR WHAT YOUR THOUGHTS ARE.

12:12PM   19            ALSO, I'M CURIOUS TO KNOW WHAT YOUR THOUGHTS ARE ABOUT

12:12PM   20       PROCEEDINGS IN THE TRIAL BY VIDEO EITHER IN TOTAL OR PARTS OF

12:12PM   21       IT, THAT IS, WITNESS TESTIMONY BEING CAPTURED BY A VIDEO AS

12:12PM   22       OPPOSED TO IN PERSON.

12:12PM   23            I UNDERSTAND THERE ARE SOME CONFRONTATION ISSUES,

12:12PM   24       CONSTITUTIONAL CONFRONTATION ISSUES THAT YOU MIGHT WANT TO

12:12PM   25       SPEAK TO, BUT I'M JUST CURIOUS ABOUT YOUR THOUGHTS ON THAT.



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12:12PM    1                  MR. WADE:    YOUR HONOR, THEY'RE VERY INTERESTING

12:12PM    2       ISSUES AND RECOGNIZING THE COURT MAY RAISE THEM, I SPENT SOME

12:12PM    3       TIME INVESTIGATING AND RESEARCHING PROCEEDINGS.

12:12PM    4            THERE ARE -- OBVIOUSLY, I KNOW YOU'RE AWARE OF THE TRIAL

12:12PM    5       IN FRONT OF JUDGE ALSUP.     THAT HAS PROCEEDED.    THAT, OF COURSE,

12:12PM    6       WAS A TRIAL WHERE THE DEFENDANT WAS IN CUSTODY.      IT WAS IN THE

12:12PM    7       MIDST OF TRIAL WHEN THE PANDEMIC STARTED, AND THE JURY WAS HELD

12:12PM    8       OVER, AND THEN THERE THE PARTIES PROCEEDED VIA CONSENT.

12:13PM    9            BUT REGARDLESS, I TOOK IT AS AN OPPORTUNITY TO WATCH THAT

12:13PM   10       PROCEEDING.

12:13PM   11            I ALSO RESEARCHED.    THERE WAS A JURY TRIAL IN FLORIDA THAT

12:13PM   12       HAPPENED ON A PILOT BASIS IN STATE COURT WITH RESPECT TO AN

12:13PM   13       INSURANCE DISPUTE AND LOOKED AT THE FEEDBACK THAT LAWYERS ON

12:13PM   14       BOTH SIDES PROVIDED THERE WITH RESPECT TO THE ISSUES.

12:13PM   15            AND I THINK SUFFICE IT TO SAY I DON'T THINK THAT WE WOULD

12:13PM   16       BE COMFORTABLE PROCEEDING IN THAT MANNER IN A CASE LIKE THIS

12:13PM   17       GIVEN THE LIMITATIONS THAT WOULD RESULT FROM IT.

12:13PM   18            THERE ARE A NUMBER OF ISSUES AT EACH STEP OF THE TRIAL, IF

12:13PM   19       YOU CONSIDER JURY SELECTION ALL OF THE WAY THROUGH TO THE END,

12:13PM   20       BUT CONFRONTATION RIGHTS ARE AMONG THE BIGGEST ISSUES.

12:13PM   21            BUT THE REAL ISSUE, YOUR HONOR, IS WE COULDN'T DO THE

12:13PM   22       WHOLE THING REMOTELY.

12:13PM   23            AND SO IT DOESN'T REALLY SOLVE -- I DON'T THINK IT SOLVES

12:13PM   24       THAT MUCH ANYWAY.    WE CONFERRED WITH THE GOVERNMENT A BIT ON

12:14PM   25       THIS, WE HAD SOME DIALOGUE ON THESE TOPICS, AND WE DID NOT SEE



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12:14PM    1       A WORKABLE SOLUTION IN A CASE OF THIS SIZE.

12:14PM    2            NOW, I'M NOT SUGGESTING THAT'S NEVER WORKABLE.     THERE

12:14PM    3       COULD BE A CASE WHERE PARTIES CONSENT TO CERTAIN THINGS.      THERE

12:14PM    4       COULD BE A CASE WHERE OTHER RIGHTS LIKE SPEEDY TRIAL RIGHTS AND

12:14PM    5       THE LIKE NEED TO BE BALANCED, BUT THIS ISN'T THAT CASE.

12:14PM    6            THIS IS A CASE WHERE WE'RE NOT ASSERTING -- DEMANDING A

12:14PM    7       SPEEDY TRIAL.   WE'RE WILLING TO WAIVE THAT RIGHT.

12:14PM    8            WE ARE -- OUR CLIENT IS NOT IN CUSTODY, AND THERE'S A

12:14PM    9       SOLUTION TO THESE PROBLEMS.     IT'S NOT ONE THAT HAS A LOT OF

12:14PM   10       CURRENCY IN TODAY'S CLIMATE, BUT IT IS THERE NONETHELESS AND

12:14PM   11       THAT IS A LITTLE BIT OF PATIENCE.     WE THINK THAT WILL SOLVE

12:14PM   12       THESE CHALLENGES.

12:14PM   13                  THE COURT:    THANK YOU.   LET ME ASK YOU ABOUT DELAY

12:14PM   14       SOMETIMES AFFECTS WITNESS'S AVAILABILITY, EITHER THEY LEAVE THE

12:15PM   15       JURISDICTION OR HAVE PLANS TO MOVE, OR IN TODAY'S WORLD I DON'T

12:15PM   16       KNOW WHAT THAT MEANS, BUT SOME PEOPLE ARE LEAVING THEIR CURRENT

12:15PM   17       RESIDENCES FOR SAFER AREAS, AND THOSE AREAS MIGHT BE OUTSIDE OF

12:15PM   18       THE JURISDICTION OF THE COURT OR MIGHT PRESENT ADDITIONAL

12:15PM   19       PROBLEMS FOR GETTING A WITNESS TO COME BACK TO COURTS.

12:15PM   20            SOME WITNESSES MIGHT BECOME ILL SUCH THAT THEY'RE NOT

12:15PM   21       AVAILABLE FOR COURT OR SOME OTHER TERRIBLE THING MIGHT HAPPEN

12:15PM   22       IF WE DELAY.    YOU KNOW, DELAY BRINGS THESE TYPES OF ISSUES.

12:15PM   23            ARE THERE ANY -- IS THERE ANY EVIDENCE THAT YOU THINK THAT

12:15PM   24       MIGHT BE ABLE TO BE PRESERVED BY A DEPOSITION OR FOR A SPECIFIC

12:15PM   25       WITNESS BECAUSE THERE MIGHT BE A QUESTION ABOUT THE WITNESS'S



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12:15PM    1       AVAILABILITY IN THE FUTURE?     DO WE HAVE TO BE CONCERNED ABOUT

12:16PM    2       THAT IN THIS CASE?

12:16PM    3                  MR. WADE:    YOUR HONOR, THAT CAN BE A CONCERN.

12:16PM    4       OBVIOUSLY EVEN AT TIMES WITH THE THREE OR FOUR WEEK DELAY

12:16PM    5       SOMETIMES CIRCUMSTANCES WITH WITNESSES CHANGE OR UNFORTUNATE

12:16PM    6       THINGS CAN HAPPEN TO WITNESSES.

12:16PM    7            WE HAVE NOT SEEN ANY INDICATION OF THAT IN THIS CASE.

12:16PM    8            THE CIRCUMSTANCES YOU PRESENT, YOUR HONOR, WHERE PEOPLE

12:16PM    9       ARE GOING TO DIFFERENT PLACES EVEN WITHIN THE COUNTRY BECAUSE

12:16PM   10       OF THE CIRCUMSTANCES ACTUALLY IS ONE OF THE CHALLENGES WITH

12:16PM   11       PROCEEDING TO TRIAL IN THIS ENVIRONMENT BECAUSE IT'S HARD TO

12:16PM   12       LOCATE PEOPLE.   IT'S HARD TO LOCATE WITNESSES RIGHT NOW.

12:16PM   13            SO CERTAINLY IF THE GOVERNMENT WERE TO THINK THAT WAS AN

12:16PM   14       ISSUE AND THOUGHT THERE WAS A NEED TO PRESERVE TESTIMONY, THE

12:16PM   15       GOVERNMENT COULD RAISE THAT ISSUE WITH US AND WE COULD MEET AND

12:16PM   16       CONFER WITH THE GOVERNMENT AND CONSIDER THEIR REQUEST AND

12:16PM   17       WHETHER WE WOULD CONSENT TO IT.

12:16PM   18            WE DON'T PRESENTLY SEE THE NEED ON BEHALF OF MS. HOLMES TO

12:17PM   19       PRESERVE ANY TESTIMONY AT THIS TIME.

12:17PM   20                  THE COURT:   ALL RIGHT.   I'M CURIOUS.   DO YOU HAVE

12:17PM   21       THE WITNESS LIST, THE GOVERNMENT'S WITNESS LIST?

12:17PM   22                  MR. WADE:    I DO.

12:17PM   23                  THE COURT:   AND I'LL TURN THIS TO MR. LEACH.     THIS

12:17PM   24       IS A QUESTION FOR HIM BECAUSE I'M JUST CURIOUS, MR. LEACH,

12:17PM   25       WHETHER YOU HAVE CONCERNS ABOUT ANY WITNESS'S AVAILABILITY



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12:17PM    1       EITHER BECAUSE OF GEOGRAPHIC REASONS OR PERHAPS HEALTH REASONS

12:17PM    2       OR OTHER REASONS THAT MIGHT PRESENT?

12:17PM    3                  MR. LEACH:   YES.   THANK YOU, YOUR HONOR.

12:17PM    4            IF I COULD RESPOND BRIEFLY TO SOME OF THE THINGS THAT

12:17PM    5       MR. WADE IS RAISING BECAUSE I AGREE WITH MANY OF THE CHALLENGES

12:17PM    6       MR. WADE IS PRESENTING.

12:17PM    7            BUT IN TERMS OF PRESERVING WITNESS TESTIMONY, I THINK IT'S

12:17PM    8       A SMALL MINORITY OF WITNESSES THAT WOULD FALL INTO THE CATEGORY

12:17PM    9       THAT THE COURT IS DESCRIBING.    I THINK THERE ARE SOME WITNESSES

12:18PM   10       WHO ARE OVER THE AGE OF 65 WHERE I DON'T HAVE ANY CURRENT

12:18PM   11       REASON TO THINK THAT THEY WOULD BE UNAVAILABLE ON A PARTICULAR

12:18PM   12       DATE, BUT IT'S SOMETHING THAT THE GOVERNMENT IS GIVING THOUGHT

12:18PM   13       TO, BUT IT'S A SMALL NUMBER OF WITNESSES AND I DON'T THINK

12:18PM   14       WOULD EXPEDITE THE TRIAL OR PRESENT SOME SPECIAL NEED FOR ONE

12:18PM   15       DATE VERSUS ANOTHER.

12:18PM   16            AND CERTAINLY TO THE EXTENT THAT WE CAN REACH AGREEMENT

12:18PM   17       WITH COUNSEL ON THAT, I THINK IT WOULD MEET THE STANDARD FOR A

12:18PM   18       RULE 15 DEPOSITION, BUT I THINK FROM THE GOVERNMENT'S

12:18PM   19       PERSPECTIVE THAT'S A SMALL CATEGORY OF WITNESSES AND IT RELATES

12:18PM   20       MORE TO AGE THAN IT DOES TO A CONCERN THAT A WITNESS WOULD NOT

12:18PM   21       BE IN A JURISDICTION WHERE WE COULD COMPEL THEIR ATTENDANCE

12:18PM   22       WITH THE COURT.

12:18PM   23            MORE BROADLY, I THINK IT'S IMPORTANT TO EMPHASIZE I AGREE

12:18PM   24       WITH SOME OF THE THINGS THAT MR. WADE IS SAYING.     I THINK THE

12:19PM   25       WORK THAT NEEDS TO BE DONE FOR THE TRIAL CAN BE DONE BETWEEN



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12:19PM    1       NOW AND OCTOBER 28TH, BUT I WOULD PUSH BACK ON THE SOLUTION OF

12:19PM    2       KEEPING THAT DATE WITH AN EYE TOWARDS IT IS JUST GOING TO BE

12:19PM    3       MOVED.   I THINK THAT'S WORSE FOR ALL OF THE PARTIES.

12:19PM    4            FROM THE GOVERNMENT'S PERSPECTIVE, WE'RE READY TO GO, AND

12:19PM    5       IT'S IMPORTANT THAT THIS CASE GO EXPEDITIOUSLY.     THE FRAUD HERE

12:19PM    6       IS IN THE HUNDREDS OF MILLIONS OF DOLLARS.     THERE ARE NUMEROUS

12:19PM    7       VICTIMS ON THE PATIENT SIDE AND ON THE INVESTOR SIDE.

12:19PM    8            SO WE THINK IT'S IMPORTANT THAT IT GO EXPEDITIOUSLY.

12:19PM    9            BUT MANY OF THE CHALLENGES THAT MR. WADE IS MENTIONING ARE

12:19PM   10       REAL CHALLENGES AND UNIQUE CHALLENGES TO THIS CASE.

12:19PM   11            FROM THE GOVERNMENT'S PERSPECTIVE AT LEAST 16 OF OUR

12:19PM   12       WITNESSES ARE OVER THE AGE OF 65, WHICH IS ONE OF THE COVID

12:20PM   13       RISK FACTORS.    A LARGE MAJORITY OF THE WITNESSES, AS MR. WADE

12:20PM   14       POINTS OUT, ARE FROM OUT OF TOWN.    MANY OF THE WITNESSES ARE IN

12:20PM   15       HOT SPOTS LIKE PHOENIX, TEXAS, AND FLORIDA, AND THE LENGTH OF

12:20PM   16       THE TRIAL, I'M HOPEFUL TO BRING IT IN SHORTER THAN THE ESTIMATE

12:20PM   17       THAT MR. WADE GAVE, BUT IT'S GOING TO BE LONGER THAN YOUR

12:20PM   18       REGULAR TRIAL.   AND THOSE ARE REAL CHALLENGES, AND WE AGREE

12:20PM   19       THAT THOSE SHOULD BE TAKEN INTO ACCOUNT BY THE COURT.

12:20PM   20            I DO THINK APRIL OF 2021 IS TOO LONG.     THAT'S NINE MONTHS

12:20PM   21       AWAY.    THAT'S A LONG TIME, AND FROM THE GOVERNMENT'S

12:20PM   22       PERSPECTIVE, WE DON'T WANT TO RETAIN A DATE THAT WE DON'T THINK

12:20PM   23       IS GOING TO STICK.

12:20PM   24            WE THINK IF THE COURT IS INCLINED TO MOVE THE TRIAL, IT

12:20PM   25       SHOULD MOVE THE TRIAL TO FEBRUARY OF 2021 AND HAVE



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12:20PM    1       MR. BALWANI'S TRIAL FOLLOW SHORTLY AFTER THAT IN MAY OF 2021.

12:21PM    2            BUT IF THERE'S A REQUEST TO CONTINUE THE TRIAL, AND THAT'S

12:21PM    3       WHAT I HEARD FROM MR. WADE, I THINK IT'S INCUMBENT UPON ALL OF

12:21PM    4       US TO TAKE THOSE CHALLENGES INTO ACCOUNT.     THE GOVERNMENT IS

12:21PM    5       READY TO GO AND WILL GO ON WHATEVER DATE THE COURT SETS, BUT IT

12:21PM    6       SHOULD BE A REAL DATE, AND IT SHOULD BE A DATE WE'RE ALL GOING

12:21PM    7       TO HOLD.   AND IF THERE'S DOUBT ABOUT OCTOBER 27TH, I THINK THE

12:21PM    8       PRUDENT THING IS TO SET THE DATE WE ALL THINK THAT WE CAN MEET,

12:21PM    9       AND WE THINK IT'S EARLIER THAN APRIL.

12:21PM   10                  THE COURT:   THANK YOU, MR. LEACH.

12:21PM   11            LET ME JUST SAY, I APPRECIATE ALL OF YOUR CANDOR HERE.        WE

12:21PM   12       ALL ARE OF COMMON PURPOSE AND THAT IS TO GET THIS TRIAL ENGAGED

12:21PM   13       AS SOON AS IT'S READY TO BE ENGAGED AND ENGAGED SUCH THAT THE

12:21PM   14       DEFENDANT'S RIGHTS ARE PROTECTED, SHE AND HE, MR. BALWANI,

12:22PM   15       RECEIVE A FAIR TRIAL, AND THE GOVERNMENT, AND THEY RECEIVE A

12:22PM   16       FAIR TRIAL AND THAT IS CONSTITUTIONALLY APPROPRIATE.

12:22PM   17            THE COVID CRISIS HAS CERTAINLY INTERRUPTED THAT.      LET ME

12:22PM   18       SAY THAT THIS TRIAL IS A VERY, AS MR. LEACH POINTS OUT AND

12:22PM   19       MR. WADE POINTS OUT, IT'S VERY IMPORTANT TO YOUR CLIENT,

12:22PM   20       MR. WADE, IT'S VERY IMPORTANT TO THE INTEGRITY OF THE JUSTICE

12:22PM   21       SYSTEM AND THE VICTIMS AS MR. LEACH TELLS US, BUT THE OVERLAY

12:22PM   22       ON TOP OF ALL OF THIS, OF COURSE, IS THE PANDEMIC THAT HAS HIT

12:22PM   23       OUR COUNTRY.

12:22PM   24            AND I'M SURE REGRETTABLY NOW MOST PEOPLE KNOW SOMEBODY WHO

12:22PM   25       HAS PERSONAL CONTACT OR AT LEAST KNOWS SOMEBODY WHO HAS



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12:22PM    1       REGRETTABLY HAD THE VIRUS, RECOVERED, AND SOME OF US

12:22PM    2       REGRETTABLY MAY KNOW FOLKS WHO ARE NO LONGER WITH US BECAUSE OF

12:22PM    3       THAT VIRUS.   SO IT'S A REAL SHADOW THAT LOOMS OVER THE WORK

12:23PM    4       THAT WE DO, IT LOOMS OVER THE COUNTRY THAT WE LOVE, AND WE ALL

12:23PM    5       ARE TRYING TO DO OUR PART TO MAKE SURE THAT THE VIRUS DOESN'T

12:23PM    6       SPREAD AND PROTECT OUR FAMILIES AND LOVED ONES, OUR NEIGHBORS,

12:23PM    7       AND OUR COMMUNITIES.   THAT'S REALLY OUR RESPONSIBILITY, ISN'T

12:23PM    8       IT, TO OURSELVES AND TO OUR COMMUNITIES TO PROTECT OURSELVES IN

12:23PM    9       THAT WAY.

12:23PM   10            THAT RESPONSIBILITY IS NOT LOST ON ME.        AND I APPRECIATE

12:23PM   11       THE CANDOR OF MR. WADE, MR. LEACH, AND YOUR TEAMS BECAUSE I

12:23PM   12       KNOW YOU HAVE DISCUSSED THIS WITH ALL OF YOUR TEAMS, HOW BEST

12:23PM   13       TO PROTECT THE PUBLIC, HOW TO PROTECT YOU, TO PROTECT MY STAFF,

12:23PM   14       THANK YOU FOR RECOGNIZING THAT.

12:23PM   15            I'M IN THE COURTHOUSE NOW, AND I'M SITTING IN THE

12:23PM   16       CEREMONIAL COURTROOM ALONE.    I'M HERE BY WAY OF A LAPTOP, AND

12:23PM   17       MY STAFF ARE REMOTE.   I HAVE STAFF DOWN THE HALL IN MY

12:23PM   18       CHAMBERS, BUT I SIT HERE ALONE.

12:23PM   19            AND I LOOK OUT AND I TRY TO ENVISION WHAT A JURY TRIAL FOR

12:23PM   20       3 MONTHS WOULD LOOK LIKE HERE WITH POTENTIALLY MAYBE WE'LL HAVE

12:24PM   21       17 JURORS, WON'T WE, 12 JURORS AND MAYBE 5 ALTERNATES.       WE

12:24PM   22       MIGHT NEED MORE ALTERNATES FOR A CASE LIKE THIS IF IT'S TRIED

12:24PM   23       CONCURRENT WITH THE PANDEMIC.    AND I LOOK OUT AND I TRY TO

12:24PM   24       ENVISION HOW AND WHERE PEOPLE WOULD SIT.     I TRY TO ENVISION

12:24PM   25       WHERE THE JURY WOULD SIT SUCH THAT THEY CAN OBSERVE A WITNESS



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12:24PM    1       TO MY LEFT HERE IN THIS COURTROOM AND CAPTURE AND MAKE THEIR

12:24PM    2       DETERMINATIONS AS TO THE CREDIBILITY OF THAT PARTICULAR WITNESS

12:24PM    3       WHEN THEY SIT IN, CONTINUING WITH THE BASEBALL ANALOGY, WITH

12:24PM    4       THE CHEAP SEATS AND THEY'RE IN THE CORNER AS OPPOSED TO THE

12:24PM    5       JURY BOX CLOSER TO THE WITNESS.

12:24PM    6            I DON'T KNOW WHAT IS THE CONSTITUTIONAL RAMIFICATION OF

12:24PM    7       THAT.   HOW DOES THE JUDGE, HOW DOES SHE KEEP TRACK OF ALL OF

12:24PM    8       THE JURORS IN THE COURTROOM AND THEY'RE ALL FOLLOWING

12:25PM    9       EVERYTHING THAT SHE EXPECTS THEM TO FOLLOW IN A COURTROOM?

12:25PM   10            IT CREATES -- THOSE ARE IS JUST SOME OF THE PROTOCOL

12:25PM   11       CHALLENGES OF RUNNING THE COURT.    BUT AGAIN, IT ALL GETS BACK

12:25PM   12       TO SOMETHING THAT YOU ALL AGREE IN AND THAT IS THE HEALTH AND

12:25PM   13       SAFETY OF OUR COMMUNITY.

12:25PM   14            I HAVE GREAT RETICENCE TO SUMMON MEMBERS OF THE COMMUNITY

12:25PM   15       AND INVITE THEM TO SIT IN CONFINED AREAS FOR LENGTHY PERIODS OF

12:25PM   16       TIME WHEN THERE IS A PANDEMIC THAT AFFECTS THEM, THEIR

12:25PM   17       FAMILIES, AND WE HAVE NO VACCINE AS OF YET AND I KNOW PEOPLE

12:25PM   18       ARE WORKING HARD ON THAT AS WELL.

12:25PM   19            SO THAT'S A GREAT CONCERN OF MINE.     I APPRECIATE YOU

12:25PM   20       RECOGNIZING THAT AS I THINK WE HAVE TALKED ABOUT PREVIOUSLY THE

12:25PM   21       OCTOBER DATE MIGHT BE A LITTLE TOO AMBITIOUS FOR US.

12:25PM   22            BUT THEN WHAT DO WE DO NEXT?    IDEALLY -- AND THIS IS ME

12:26PM   23       SPEAKING SELFISHLY AS A JUDGE, IDEALLY WHAT WOULD HAPPEN IS ALL

12:26PM   24       OF THE WORK GETS DONE.    BUT IF WE FINISH THAT WORK, IF IT'S

12:26PM   25       OCTOBER, IF IT'S NOVEMBER, IF IT'S DECEMBER, SOME TIME THIS



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12:26PM    1       YEAR, AND THEN WHAT WE'RE DOING THEN IS THAT WE'RE WAITING,

12:26PM    2       WE'RE WAITING FOR THE SAFE TIME.    WE'RE NOT WAITING FOR WORK TO

12:26PM    3       BE DONE BECAUSE THE WORK WOULD ALREADY BE DONE.      ALL WE'RE

12:26PM    4       WAITING FOR NEXT IS WHEN IS IT SAFE?     WHEN IS IT SAFE TO HAVE

12:26PM    5       THE COMMUNITY COME IN AND HEAR THIS CASE AND MAKE THE

12:26PM    6       COMMUNITY'S DECISION ABOUT THIS CASE?

12:26PM    7            THAT'S THE IDEAL SITUATION THAT I WOULD LIKE TO PLACE

12:26PM    8       OURSELVES IN.   I'D LIKE TO ACCOMPLISH THAT, THAT IS, COMPLETE

12:26PM    9       EVERYTHING THAT NEEDS TO GET DONE.

12:26PM   10            ONE WAY TO DO THAT IN A TIMELY MANNER IS, AS I'VE

12:26PM   11       SUGGESTED TO I THINK MR. LEACH, MAYBE I'LL HAVE THE DEFENSE

12:26PM   12       FILE ALL OF THEIR MOTIONS BY NOT NOON TOMORROW BUT 5:00 P.M.

12:26PM   13       TOMORROW JUST TO GIVE THEM EXTRA TIME TO GET IT ALL DONE.        WE

12:27PM   14       CAN MOVE FORWARD IN SOME SCHEDULE LIKE THAT, BUT I'D LIKE TO

12:27PM   15       ENGAGE A SCHEDULE THAT IS REALISTIC.

12:27PM   16            AND I KNOW THAT TRIALS ARE DYNAMIC ALSO, PARTICULARLY

12:27PM   17       PRETRIAL.   WE DON'T KNOW WHAT ELSE MAY COME UP.     WE'VE HEARD

12:27PM   18       THAT THERE MIGHT BE FIVE MOTIONS AS TO THE SUPERSEDING

12:27PM   19       INDICTMENT.   AND I KNOW THAT BRINGS GREAT JOY FOR MR. LEACH AND

12:27PM   20       HIS TEAM TO HEAR, BUT THERE COULD BE EXTENSIVE LITIGATION

12:27PM   21       COMING FORWARD ON THIS.

12:27PM   22            SO THAT INFORMS THE COURT ALSO THAT I NEED TO SET A

12:27PM   23       SCHEDULE THAT IS APPROPRIATE IN THIS CASE.

12:27PM   24            LET ME -- I DO WANT TO TURN TO MR. COOPERSMITH AND GIVE

12:27PM   25       YOU AN OPPORTUNITY TO BE HEARD ON THIS, SIR.       ALTHOUGH I WILL



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12:27PM    1       TELL YOU ONE THING THAT WE'LL NOT -- I'M NOT GOING TO DISTURB

12:27PM    2       IS THE FACT THAT YOUR CASE, SIR, WILL TRAIL MS. HOLMES'S CASE.

12:27PM    3       SO WHATEVER I DECIDE AS TO MS. HOLMES, YOU'LL BE THE SECONDARY

12:28PM    4       AS FAR AS TRIAL DATES AS TO THAT.    THE SUGGESTION I THINK FROM

12:28PM    5       THE GOVERNMENT IS THAT ABOUT A THREE MONTH SCHEDULE AFTER THE

12:28PM    6       TRIAL OF MS. HOLMES.

12:28PM    7            BUT, MR. COOPERSMITH, WHAT IS IT THAT YOU WOULD LIKE ME TO

12:28PM    8       KNOW?

12:28PM    9                  MR. COOPERSMITH:    THANK YOU.   SO ON THE ISSUE OF

12:28PM   10       TRIAL, I DO UNDERSTAND THE COURT'S RULING.     WE'LL PRESERVE OUR

12:28PM   11       POSITION FOR THE RECORD THAT WE BELIEVE OUR TRIAL SHOULD HAVE

12:28PM   12       GONE FIRST, BUT I WON'T SAY ANY MORE ON THAT.      BUT I DO

12:28PM   13       UNDERSTAND AND RESPECT THE COURT'S RULING.

12:28PM   14            WITH REGARD TO THE TRIAL DATE, I UNDERSTAND THAT WE HAVE A

12:28PM   15       STATUS CONFERENCE ON AUGUST 31ST I BELIEVE IT'S SCHEDULED.         SO

12:28PM   16       I'M SURE IF THAT STANDS WE'LL BE TALKING MORE ABOUT THAT THEN.

12:28PM   17            FOR NOW, YOUR HONOR, UNFORTUNATELY EVERYTHING THAT

12:28PM   18       MR. WADE SAID AND MR. LEACH SAID ABOUT THE COVID CRISIS AND

12:28PM   19       YOUR HONOR SAID IS RIGHT.     WE'RE SORT OF AT THE MERCY OF THOSE

12:28PM   20       UNFORTUNATE CIRCUMSTANCES.

12:28PM   21            WE WOULD LIKE TO GET THIS CASE TRIED, TOO.     MR. BALWANI

12:28PM   22       HAS BEEN LIVING WITH THIS INVESTIGATION SINCE 2016.     HE'S BEEN

12:29PM   23       LIVING WITH THE INDICTMENT SINCE 2018.      IT'S VERY UNFORTUNATE

12:29PM   24       THAT THERE'S SUCH A DELAY IN JUSTICE.

12:29PM   25            BUT THAT SAID, WE, I THINK, UNFORTUNATELY ARE GOING TO



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12:29PM    1       HAVE TO, GIVEN THE COURT'S POSITION OF THE ORDER OF TRIAL,

12:29PM    2       AWAIT MS. HOLMES'S TRIAL.     IF THE TRIAL REALLY TAKES THREE

12:29PM    3       MONTHS, THEN WE'LL HAVE TO TRY THAT AT SOME POINT, AND WE'RE

12:29PM    4       HAPPY TO RECONFER WITH THE GOVERNMENT ONCE THE HOLMES TRIAL IS

12:29PM    5       SET ON WHAT EXACTLY THE SCHEDULE FOR MR. BALWANI SHOULD LOOK

12:29PM    6       LIKE AND TALK ABOUT THAT WITH THE COURT MORE ON AUGUST 31ST IF

12:29PM    7       THAT WORKS FOR YOU, YOUR HONOR.

12:29PM    8                  THE COURT:   ALL RIGHT.   THANK YOU, MR. COOPERSMITH.

12:29PM    9       I APPRECIATE THAT.

12:29PM   10            ANYONE ELSE FROM YOUR TEAM WISH TO BE HEARD?

12:29PM   11                  MR. COOPERSMITH:    NO, YOUR HONOR.

12:29PM   12                  THE COURT:   I SEE NO HANDS.   ALL RIGHT.   THANK YOU.

12:29PM   13            SO LET'S TALK THEN ABOUT AUGUST 31ST IS A STATUS DATE FOR

12:29PM   14       MR. BALWANI.   I'M CURIOUS IF I SHOULD NOW HAVE MS. HOLMES'S

12:30PM   15       TEAM AND ALL YOU MEET AND CONFER ABOUT -- I APPRECIATE YOU

12:30PM   16       GIVING ME THESE PARTICULAR DATES HERE.

12:30PM   17            IN LIGHT OF THE -- MS. HOLMES'S SUGGESTION ABOUT

12:30PM   18       ADDITIONAL LITIGATION, I WOULD LIKE TO KNOW, TO THE EXTENT THAT

12:30PM   19       YOU CAN, MR. WADE, AND I'M NOT ASKING YOU TO DISCLOSE ANYTHING

12:30PM   20       THAT DISRUPT YOUR DEFENSE SCHEDULE OR ASK YOU TO TELL US WHAT

12:30PM   21       YOUR DEFENSE IS, ANYTHING LIKE THAT, BUT I THINK IT IS

12:30PM   22       APPROPRIATE FOR ME TO ASK YOU TO, NOT JUST TODAY TO RESPOND,

12:30PM   23       BUT TO ASK YOU TO INFORM THE COURT AS TO POTENTIAL MOTIONS THAT

12:30PM   24       YOU MIGHT HAVE AND FILE SUCH THAT THE GOVERNMENT CAN BE AWARE

12:30PM   25       ALSO SO WE CAN ENGAGE A REALISTIC SCHEDULE FOR LITIGATING AND



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12:30PM    1       HEARING THOSE MOTIONS SUCH THAT I CAN THEN BE MORE INFORMED TO

12:30PM    2       GIVE US A BETTER DATE FOR TRIAL WHENEVER THAT IS.

12:30PM    3            ONE THING I'M CONCERNING DOING NOW IS NOT DISTURBING THE

12:31PM    4       TRIAL DATE, AND THAT IS PRIMARILY JUST TO KEEP OUR EXCLUSION OF

12:31PM    5       TIME IN EFFECT, BUT NOT DISTURBING ANY OF THE TRIAL DATES,

12:31PM    6       HOWEVER, SCHEDULE A STATUS CONFERENCE AGAIN AT SOME POINT.         IT

12:31PM    7       MIGHT BE AUGUST 31ST.     IT MIGHT BE BEFORE THAT.

12:31PM    8            BUT I'D LIKE THE PARTIES TO MEET AND CONFER TO DISCUSS

12:31PM    9       ANOTHER, AND I'VE USED THIS PHRASE BEFORE IN THIS CASE, A

12:31PM   10       REALISTIC SCHEDULE FOR MOTIONS.

12:31PM   11            NOW, I'D LIKE -- THE ADDITIONAL MOTIONS THAT YOU'VE TALKED

12:31PM   12       ABOUT ARE IMPORTANT ONES.      I DON'T KNOW WHETHER OR NOT, AND I'D

12:31PM   13       LIKE YOUR OPINIONS ABOUT WHETHER OR NOT THOSE WOULD DISTURB ANY

12:31PM   14       OF THE OTHER DECISIONS THAT THE COURT HAS MADE ON ANY EVIDENCE,

12:31PM   15       NOT THAT WE'VE MADE MUCH, BUT I DON'T WANT TO, IF THE CASE IS

12:31PM   16       CONTINUED INTO NEXT YEAR, I DON'T WANT TO START A COMPLETELY

12:31PM   17       NEW SCHEDULE SUCH THAT WE LOSE ANY OF THE MOMENTUM THAT WE'VE

12:31PM   18       CAPTURED, ANY OF THE WORK THAT YOU'VE DONE AND WE START OVER

12:32PM   19       AGAIN.    THAT DOESN'T ACCOMPLISH ANYTHING.    I'M NOT INTERESTED

12:32PM   20       IN THAT.

12:32PM   21                   MR. WADE:    NO.   WE AGREE, YOUR HONOR.   WE AGREE.

12:32PM   22            IF I COULD BE HEARD BRIEFLY ON YOUR COMMENTS?

12:32PM   23                   THE COURT:   SURE.

12:32PM   24                   MR. WADE:    WE DON'T INTEND TO FUNDAMENTALLY CHANGE

12:32PM   25       THINGS.    WE INTEND TO CONTINUE TO MOVE FORWARD.      THE GOVERNMENT



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12:32PM    1       HAS EXPANDED THE SCOPE OF THE CASE, AND THERE ARE A NUMBER OF

12:32PM    2       THINGS THAT FLOW FROM THAT, AS WE TALKED ABOUT FOR MUCH OF THE

12:32PM    3       ARGUMENT TODAY.    OBVIOUSLY THOSE ARE THINGS THAT WE ARE GOING

12:32PM    4       TO HAVE TO DEAL WITH.

12:32PM    5            WITH RESPECT TO THE MOTIONS, WE STARTED THE WORK ON THAT

12:32PM    6       IN ANTICIPATION OF THIS, BUT OBVIOUSLY THERE IS MORE WORK TO BE

12:32PM    7       DONE.   WE DO THINK THAT ONE MOTION AT LEAST SORT OF AS A MATTER

12:32PM    8       OF RECORD WOULD NEED TO REPRISE PRIOR MOTIONS TO MAKE SURE THAT

12:32PM    9       OUR PRIOR ARGUMENTS APPLY TO THE NEW INDICTMENT AND THE PRIOR

12:33PM   10       RULING APPLIES TO THE NEW INDICTMENT TO THE EXTENT THAT THE NEW

12:33PM   11       INDICTMENT DOESN'T CHANGE THE NATURE OF THAT RULING.

12:33PM   12            AND THEN WE THINK THERE ARE SEVERAL ADDITIONAL MOTIONS,

12:33PM   13       FOUR OR FIVE DIFFERENT MOTIONS TO DISMISS THE INDICTMENT.      YOUR

12:33PM   14       HONOR HAS HEARD ABOUT SOME OF THEM TODAY.     OBVIOUSLY, THERE'S A

12:33PM   15       STATUTE OF LIMITATIONS MOTION WITH RESPECT TO CERTAIN COUNTS,

12:33PM   16       THERE WILL BE A NOTICE RELATED MOTION AND A FEW OTHER THINGS.

12:33PM   17            I THINK WHILE WE TRIED TO PREPARE, OUR ANTICIPATION WOULD

12:33PM   18       BE THAT OUR HOPE IS WE GET THOSE IN FRONT OF THE COURT

12:33PM   19       REASONABLY QUICKLY AND FIND A TIME WHEN THAT IS DONE AND THE

12:33PM   20       GOVERNMENT WOULD HAVE AN APPROPRIATE AMOUNT OF TIME TO RESPOND,

12:33PM   21       BUT I WOULD GUESS THAT WITHIN A MONTH WE COULD GET ALL OF THOSE

12:33PM   22       MOTIONS ON FILE.

12:33PM   23            I THINK I HEARD MR. LEACH SAY HE WAS LOOKING FOR

12:34PM   24       THREE WEEKS.   HE MAY WANT A MONTH.   I DON'T -- I WANT TO BE

12:34PM   25       FAIR TO THE GOVERNMENT HONESTLY.    AND FUNDAMENTALLY, I WANT TO



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12:34PM    1       ACT CONSISTENT WITH THE DIRECTION PROVIDED BY THE COURT.

12:34PM    2       FRANKLY, WHILE WE ALWAYS ADHERE TO IT, I'M NOT SURE WE NEED IT

12:34PM    3       HERE.   WE WANT TO MOVE THIS FORWARD.     WE SHARE THAT DESIRE, BUT

12:34PM    4       WE SHARE THE CONCERNS THAT THE COURT -- THAT WE DISCUSSED

12:34PM    5       BEFORE AND THAT THE COURT IDENTIFIED.

12:34PM    6            SO I THINK IF MORE BROADLY WE WERE TO MEET AND CONFER,

12:34PM    7       RECOGNIZING THE COURT HASN'T FORMALLY MOVED THE TRIAL DATE BUT

12:34PM    8       IS INCLINED TO AFTER HEARING FROM THE COURT, FROM THE PARTIES

12:34PM    9       ON THE PARTICULARS, WE CAN CERTAINLY MEET AND CONFER WITH THE

12:34PM   10       GOVERNMENT AND FIND A TIME TO COME BACK IN FRONT OF THE COURT

12:34PM   11       IF NEED BE, OR IT MAY BE THAT WE CAN JUST AGREE TO A SCHEDULE

12:34PM   12       AND THE COURT CAN ORDER IT.     WHATEVER THE COURT THINKS WILL

12:34PM   13       MAKE SENSE.   BUT WE CAN CERTAINLY DO THAT WITHIN A WEEK OR TWO

12:34PM   14       I WOULD THINK IF THAT IS OF BENEFIT TO THE COURT.

12:34PM   15                  THE COURT:    THANK YOU.

12:35PM   16            MR. LEACH.

12:35PM   17                  MR. LEACH:    WE CERTAINLY CAN WORK WITH DEFENSE

12:35PM   18       COUNSEL ON AN APPROPRIATE SCHEDULE WITH THE OCTOBER DATE IN

12:35PM   19       MIND, YOUR HONOR.

12:35PM   20            I NEED TO EMPHASIZE, THOUGH, MUCH OF THE WORK FROM THE

12:35PM   21       GOVERNMENT'S PERSPECTIVE GOING FORWARD IS MEETING WITH

12:35PM   22       WITNESSES WHO WE HAVE SUBPOENAED, WHO WE HAVE TOLD BE READY IN

12:35PM   23       OCTOBER WHO ARE HOLDING THAT TIME AND WHO ARE MAKING

12:35PM   24       SUBSTANTIAL SACRIFICES IN ORDER TO, A, MEET WITH US, AND ALSO

12:35PM   25       HOLD THAT TIME FROM THEIR SCHEDULE.



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12:35PM    1            AND SO IT'S NOT -- FROM THE GOVERNMENT'S PERSPECTIVE, IT'S

12:35PM    2       DIFFICULT TO TURN THOSE THINGS ON A DIME.      AND IF -- AS I'VE

12:35PM    3       SAID IN MY EARLIER REMARKS, HOLDING A DATE FOR THE PURPOSE OF

12:35PM    4       HOLDING A DATE POSES SOME GREAT DIFFICULTIES TO US IF EVERYBODY

12:35PM    5       KNOWS THAT'S NOT GOING TO HAPPEN.

12:35PM    6            SO I THINK THE PRUDENT THING WE COULD DO IS SET THE

12:35PM    7       SCHEDULE, WE CAN LITIGATE WHATEVER WE NEED TO LITIGATE THROUGH

12:36PM    8       THAT, AND THEN HAVE THAT DATE CERTAIN IN MIND AND STICK TO IT.

12:36PM    9       WE WOULD URGE THE COURT TO DO THAT, BUT WHATEVER DATE SET WE

12:36PM   10       WILL MEET.    THE GOVERNMENT WILL BE READY.

12:36PM   11                    THE COURT:   WELL, THANK YOU.   I THINK IT'S FAIR TO

12:36PM   12       SAY, MR. LEACH, AND I RECOGNIZE THE ISSUE THAT YOU HAVE TOLD

12:36PM   13       YOUR CLIENTS -- EXCUSE ME, YOUR WITNESSES THAT THERE'S A DATE

12:36PM   14       CERTAIN AND THE JUDGE WAS FIRM ON THAT, AND I WAS, AND COVID

12:36PM   15       INTERRUPTED IT.    I SUPPOSE THAT'S MY EXCUSE.      BUT YOU CAN

12:36PM   16       CERTAINLY POINT THE FINGER BACK TO THE JUDGE, AND I INVITE YOU

12:36PM   17       TO DO THAT.

12:36PM   18            TO THE EXTENT THAT YOU NEED SOME RELIEF FROM THAT, YOU

12:36PM   19       SHOULD RECOGNIZE -- LET ME JUST SAY THAT I INDICATED I WOULD

12:36PM   20       LEAVE THE DATE.    I'M NOT GOING TO DISTURB THE CURRENT TRIAL

12:36PM   21       DATE.   I'M DOING THAT TO, AS I SAID, TO KEEP THE TIME

12:36PM   22       EXCLUSIONS IN PLACE AND ALL OF THE OTHER ISSUES REGARDING THAT

12:36PM   23       IN PLACE.

12:36PM   24            WHAT I WILL TELL YOU IS THAT IT IS UNREALISTIC THAT WE ARE

12:37PM   25       GOING TO GO TO TRIAL ON THAT DATE.     IT'S JUST NOT GOING TO



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12:37PM    1       HAPPEN.

12:37PM    2            SO IF THAT RELIEVES YOU FROM THOSE APPOINTMENTS YOU HAVE

12:37PM    3       WITH WITNESSES, I HOPE THAT GIVES YOU AND THEM SOME REASSURANCE

12:37PM    4       THAT THEY WON'T BE NEEDED FOR THAT TRIAL DATE.

12:37PM    5            THEN THEY'LL ASK YOU, OKAY, WHEN SHOULD WE RESCHEDULE?

12:37PM    6       WHEN IS THE NEW DATE?   THAT'S THE DATE THEN, AND I HEARD YOU

12:37PM    7       ALL TELL ME YOUR OPINIONS, THE APRIL AND THE FEBRUARY DATE.        I

12:37PM    8       WOULD LIKE YOU TO GIVE ME SOME MORE INFORMATION ABOUT WHAT WORK

12:37PM    9       THAT YOU WILL DO BETWEEN NOW AND THE EARLIER OF THOSE TRIAL

12:37PM   10       DATES BEING FEBRUARY, WHAT YOUR SCHEDULE IS GOING TO BE TO

12:37PM   11       ACCOMPLISH ALL OF THE MOTION PRACTICE THAT IS GOING TO BE

12:37PM   12       NEEDED ON THE CHARGING DOCUMENT.

12:37PM   13            MY SENSE IS WHAT -- AS I SAID, WHAT I WOULD LIKE TO HAVE

12:37PM   14       DONE, AND MY WISH LIST IS THAT WE HAVE ALL OF THE LITIGATION

12:37PM   15       AND THE PRETRIAL LITIGATION AS TO CHARGING DOCUMENTS AND IF IT

12:38PM   16       SURVIVES THAT, THERE IS A CASE THAT GOES FORWARD, WHATEVER THAT

12:38PM   17       CASE IS, IT GOES FORWARD SUCH THAT ALL OF YOUR WITNESS

12:38PM   18       PRODUCTION IS DONE.   OF COURSE WE'VE TALKED ABOUT OTHER

12:38PM   19       EXAMINATIONS THAT NEED TO BE ACCOMPLISHED AND THAT HAS TO --

12:38PM   20       THAT SCHEDULING SHOULD GO FORWARD AS WELL AND ACCOMPLISH ALL OF

12:38PM   21       THE WORK THAT NEEDS TO BE DONE THERE.

12:38PM   22            SO I'D LIKE YOU TO MEET AND CONFER AND TALK ABOUT ALL OF

12:38PM   23       THOSE THINGS THAT YOU NEED TO ACCOMPLISH VIS-A-VIS AN EARLIER

12:38PM   24       TRIAL DATE.   I HEARD THE GOVERNMENT SAY FEBRUARY.    YOU MIGHT

12:38PM   25       WANT TO LOOK AT THAT DATE, THE EARLIER OF THOSE DATES, THAT IS,



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12:38PM    1       THE FEBRUARY DATE AS OPPOSED TO THE APRIL, AND LOOK AND SEE IF

12:38PM    2       THINGS CAN BE DONE BY FEBRUARY?    DO YOU NEED TO GO INTO MARCH?

12:38PM    3       DOES IT REALLY REQUIRE AN APRIL DATE?

12:38PM    4            ALL OF THIS, OF COURSE, IS GOING TO BE GUIDED, ISN'T IT,

12:38PM    5       BY THE CLOUD OF COVID?    I HOPE THESE GOOD SCIENTISTS, WHEREVER

12:38PM    6       THEY'RE WORKING, I HOPE THEY'RE ABLE TO FIND A VACCINE FOR ALL

12:39PM    7       OF US.   THAT WOULD BE A MIRACLE, AND IT WOULD BE WELL RECEIVED

12:39PM    8       BY THE PLANET.

12:39PM    9            BUT WE NEED TO -- IT'S SUCH A DYNAMIC CIRCUMSTANCE, WE

12:39PM   10       NEED TO PREPARE FOR THE FACT THAT THERE IS THE SECOND WAVE.

12:39PM   11       AND I HEARD THIS MORNING ON THE RADIO COMING IN WHEN DOES THE

12:39PM   12       SECOND WAVE START IF WE'RE STILL IN A FIRST WAVE IN DECEMBER IN

12:39PM   13       THE MIDDLE OF THE INFLUENZA SEASON?    WE JUST DON'T KNOW THOSE

12:39PM   14       THINGS, WE JUST DON'T.    SO IT IS DYNAMIC IN THAT REGARD.

12:39PM   15            I'M HOPEFUL THAT WE CAN GET THE CASE TRIED IN Q1 OF NEXT

12:39PM   16       YEAR.    THAT WOULD BE MY GOAL.   I THINK IT'S YOURS AS WELL.

12:39PM   17            BUT WHAT THAT EXACT DATE IS, I DON'T HAVE COMPLETE

12:39PM   18       INFORMATION TO SET THAT DATE TODAY.

12:39PM   19            I APPRECIATE YOUR OFFERS OF THESE DATES, AND THEY MIGHT BE

12:39PM   20       GOOD ONES, AND IT MIGHT BE -- IT MAY BE THAT THE APRIL DATE IS

12:39PM   21       THE ONE, SINCE WE'VE SELECTED IT FOR MR. BALWANI, IT MIGHT BE

12:39PM   22       EASY TO JUST SLIDE IN AND USE THAT.

12:39PM   23            BUT I APPRECIATE THE GOVERNMENT'S DESIRE TO GET THE CASE

12:40PM   24       MOVING AND THEIR THOUGHT THAT WE CAN GET IT PERHAPS GOING

12:40PM   25       BEFORE THEN RECOGNIZING THAT IN FEBRUARY WE WOULD HAVE TO SET



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12:40PM    1       OUR OR WE WOULD LIKE TO SET OUR FINAL PRETRIAL CONFERENCE THAT

12:40PM    2       WOULD BE SOME TIME IN JANUARY.     I WOULD LIKE TO HAVE THAT ABOUT

12:40PM    3       THREE OR FOUR WEEKS IN ADVANCE OF THE TRIAL DATE.

12:40PM    4            HERE WE MIGHT WANT TO DO IT A LITTLE MORE THAN THAT, JUST

12:40PM    5       BECAUSE I THINK, AS WE EXPERIENCED TODAY, THE MOTIONS IN LIMINE

12:40PM    6       WILL PROBABLY BE EXTENSIVE.      I'M JUST GUESSING, BUT I THINK

12:40PM    7       IT'S AN EDUCATED GUESS THAT WE'LL PROBABLY HAVE EXTENSIVE

12:40PM    8       MOTION IN LIMINE PRACTICE HERE AS WELL THAT WILL OCCUPY SOME

12:40PM    9       TIME.

12:40PM   10            SO HOW MUCH TIME DO YOU THINK THAT YOU WOULD NEED OR YOU

12:40PM   11       WOULD LIKE, MR. LEACH, MR. WADE, TO MEET AND CONFER?

12:40PM   12            SHOULD I LEAVE THE AUGUST 31ST CONFERENCE DATE, STATUS

12:40PM   13       DATE NOW AND USE THAT?    OR SHOULD WE COME BACK BEFORE THEN?

12:41PM   14                  MR. LEACH:    YOUR HONOR, I THINK IT WOULD BE PRUDENT

12:41PM   15       TO COME BACK BEFORE THEN JUST SO WE CAN REACH RESOLUTION ON

12:41PM   16       THESE ISSUES.

12:41PM   17                  THE COURT:    SURE.

12:41PM   18                  MR. LEACH:    AND WE'LL -- SO I THINK A DATE IN EARLY

12:41PM   19       AUGUST IS APPROPRIATE.

12:41PM   20                  THE COURT:    OKAY.   MR. WADE, YOU'RE OKAY WITH THAT?

12:41PM   21                  MR. WADE:    I BELIEVE I AM, YOUR HONOR.   MAYBE THE --

12:41PM   22                  THE COURT:    LET ME -- LET'S TURN TO MS. KRATZMANN,

12:41PM   23       THE KEEPER OF ALL THINGS, AND ASK HER WHAT LOOKS GOOD FOR US.

12:41PM   24                  MR. WADE:    I'M USED TO SEEING THAT BIG CALENDAR UP

12:41PM   25       ON THE WALL, YOUR HONOR.    IT'S VERY DISORIENTING NOT TO HAVE



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12:41PM    1       IT.

12:41PM    2                   THE COURT:    IT IS.   IMAGINE HOW I FEEL?   I'M SITTING

12:41PM    3       HERE ALONE WITH A LAPTOP, A PENCIL, AND A PAD, AND THERE IS NO

12:41PM    4       CALENDAR, AND THERE'S NOBODY TO TURN TO.

12:41PM    5             (LAUGHTER.)

12:41PM    6                   THE CLERK:    YOUR HONOR, MIGHT I SUGGEST AUGUST 10TH

12:41PM    7       AT 10:00 A.M.

12:42PM    8                   THE COURT:    IS THAT A MONDAY?

12:42PM    9                   THE CLERK:    THAT IS A MONDAY, YOUR HONOR.

12:42PM   10                   THE COURT:    IT IS A MONDAY.

12:42PM   11             DOES THAT WORK FOR THE PARTIES?

12:42PM   12                   MR. WADE:    YOUR HONOR, I HAPPEN TO HAVE A CONFLICT

12:42PM   13       ON THAT DATE.   IS IT POSSIBLE THAT WE CAN DO EITHER THE 3RD OR

12:42PM   14       THE 17TH?

12:42PM   15                   THE COURT:    LET'S SEE.   MS. KRATZMANN, WE CAN DO A

12:42PM   16       DATE OTHER THAN A MONDAY IF NEED BE.        WE CAN SPECIAL SET THIS.

12:42PM   17                   THE CLERK:    WE COULD, YOUR HONOR.

12:42PM   18             IS THE WEEK OF THE 10TH NOT AVAILABLE FOR COUNSEL?      WE

12:42PM   19       COULD DO AUGUST 11TH OR 12TH.

12:42PM   20                   MR. WADE:    YOUR HONOR, MIGHT I ASK IF WE MIGHT JUST

12:42PM   21       CONFER WITH COLLEAGUES AND CIRCLE BACK WITH MS. KRATZMANN --

12:42PM   22                   THE COURT:    YES.

12:42PM   23                   MR. WADE:    -- TO MAKE SURE WE FIND A DATE?    IT'S A

12:42PM   24       LITTLE HARD TO DO.      NORMALLY WE WOULD BE WHISPERING IN EACH

12:42PM   25       OTHER'S EARS RIGHT NOW, AND IT'S A LITTLE DIFFICULT TO DO THAT.



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12:43PM    1            SO MAYBE WE CAN DO THAT AND CONFER WITH THE GOVERNMENT AND

12:43PM    2       COME UP WITH A DATE IN THAT WINDOW.

12:43PM    3                  THE COURT:   RIGHT.   WELL, LET ME DO THIS.   THEN I

12:43PM    4       WON'T DISTURB THE TRIAL DATE NOW JUST FOR PURPOSES OF OBSERVING

12:43PM    5       THE TRIAL EXCLUSION.

12:43PM    6            I AM GOING TO -- YOU UNDERSTAND, MR. LEACH, YOU'RE

12:43PM    7       RELIEVED FROM -- THERE'S NOT GOING TO BE ANY WITNESSES THAT

12:43PM    8       DATE, AND YOU DON'T NEED TO GO FORWARD WITH ANY OF THAT WORK

12:43PM    9       THAT YOU TOLD ME ABOUT.

12:43PM   10                  MR. LEACH:   UNDERSTOOD, YOUR HONOR.    JUST SO I'M

12:43PM   11       CLEAR, I BLAME MYSELF FOR THAT, NOT THE COURT, WHEN I'M DEALING

12:43PM   12       WITH WITNESSES.   SO PLEASE DON'T WORRY ABOUT THAT.

12:43PM   13                  THE COURT:   OKAY.

12:43PM   14            BUT WHAT I WILL DO IS HAVE YOU MEET AND CONFER AND GET

12:43PM   15       BACK TO MS. KRATZMANN AS TO A DATE THAT YOU THINK IS

12:43PM   16       APPROPRIATE FOR OUR FURTHER STATUS CONFERENCE IN RE TRIAL DATE.

12:43PM   17       AND WHAT I'D LIKE YOU TO DO IS TO TALK ABOUT, TO THE EXTENT

12:43PM   18       THAT YOU CAN, THE ADDITIONAL MOTION PRACTICE THAT NEEDS TO BE

12:43PM   19       DONE, ANY OTHER MOTIONS AND ANY OTHER -- ANYTHING THAT YOU

12:44PM   20       THINK WOULD CONSUME SOME TIME SUCH THAT WE CAN SET, SO THE

12:44PM   21       COURT CAN SET A REALISTIC TRIAL DATE AT LEAST ON OUR END FOR

12:44PM   22       NEXT YEAR, AND WE'LL SET THAT DATE.    IT DOESN'T HAVE TO BE ON A

12:44PM   23       MONDAY.

12:44PM   24            MS. KRATZMANN CAN TALK WITH YOU ABOUT SPECIAL SETTING

12:44PM   25       SOMETHING, AND IT WILL BE A ZOOM HEARING AGAIN FOR THAT



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12:44PM    1       PURPOSE.

12:44PM    2            AND THEN WE'LL LEAVE MR. BALWANI'S AUGUST 31ST DATE

12:44PM    3       UNDISTURBED, WE'LL LEAVE THAT STATUS DATE UNDISTURBED NOW AND

12:44PM    4       ANY TIME EXCLUSIONS WE'LL CONTINUE TO THAT DATE.

12:44PM    5            ANY OBJECTION TO THAT, MR. COOPERSMITH?

12:44PM    6                  MR. COOPERSMITH:     YOUR HONOR, NO OBJECTION TO AN

12:44PM    7       AUGUST 31ST STATUS CONFERENCE THAT IS ALREADY ON CALENDAR.

12:44PM    8            THE ONE THING I WOULD LIKE TO CLARIFY WITH YOUR HONOR IS

12:44PM    9       ON THE MEET AND CONFER THAT YOUR HONOR HAS DIRECTED REGARDING

12:45PM   10       THE TRIAL DATE FOR MS. HOLMES'S TRIAL AND THE MOTIONS PRACTICE,

12:45PM   11       DOES THE COURT ENVISION THAT WE WOULD BE A PART OF THAT?      WE

12:45PM   12       CERTAINLY WOULD LIKE TO BE BECAUSE, ONE, THE TRIAL DATE FOR

12:45PM   13       MS. HOLMES OBVIOUSLY DIRECTLY AFFECTS US AND IT'S DISCONCERTING

12:45PM   14       TO JUST BE PRESENTED WITH SOMETHING AS A FAIT ACCOMPLI WITHOUT

12:45PM   15       HAVING HAD ANY INPUT.

12:45PM   16            AND THEN SECOND, ON SOME, ALTHOUGH PERHAPS NOT ALL, OF THE

12:45PM   17       MOTIONS WE FEEL LIKE WHATEVER RULING IS MADE FROM AN

12:45PM   18       EVIDENTIARY STANDPOINT AND SO FORTH DOES HAVE AN IMPACT ON US

12:45PM   19       AS WELL FOR THE SECOND TRIAL.

12:45PM   20            SO WE WOULD LIKE TO BE, AND I'M HOPING THE COURT ENVISIONS

12:45PM   21       WE WOULD BE PART OF THAT MEET AND CONFER PROCESS EVEN THOUGH

12:45PM   22       OUR STATUS CONFERENCE REMAINS ON AUGUST 31ST.

12:45PM   23                  THE COURT:   MR. LEACH?

12:45PM   24                  MR. LEACH:   I HAVE NO OBJECTION, YOUR HONOR.

12:45PM   25                  THE COURT:   OKAY.   SO I KNOW YOU'VE ALL SEEN THE



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12:45PM    1       PLAY "HAMILTON," MR. COOPERSMITH.     SO IT APPEARS THAT MR. LEACH

12:45PM    2       IS GOING TO ALLOW YOU IN THE ROOM I THINK IS THE SONG.

12:45PM    3            ALL RIGHT.   YOU CAN BE PART OF THAT, AND TO THE EXTENT

12:46PM    4       THAT YOU CAN HAVE SOME ASSISTANCE FOR EFFICIENCY OF DATES, THAT

12:46PM    5       WOULD BE HELPFUL.    THANK YOU.

12:46PM    6            BUT YOUR STATUS DATE, MR. COOPERSMITH, INCLUDING ANY TIME

12:46PM    7       EXCLUSION, AND YOU HAVE NO OBJECTION TO EXCLUDING TIME FOR YOUR

12:46PM    8       CLIENT TO ALLOW YOU TO EFFECTIVELY -- CONTINUE TO EFFECTIVELY

12:46PM    9       PREPARE.

12:46PM   10                  MR. COOPERSMITH:    THAT'S CORRECT, YOUR HONOR.

12:46PM   11                  THE COURT:    ALL RIGHT.   THANK YOU.    WE'LL NOTE THAT

12:46PM   12       TIME EXCLUSION.

12:46PM   13            AND THEN I'LL WAIT TO HEAR FROM YOU, MS. KRATZMANN WILL

12:46PM   14       HEAR FROM YOU, AND THEN WE'LL SCHEDULE THE NEXT STATUS

12:46PM   15       CONFERENCE ACCORDINGLY.

12:46PM   16            AS TO THE MOTIONS THEMSELVES THAT ARE ON THE TABLE TODAY,

12:46PM   17       I ALSO WANT YOU, IN YOUR MEET AND CONFER, I THINK IT WOULD BE

12:46PM   18       HELPFUL -- I'M GOING TO TAKE THEM UNDER SUBMISSION, BUT I THINK

12:46PM   19       IT WOULD BE HELPFUL ALSO AND WHEN WE NEXT GET TOGETHER FOR YOU

12:46PM   20       TO TELL ME NOT JUST THE DATES AND THE WORK THAT YOU THINK NEEDS

12:46PM   21       TO BE DONE, BUT ALSO THE EFFECT OF THOSE MOTIONS AND ANY OTHER

12:46PM   22       ADDITIONAL MOTION PRACTICE THAT YOU THINK MIGHT HAVE BEARING ON

12:47PM   23       THE COURT'S RULINGS ON THESE MOTIONS AND WHY OR HOW THE COURT

12:47PM   24       SHOULD RULE ON THESE PARTICULAR MOTIONS.

12:47PM   25            DO YOU UNDERSTAND THAT QUESTION, MR. WADE?



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12:47PM    1                    MR. WADE:    I DO, YOUR HONOR.

12:47PM    2                    THE COURT:   MR. LEACH?

12:47PM    3                    MR. LEACH:   I DO, YOUR HONOR.   THANK YOU,

12:47PM    4       YOUR HONOR.

12:47PM    5                    THE COURT:   I THINK I'VE GIVEN YOU SOME HINTS ABOUT

12:47PM    6       AT LEAST SOME OF THE GOVERNMENT -- AND THIS REALLY IS RELATED

12:47PM    7       TO THE GOVERNMENT'S INFORMATION REGARDING THE GOVERNMENT'S

12:47PM    8       EXPERTS AND THINGS.

12:47PM    9            AS I SAID, I EXPECT THAT I'LL -- AND THE GOVERNMENT SHOULD

12:47PM   10       EXPECT THAT THE COURT WOULD WANT SOME ADDITIONAL FOUNDATIONAL

12:47PM   11       AS TO SOME OF THESE WITNESSES IF THEY MOVE FROM -- WHAT IS IT?

12:47PM   12        -- PERCIPIENT OBSERVATION TO MORE OF THE 702 TYPE THAT WE'VE

12:47PM   13       TALKED ABOUT, AND I THINK IT RELATES TO THOSE SIX WITNESSES

12:47PM   14       THAT WE TALKED ABOUT EARLIER, THE DOCTORS AND THE OTHERS.

12:47PM   15            OKAY.    ANYTHING FURTHER BEFORE WE CONCLUDE TODAY'S HEARING

12:47PM   16       OTHER THAN ME WISHING YOU WELL AND THAT YOU AND YOUR FAMILIES

12:48PM   17       REMAIN SAFE.    IT'S ALWAYS A PLEASURE TO SEE ALL OF YOU.    I

12:48PM   18       APPRECIATE THAT.

12:48PM   19            ANYTHING FURTHER?

12:48PM   20                    MR. LEACH:   NOT FROM THE GOVERNMENT, YOUR HONOR.

12:48PM   21       THANK YOU VERY MUCH FOR THE TIME AND THE COURT'S COMMENTS.

12:48PM   22                    THE COURT:   THANK YOU.

12:48PM   23            MR. WADE?

12:48PM   24                    MR. WADE:    NOTHING FURTHER FROM MS. HOLMES,

12:48PM   25       YOUR HONOR.    WE, TOO, WE WISH THE SAME TO THE COURT, AND WE



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12:48PM    1       APPRECIATE THE COURT'S COMMENTS, AND I HOPE EVERYONE CONTINUES

12:48PM    2       TO BE SAFE, YOU AND ALL OF YOUR STAFF.

12:48PM    3                  THE COURT:   THANK YOU VERY MUCH.

12:48PM    4                  MR. COOPERSMITH:   NOTHING FURTHER FROM MR. BALWANI.

12:48PM    5       AND, OF COURSE, WE ECHO THOSE COMMENTS AS WELL.     THANK YOU.

12:48PM    6                  THE COURT:   THANK YOU.   WE'LL SEE YOU SOON.   WE'LL

12:48PM    7       END THIS ZOOM CONFERENCE NOW.

12:48PM    8            THANK YOU, MS. KRATZMANN.

12:48PM    9                  THE CLERK:   COURT IS ADJOURNED.

12:48PM   10            (COURT CONCLUDED AT 12:48 P.M.)

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 1

 2

 3                            CERTIFICATE OF REPORTER

 4

 5

 6

 7             I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8       STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9       280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10       CERTIFY:

11             THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12       A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13       ABOVE-ENTITLED MATTER.

14

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                                  ______________________________
16                                IRENE RODRIGUEZ, CSR, RMR, CRR
                                  CERTIFICATE NUMBER 8074
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                                  DATED:   JULY 21, 2020
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